Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22   Entered 08/15/22 16:45:41   Page 1 of
                                        126




                              EXHIBIT 36




                                                                       Appx. 05791
 Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 2 of
                                           126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 1 of 106
                                                                                  Docket #1807 Date Filed: 01/22/2021




 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
 Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760

 HAYWARD PLLC
 Melissa S. Hayward
 Texas Bar No. 24044908
 MHayward@HaywardFirm.com
 Zachery Z. Annable
 Texas Bar No. 24053075
 ZAnnable@HaywardFirm.com
 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Tel: (972) 755-7100
 Fax: (972) 755-7110

 Counsel for the Debtor and Debtor-in-Possession

                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 In re:                                                  §
                                                         §
 HIGHLAND CAPITAL MANAGEMENT,                            § Case No. 19-34054
 L.P.,1                                                  § Chapter 11
                                                         §
 Debtor.                                                 §
                                                         §

               DEBTOR’S OMNIBUS REPLY TO OBJECTIONS
           TO CONFIRMATION OF THE FIFTH AMENDED PLAN OF
      REORGANIZATION OF HIGHLAND CAPITAL MANAGEMENT L.P. (WITH
                     TECHNICAL MODIFICATIONS)




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


 DOCS_SF:104855.7 36027/002                                             ¨1¤}HV5!6                  ,^«
                                                                            1934054210122000000000012
                                                                                                     Appx. 05792
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 3 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 2 of 106




                                                     TABLE OF CONTENTS

                                                                                                                                    Page
  INTRODUCTION ......................................................................................................................... 1
  OBJECTIONS................................................................................................................................ 3
            I.         Objections Addressed in the Memorandum ........................................................... 3
            II.        The Plan Impermissibly Allows for Set Off .......................................................... 4
            III.       The Plan Impermissibly Allows Assumption or Rejection After
                       Confirmation .......................................................................................................... 6
            IV.        The Attack on the Plan’s Release Is Baseless. ....................................................... 6
                       A.         Debtor Release Provisions ......................................................................... 6
                       B.         Objections and Responses.......................................................................... 7
            V.         The Court Has Already Exculpated the Independent Directors and their
                       agents For Negligence Pursuant to the January 9, 2020 Settlement Order
                       and, to the Extent Not Covered Therein, the Plan’s Exculpation Provisions
                       Effectuate Essential Protections for Estate Fiduciaries and their agents,
                       and Are Fully Supported by the Bankruptcy Code and Applicable Law. ........... 11
                       A.         The Settlement Order Already Exculpates the Independent
                                  Directors and Their Agents from Claims of Negligence and Those
                                  Protections Should Be Continued Post-Confirmation ............................. 12
                       B.         Plan Exculpation Provisions .................................................................... 14
                       C.         Pacific Lumber ......................................................................................... 16
                       D.         Exculpation of the Exculpated Parties Is Permissible and Not
                                  Prohibited by Pacific Lumber. ................................................................. 19
                       E.         Approval of the Exculpation Provisions Is a Legitimate Exercise of
                                  the Court’s Powers and Follows Directly from the Findings and
                                  Conclusions the Court Must Make to Confirm a Plan ............................. 24
            VI.        The Plan Injunction Is Appropriate and is Narrowly Tailored to Effectuate
                       the Plan and related provisions of the bankruptcy code. ..................................... 28
                       A.         Plan Injunction Provisions ....................................................................... 29
                       B.         Objections ................................................................................................ 32
                       C.         An Injunction against Interfering with the Implementation and
                                  Consummation of the Plan Is Both Common and Appropriate. .............. 33
                       D.         The Injunction Is Not a Disguised Non-Debtor Third-Party
                                  Release. .................................................................................................... 35




  DOCS_SF:104855.7 36027/002                                             i
                                                                                                                                 Appx. 05793
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 4 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 3 of 106




                    E.         The Injunction Does Not Prevent the Holders of Claims or Equity
                               Interests from Enforcing Rights Arising under the Plan or
                               Confirmation Order. ................................................................................. 37
           VII.     The Gatekeeper Provision Is Necessary and Appropriate, and Supported
                    by Applicable Law. .............................................................................................. 38
                    A.         The Gatekeeper Provision ........................................................................ 38
                    B.         The Gatekeeper Provision Is Permissible under Sections 105,
                               1123(b)(6), and 1141(a), (b) and (c) of the Bankruptcy Code. ................ 39
                    C.         The Gatekeeper Provision Is not an Impermissible Extension of the
                               Post-Confirmation Jurisdiction of the Bankruptcy Court. ....................... 44
                    D.         The Gatekeeper Provision Is Consistent with the Barton Doctrine. ........ 51
                    E.         The Gatekeeper Provision Is a Necessary and Appropriate Shield
                               against the Actions of Dondero and his Related Entities. ........................ 54
           VIII.    the exception to discharge does not apply ........................................................... 55
           IX.      The Senior Employee Objection .......................................................................... 57
                    A.         The Senior Employee Objection Should Be Overruled ........................... 57
                    B.         Background Related to Senior Employees .............................................. 58
                    C.         Treatment of Senior Employee Claims Under Plan ................................. 62
                    D.         Plan Solicitation ....................................................................................... 63
                    E.         The Plan Does Not Violate Section 1123(a)(4) ....................................... 64
                    F.         The Senior Employees Are Not Permitted to Make Convenience
                               Class Election........................................................................................... 66
                    G.         Convenience Class Election Is Unavailable Because Senior
                               Employee’s GUC Claims Cannot Be Split Under Applicable
                               Bankruptcy Law ....................................................................................... 66
                    H.         Convenience Class Election Is Unavailable Because Senior
                               Employee’s GUC Claims Cannot Be Split Under Disclosure
                               Statement Order for Voting Purposes ...................................................... 68
                    I.         Even if Convenience Claim Election Were Available, Convenience
                               Claim Election Does Not Impact Voting ................................................. 69
           X.       The HCMFA/NPA Gates Objection .................................................................... 70
                    A.         The HMCFA/NPA Objection, the CLO Holdco Objection, and
                               NREP Joinder Should Be Overruled........................................................ 72
                    B.         The CLO Objectors Cannot Override the CLOs’ Consent to
                               Assumption .............................................................................................. 74
                    C.         The CLO Objectors Lack Standing to Object to the Plan ........................ 76



                                                                    ii
  DOCS_SF:104855.7 36027/002

                                                                                                                         Appx. 05794
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 5 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 4 of 106




                       D.         Even if the CLO Objectors Had Standing and the Management
                                  Contracts Were Not Assignable, the Debtor Could Assume Them
                                  Because the Actual Test Applies in the Fifth Circuit ............................... 82
                       E.         Even if the CLO Objectors Have Standing and the Hypothetical
                                  Test Applies, the Management Agreements Are Assignable................... 86
                       F.         The Inadequate Assurance of Future Performance Objection is
                                  Meritless ................................................................................................... 90
                       G.         The “Impermissible Partial Assignment” Objection is Meritless ............ 92
            XI.        State Taxing Authority Objection ........................................................................ 92
            XII.       IRS Objection....................................................................................................... 93
  CONCLUSION ............................................................................................................................ 99




                                                                        iii
  DOCS_SF:104855.7 36027/002

                                                                                                                                Appx. 05795
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 6 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 5 of 106




                                                TABLE OF AUTHORITIES

                                                                                                                              Page(s)
                                                               CASES

  Ad Hoc Comm. of Non-Consenting Creditors v. Peabody Energy Corp.
     (In re Peabody Energy Corp.),
     933 F.3d 918 (8th Cir. 2019) .................................................................................................... 65
  Bank of N.Y. Trust Co. v. Official Unsecured Creditors’ Comm.
     (In re Pac. Lumber Co.),
     584 F.3d 229 (5th Cir. 2009) .................................................................................................... 64
  Bonneville Power Admin. v. Mirant Corp.
     (In re Mirant Corp.),
     440 F.3d 238 (5th Cir. 2006) .................................................................................................... 83
  Cajun Elec. Members Comm. v. Mabey
     (In re Cajun Elec. Power Coop., Inc.),
     230 B.R. 693 (Bankr. M.D. La. 1999) ................................................................................ 84, 85
  Cargill, Inc. v. Nelson (In re LGX, LLC),
     2005 Bankr. LEXIS 2072 (10th Cir. Oct. 31, 2005) ................................................................. 75
  Concord Square Apartments v. Ottawa Properties
     (In re Concord Square Apartments),
     174 B.R. 71 (Bankr. S.D. Ohio 1994)....................................................................................... 67
  CWCapital Cobalt VR Ltd. v. CWCapital Invs. LLC,
     2018 U.S. Dist. LEXIS 90174, at *12 (S.D.N.Y. May 23, 2018)............................................. 88
  Figter Ltd. v. Teachers Ins. Annuity Ass’n (In re Figter Ltd.),
     118 F.3d 635, 640-641 (9th Cir. 1997) ..................................................................................... 67
  Goldstein v. SEC,
     451 F.3d 873 (D.C. Cir. 2006) .................................................................................................. 71
  Hertz Corp. v. ANC Rental Corp.
     (In re ANC Rental Corp.),
     278 B.R. 714 (Bankr. D. Del. 2002) ............................................................................. 74, 75, 80
  Hertz Corp. v. ANC Rental Corp.
     (In Re ANC Rental Corp.),
     280 B.R. 808 (D. Del. 2002) ..................................................................................................... 75
  In re Acequia, Inc.,
     787 F.2d 1352 (9th Cir. 1986) .................................................................................................. 65
  In re ANC Rental Corp.,
     277 B.R. 226 (Bankr. D. Del. 2002) ......................................................................................... 89
  In re Gilbert,
     104 B.R. 206 (Bankr. W.D. Mo. 1989) .................................................................................... 67
  In re Hartec Enters., Inc.,
     117 B.R. 865 (Bankr. W.D. Tex. 1990) .................................................................................... 85

                                                                    iv
  DOCS_SF:104855.7 36027/002

                                                                                                                        Appx. 05796
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 7 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 6 of 106




  In re Irwin Yacht Sales, Inc.,
     164 B.R. 678 (Bankr. M.D. Fla. 1994) ..................................................................................... 75
  In re Jacobsen,
     465 B.R. 102 (Bankr. N.D. Miss. 2011) ................................................................................... 84
  In re Jones,
     2012 Bankr. LEXIS 1076, *7 (Bankr. M.D. Ga. 2012) ............................................................ 67
  In re Latham Lithographic Corp.,
     107 F.2d 749 (2d Cir. 1939) ..................................................................................................... 67
  In re Lil’ Things, Inc.,
     220 B.R. 583 (Bankr. N.D. Tex. 1998) ..................................................................................... 84
  In re Lindell Drop Forge Co.,
     111 B.R. 137 (Bankr. W.D. Mich. 1990).................................................................................. 66
  In re Riverside Nursing Home,
     43 B.R. 682 (Bankr. S.D.N.Y. 1984) ........................................................................................ 75
  In re Virgin Offshore USA, Inc.,
     No. 13-79, 2013 U.S. Dist. LEXIS 128995, at *15 (E.D. La. Sep. 10, 2013) .......................... 84
  In re Visser,
     232 B.R. 362 (Bankr. N.D. Tex. 1999) ..................................................................................... 66
  Mabey v. Sw. Elec. Power Co.
     (In re Cajun Elec. Power Coop., Inc.),
     150 F.3d 503 (5th Cir. 1998) .................................................................................................... 65
  Riemer & Braunstein LLP v. DeGiacomo
     (A & E 128 North Corp.),
     528 B.R. 190, 199 (1st Cir. B.A.P. 2015) ................................................................................. 66
  Texaco Inc. v. Louisiana Land & Exploration Co.,
     136 B.R. 658 (Bankr. M.D. La.1992) ................................................................................. 84, 85
                                                               STATUTES

  11 U.S.C. § 365 ....................................................................................................................... 83, 86
                                                     OTHER AUTHORITIES

  American Century Companies, Inc./JP Morgan & Co. Incorporated, Staff No-Action Letter
    (12/23/1997).............................................................................................................................. 89
  Investment Management Staff Issues of Interest,
    http://www.sec.gov/divisions/investment/issues-of-interest.shtml [June 5, 2012]................... 89




                                                                        v
  DOCS_SF:104855.7 36027/002

                                                                                                                               Appx. 05797
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 8 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 7 of 106




           The above-captioned debtor and debtor-in-possession (the “Debtor”) files this omnibus

  reply to the objections (this “Reply”) to the Debtor’s Fifth Amended Plan of Reorganization of

  Highland Capital Management, L.P. (with technical modifications)2 (as modified, amended, or

  supplemented from time to time, the “Plan”). Concurrently herewith, the Debtor has filed its

  Debtor’s Memorandum of Law in Support of Confirmation of the Fifth Amended Plan of

  Reorganization of Highland Capital Management L.P. (the “Memorandum”). To the extent the

  Debtor is unable to consensually resolve the Objections, the Debtor respectfully requests that the

  Bankruptcy Court overrule any remaining or pending Objections as of the Confirmation Hearing

  and confirm the Plan.

                                            INTRODUCTION

           1.       The Debtor received twelve objections to confirmation of the Plan, inclusive of

  joinders (collectively, the “Objections” and each objecting party, an “Objector”). As discussed

  in greater detail in the Memorandum, seven of the twelve objections were filed by Mr. Dondero

  either individually or via his related entities (collectively, the “Dondero Entities”). Exhibit A

  lists the Dondero Entities and their relationships to each other.3 The following are the Objections

  filed by the Dondero Entities:

                   James Dondero’s Objection to Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1661];

                   Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                    (filed by Get Good Trust, The Dugaboy Investment Trust) [Docket No. 1667] (the
                    “Dugaboy Objection”);


  2
   Unless otherwise noted, capitalized terms used in this Reply have the meanings ascribed in the Plan.
  3
    As set forth in the Memorandum, none of the Dondero Entities, including the NexPoint RE Entities (defined
  below), has an actual economic interest in the Estate.


  DOCS_SF:104855.7 36027/002                          1
                                                                                                Appx. 05798
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 9 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 8 of 106




                   Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                    Isaac Leventon) [Docket No. 1669] (the “Senior Employee Objection”);4

                   Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                    Capital Management, L.P. (filed by Highland Capital Management Fund
                    Advisors, L.P., Highland Fixed Income Fund, Highland Funds I and its series,
                    Highland Funds II and its series, Highland Global Allocation Fund, Highland
                    Healthcare Opportunities Fund, Highland Income Fund, Highland Merger
                    Arbitrate Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity
                    Fund, Highland Socially Responsible Equity Fund, Highland Total Return Fund,
                    Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital,
                    Inc., NexPoint Real Estate Strategies Fund, NexPoint Strategic Opportunities
                    Fund) [Docket No. 1670] (the “NPA/HCMFA Objection”);5

                   NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                    of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                    Partners LLC) [Docket No. 1673] (the “NREP Objection”);

                   CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. and Supplemental
                    Objections to Plan Confirmation [Docket No. 1675] (the “CLOH Objection”);
                    and

                   NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                    NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                    NexBank) [Docket No. 1676] (the “NexBank Objection”).


           2.       That leaves the following as the only non-Dondero related Objections:

                   Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                    Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1662] (the “State Taxing
                    Authority Objection”);



  4
    Subsequent to the filing of the Senior Employee Objection, Mr. Waterhouse and Mr. Surgent reached an agreement
  with the Debtor and will withdraw their objections to the Plan.
  5
    The NPA/HCMFA Objection is joined (1) by CLO Holdco, Ltd., through the CLOH Objection, and (2) by the
  following Dondero-controlled entities: NexPoint Real Estate Finance Inc., NexPoint Real Estate Capital, LLC,
  NexPoint Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint
  Multifamily Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors, L.P., NexPoint Real
  Estate Advisors II, L.P., NexPoint Real Estate Advisors III, L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint
  Real Estate Advisors V, L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P.,
  NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the foregoing (collectively, the “NexPoint RE
  Entities”) [Docket No. 1677] (the “NPRE Joinder”).

                                                          2
  DOCS_SF:104855.7 36027/002

                                                                                                       Appx. 05799
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 10 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 9 of 106




                   Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1666];

                   United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization [Docket No. 1668] (the “IRS Objection”);

                   United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth
                    Amended Plan of Reorganization [Docket No. 1671] (the “UST Objection”); and

                   Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                    of Reorganization [Docket No. 1678].


  As of the date hereof, the Date is working to resolve certain of the non-Dondero related

  Objections.

           3.       To avoid duplication, this Reply does not address each objection individually.

  Rather, it is organized by substantive objection where possible because of the cross-over in the

  issues raised in the Objections. Also, as discussed below, where the Debtor has addressed an

  Objection in the Memorandum, the response is not repeated here. However, parts of the Senior

  Employee Objection, the NPA/HCMFA Objection, State Taxing Authority Objection, and the

  IRS Objection, are addressed individually below. A summary chart addressing each Objection

  and the Debtor’s response thereto is attached as Exhibit B.

                                            OBJECTIONS

  I.       OBJECTIONS ADDRESSED IN THE MEMORANDUM

           4.       The Memorandum addresses the Debtor’s compliance with the statutory

  requirements of sections 1123 and 1129 of the Bankruptcy Code. As part of the analysis in the

  Memorandum, the Debtor addresses the portions of the Objections alleging that the Debtor failed

  to comply with and/or violated the statutory provisions set forth in sections 1123 and 1129 of the

  Bankruptcy Code. Specifically, the Debtor addresses the arguments that (i) the Plan provides for

                                                   3
  DOCS_SF:104855.7 36027/002

                                                                                        Appx. 05800
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 11 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 10 of 106




  improper subordination; (ii) the Disputed Claims Reserve violates due process; (iii) the Plan does

  not satisfy the “best interests test;” (iv) the Plan impermissibly provides no Bankruptcy Court

  oversight of post-effective date transactions; (v) the elimination of vacant classes does not allow

  for post-Effective Date reclassification of Claims; (vi) the Plan violates the absolute priority rule;

  (vii) the Plan does not disclose the insiders or the compensation of insiders retained post-

  Effective Date; (viii) the Plan impermissibly allows modifications to the Plan without

  Bankruptcy Court approval; and (ix) the Plan is not final because the Plan Supplement is not

  final.

  II.      THE PLAN IMPERMISSIBLY ALLOWS FOR SET OFF

           5.       The NREP Objection and the NexBank Objection erroneously contend that

  Article VI.M of the Fifth Amended Plan provides for “improper set-off of unidentified claims.”

  NREP Obj. ¶¶ 11-13; NexBank Obj. ¶¶ 10-12. The challenged language in the NREP Objection

  and the NexBank Objection is as follows:

           The Distribution Agent may, to the extent permitted under applicable law, set off
           against any Allowed Claim and any distributions to be made pursuant to this Plan
           on account of such Allowed Claim, the claims, rights and causes of action of any
           nature that the Debtor, the Reorganized Debtor, or the Distribution Agent may
           hold against the Holder of such Allowed Claim…. Any Holder of an Allowed
           Claim subject to such setoff reserves the right to challenge any such setoff in the
           Bankruptcy Court or any other court with jurisdiction with respect to such
           challenge.

  Plan, Art. VI.M.

           6.       Article VI.M of the Plan accords with Bankruptcy Code section 558 (formerly

  section 541(e)), which provides that “[t]he estate shall have the benefit of any defense available

  to the debtor as against any entity other than the estate, including statutes of limitation, statutes


                                                    4
  DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05801
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 12 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 11 of 106




  of frauds, usury, and other personal defenses.” 11 U.S.C. § 558; see In re Braniff Airways, Inc.,

  42 B.R. 443, 447 (Bankr. N.D. Tex. 1984) (a debtor in possession may exercise setoff rights

  pursuant to Bankruptcy Code section 558 (then section 541(e)); In re Circuit City Stores, Inc.,

  2009 Bankr. LEXIS 4011 (Bankr. E.D. Va. Dec. 3, 2009) (same); In re Women First Healthcare,

  Inc., 345 B.R. 131, 135 (Bankr. D. Del. 2006) (same); In re PSA, Inc., 277 B.R. 51, 53 (Bankr.

  D. Del. 2002) (same); Second Pa. Real Estate Corp. v. Papercraft Corp. (In re Papercraft

  Corp.), 127 B.R. 346, 350 (Bankr. W.D. Pa. 1991) (same).

           7.       In support of the argument that the provision is improper, the NREP Objection

  and the NexBank Objection contend that Bankruptcy Code section 553 and cases construing that

  provision limit parties’ right of setoff in bankruptcy only to prepetition claims. NREP Obj. ¶¶

  11-13; NexBank Obj. ¶¶ 10-12. However, the issue of the scope of the Distribution Agent’s

  setoff rights and the application of section 553 is not even adjudicated by the Plan.6 Rather, on

  its face, the Plan states that the Distribution Agent may exercise setoff rights only “to the extent

  permitted by law.” Thus, it does not purport to expand setoff rights of the Distribution Agent

  beyond what is permitted by the Bankruptcy Code but only preserves whatever setoff rights the

  estate has – no more and no less. Moreover, as quoted above, it expressly preserves the right of

  creditors to challenge any setoff that the Distribution Agent seeks to take.

           8.       Accordingly, whether the Distribution Agent may take any specific setoffs is

  reserved by the Plan for another day. The NREP Objection and the NexBank Objections on this

  issue are not well-taken, and both such objections should be overruled.

  6
    The Debtor reserves its rights with respect to the applicability of section 553 to the Distribution Agent’s preserved
  rights of setoff, if any.

                                                            5
  DOCS_SF:104855.7 36027/002

                                                                                                          Appx. 05802
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 13 of
                                           126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 12 of 106




  III.     THE PLAN IMPERMISSIBLY ALLOWS ASSUMPTION OR REJECTION
           AFTER CONFIRMATION

           9.       The NPA/HCMFA Objection contends that the Plan violates section 365(d)(2)

  because it allows the Debtor to assume or rejection executory contracts or unexpired leases on or

  prior to the Effective Date. While the Debtor believes that the original language in the Plan is

  defensible, the Debtor has elected to amend the Plan to clarify that all executory contracts and

  leases must be assumed or rejected on or prior to the Confirmation Date.

  IV.      THE ATTACK ON THE PLAN’S RELEASE IS BASELESS.

           A.       Debtor Release Provisions

           10.      Article IX of the Plan provides for releases only by the Debtor, its Estate, and the

  Reorganized Debtor (including their successors, the Claimant Trust and the Litigation Sub-Trust)

  of any and all Causes of Action, including any derivative claims that might be asserted on behalf

  of, or in the name of, the Debtor, that the Debtor or the Estate could otherwise assert against the

  Released Parties7 (the “Debtor Release”). The Debtor Release is the product of extensive good

  faith, arm’s-length negotiations and complies fully with the Bankruptcy Code and prevailing law.

  The Debtor Release provides:

           On and after the Effective Date, each Released Party is deemed to be, hereby
           conclusively, absolutely, unconditionally, irrevocably, and forever released and
           discharged by the Debtor and the Estate, in each case on behalf of themselves
           and their respective successors, assigns, and representatives, including, but not
           limited to, the Claimant Trust and the Litigation Sub-Trust from any and all
           Causes of Action, including any derivative claims, asserted on behalf of the
           Debtor, whether known or unknown, foreseen or unforeseen, matured or
           unmatured, existing or hereafter arising, in law, equity, contract, tort or otherwise,

  7
    The “Released Parties” under the Plan are: (i) the Independent Directors; (ii) Strand (solely from the date of the
  appointment of the Independent Directors through the Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v)
  the members of the Committee (in their official capacities); (vi) the Professionals retained by the Debtor and the
  Committee in the Chapter 11 Case; and (vii) the Employees. Plan, Art. I.B., Def. 111.

                                                           6
  DOCS_SF:104855.7 36027/002

                                                                                                        Appx. 05803
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 14 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 13 of 106




           that the Debtor or the Estate would have been legally entitled to assert in their
           own right (whether individually or collectively) or on behalf of the holder of any
           Claim against, or Interest in, a Debtor or other Person.

  Plan, Art. IX.D (emphasis added.)

           11.      The Debtor Release releases, among others, the Independent Directors (each of

  whom was appointed by the Bankruptcy Court post-petition), Strand (solely from January 9,

  2020, the date of the appointment of the Independent Directors, through the Effective Date), the

  CEO/CRO (who is also an Independent Director and whose role was expanded to include the

  CEO/CRO role on July 16, 2020), the Committee and its members in their official capacities, the

  Professionals retained with this Court’s approval by the Debtor or by the Committee and, to a

  more limited extent, the Employees.8

           12.      The Debtor Release is a release of the Released Parties by the Debtor, the Estate

  and their successors on account of Causes of Action that belong to the Debtor or the Estate,

  whether directly or derivatively. The Debtor Release does not release any Causes of Action of

  any person other than the Debtor, the Estate and their successors and does not release any

  claims that could not have been asserted by the Debtor or the Estate prior to the Effective

  Date.

           B.       Objections and Responses

           13.      Three parties in interest have objected to the Debtor Release. The Dugaboy

  Objection objects to the Debtor Release under the mistaken view that the Claimant Trust and

  Litigation Sub-Trust are (in Dugaboy’s view) granting releases of claims that have not yet arisen,



  8
   The Debtor Release contains restrictions on the releases of the Employees, as may be determined by the Claimant
  Trust Oversight Committee. Plan, Art. IX.D.

                                                         7
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05804
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 15 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 14 of 106




  i.e., causes of action of the Claimant Trust and Litigation Sub-Trust that arise after the Effective

  Date against the Released Parties. See Dugaboy Objection at p. 9. The U.S. Trustee Objection

  erroneously argues the Debtor Release is an impermissible non-consensual third-party release.

  See UST Objection at pp. 2-3.       The Senior Employee Objection objects to the Debtor Release

  because the Senior Employees believe that the Debtor should not be able to condition a release of

  the Senior Employees on concessions not required of other Employees obtaining a release. See

  Senior Employee Objections at p. 3.

           14.      Both Dugaboy and the U.S. Trustee misread the Debtor Release provision. The

  Claimant Trust and Litigation Sub-Trust are included solely in their capacity as “successors,

  assigns and representatives” of the Debtor and the Estate, and the Debtor Release applies solely

  to Causes of Action that the Debtor or the Estate themselves would have against the Released

  Parties (whether a direct claim or a derivative claim, but in either case, only Causes of Action

  owned by the Debtor or the Estate). By its express terms, the Debtor Release does not apply to

  any future claims or Causes of Action that the Claimant Trust or the Litigation Sub-Trust would

  have in its own right, based on post-Effective Date acts or omissions, rather than as a successor

  to or assignee of Causes of Action of the Debtor and the Estate.

           15.      The U.S. Trustee’s contention that the Debtor Release provision includes a third-

  party release is incorrect. The Debtor Release applies only to claims held by the Debtor and the

  Estate, on behalf of themselves and each of their successors, assigns and representatives in favor

  of the Released Parties. Any direct claims and causes of action owned by any other person are

  not released by the Debtor Release, and nothing in the language of the provision implicates any


                                                    8
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05805
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 16 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 15 of 106




  non-derivative claims or causes of action that any third party might have against any of the

  Released Parties.

           16.      The Senior Employees’ objection to the proposed Debtor Release also is devoid

  of merit. As discussed at length, in Section IX, herein, Employees are not entitled, either

  contractually or legally, to any release. Nor does a release given to one Employee entitle any

  other employee to a similar release. Releases are discretionary and can be provided, in an

  exercise of discretion, to persons who have provided consideration to the Debtor and the Estate.

  Unlike the other Released Parties, the Senior Employees have not yet fully provided that

  consideration. As the Court is aware, the Committee and the Court have consistently voiced

  concerns regarding the potential release of the Employees, and specifically, the Senior

  Employees.        The Plan resolves these concerns by imposing significant restrictions and

  affirmative requirements for any Employee to obtain the benefit of the Debtor Release and

  additional requirements for the Senior Employees to do so. See Plan, Art. IX.D.

           17.      The Bankruptcy Code explicitly provides for and sanctions the inclusion of debtor

  releases in plans. Section 1123(b)(3)(A) of the Bankruptcy Code states clearly that a chapter 11

  plan may provide for “the settlement or adjustment of any claim or interest belonging to the

  debtor or to the estate.” The Debtor Release is an essential quid pro quo for the Released

  Parties’ significant contributions to the Debtor’s restructuring, which has been highly complex

  and contentious. There are multiple precedents in which courts have approved releases by a

  debtor’s estate of its own claims against a far more extensive group of persons than those




                                                    9
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05806
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 17 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 16 of 106




  included here.9 The Committee and its members (who are Released Parties), who have had over

  a year to investigate potential claims against the Employees, among others, fully support the

  Debtor Release as to the other identified Released Parties.

           18.      It is also important to bear in mind that the Debtor Release applies to claims of

  the Debtor or the Estate against the Released Parties that others might purport to assert

  derivatively on behalf of the Debtor or the Estate. To the extent that Released Parties have

  indemnification rights against the Debtor, the assertion of such derivative claims – no matter

  how specious – would trigger claims for indemnification that would deplete the assets available

  for distribution to creditors. Moreover, regardless of such rights of indemnification, the assertion

  of such purported derivative claims on behalf of the Debtor would subject the Debtor to the costs

  – both economic, in terms of legal fees, and of the time and distraction of personnel – that would

  result from becoming embroiled in such derivative litigation – again, no matter how specious the

  claim.

           19.      Both the U.S. Trustee and Dugaboy erroneously cite Pacific Lumber10 for the

  proposition that releases of third parties – even by the debtor – are always impermissible.

  Pacific Lumber, however, did not involve the release of claims by a debtor. The issue addressed

  in Pacific Lumber was whether a bankruptcy court could approve injunction and exculpation

  provisions in a plan that effectively mandated that holders of claims release, or be precluded


  9
     See, e.g., In re Bigler LP, 442 B.R. 537, 547 (Bankr. S.D. Tex. 2010) (plan release provisions were acceptable
  settlement under § 1123(b)(3) because the debtors and the estate were releasing claims that were property of the
  estate); In re Heritage Org., LLC, 375 B.R. 230, 259 (Bankr. N.D. Tex. 2007); In re Mirant Corp., 348 B.R. 725,
  737-39 (Bankr. N.D. Tex. 2006); In re Gen. Homes Corp., 134 B.R. 853, 861 (Bankr. S.D. Tex. 1991).
  10
     Bank of New York Trust Co., NA v. Official Unsecured Creditors’ Committee (In re Pacific Lumber Co.), 584 F.3d
  229, 251-253 (5th Cir. 2009) (“Pacific Lumber”)

                                                         10
  DOCS_SF:104855.7 36027/002

                                                                                                     Appx. 05807
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 18 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 17 of 106




  from imposing liability on, non-debtor third parties. Nothing in Pacific Lumber prevents a

  debtor or its estate on its own behalf and on behalf of assignees and successors created pursuant

  to a plan, from releasing its own claims against third parties. Indeed, any such ruling would be

  directly contrary to the express provisions of section 1123(b)(3)(A).

           20.      The Debtor Release is a customary plan provision consistent with the business

  judgement rule, is fair and equitable and in the best interest of the Estate and its creditors and

  should be approved. No party that has objected to it has cited any case or statutory basis for

  preventing a debtor and its successors from releasing the debtor’s own claims against third

  parties, or has demonstrated any basis for believing that any claims of the Debtor or the Estate

  even exist against the Released Parties.

  V.       THE COURT HAS ALREADY EXCULPATED THE INDEPENDENT
           DIRECTORS AND THEIR AGENTS FOR NEGLIGENCE PURSUANT TO THE
           JANUARY 9, 2020 SETTLEMENT ORDER AND, TO THE EXTENT NOT
           COVERED THEREIN, THE PLAN’S EXCULPATION PROVISIONS
           EFFECTUATE ESSENTIAL PROTECTIONS FOR ESTATE FIDUCIARIES AND
           THEIR AGENTS, AND ARE FULLY SUPPORTED BY THE BANKRUPTCY
           CODE AND APPLICABLE LAW.

           21.      Exculpation provisions effectuate the entitlement of court-supervised fiduciaries

  to qualified immunity for their actions. See, e.g., In re PWS Holding Corp., 228 F.3d 224, 246

  (3d Cir. 2000); In re A.P.I., Inc., 331 B.R. 828, 868 (Bankr. D. Minn. 2005), aff'd sub

  nom., OneBeacon Am. Ins. Co. v. A.P.I., Inc., No. CIV. 06-167 (JNE), 2006 U.S. Dist. LEXIS

  34297 (D. Minn. May 25, 2006); Pan Am Corp. v. Delta Air Lines, Inc., 175 B.R. 438, 514

  (S.D.N.Y. 1994). Such provisions also allow the parties to a chapter 11 case “to engage in the

  give-and-take of the bankruptcy proceeding without fear of subsequent litigation over any


                                                   11
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05808
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 19 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 18 of 106




  potentially negligent actions in those proceedings” and, on that rationale, have even been

  approved when necessary to protect non-fiduciary participants in the chapter 11 process.

  Blixseth v. Credit Suisse, 961 F.3d 1074, 1084 (9th Cir. 2020).

           22.      As discussed in detail below, the Settlement Order11 previously entered by this

  Court has already exculpated the Independent Directors and their agents from potential

  negligence claims. Accordingly, as it relates to the Independent Directors and their agents, the

  Plan’s Exculpation Provisions simply respect the integrity of the Settlement Order. Moreover, it

  would be a mistake to construe Pacific Lumber as categorically prohibiting exculpation

  provisions. In fact, Pacific Lumber itself expressly endorsed a plan provision exculpating the

  committee and its members. For the reasons set forth below, exculpating the Exculpated Parties

  in respect of their post-petition services for the Estate is entirely consistent with Pacific Lumber,

  other applicable law, and the purposes and policies of chapter 11. Exculpation is particularly

  appropriate in this case to stem the tide of frivolous and vexatious litigation against the

  Exculpated Parties which Dondero and his Related Entities are seeking so desperately to

  continue to pursue.

           A.       The Settlement Order Already Exculpates the Independent Directors and
                    Their Agents from Claims of Negligence and Those Protections Should Be
                    Continued Post-Confirmation

           23.      The Objectors challenge the Exculpation Provisions on the grounds that they

  constitute an impermissible third-party release that is prohibited by Pacific Lumber. What the

  11
    See, Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of the
  Debtor and Procedures for Operations in the Ordinary Course entered January 9, 2020 [D.I. 339] (the “Settlement
  Order”) and Order Approving Debtor’s Motion under Bankruptcy Code Sections 105(a) and 363(b) for
  Authorization to Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign
  Representative Nunc Pro Tunc To March 15, 2020 entered July 16, 2020 [D.I. 854].

                                                        12
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05809
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 20 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 19 of 106




  Objectors ignore, however, is that this Court has already exculpated the Independent Directors

  and their agents for negligence pursuant to the terms of the Settlement Order – a final order to

  which Dondero agreed as a means of avoiding the appointment of a chapter 11 trustee, and

  which has been in place for over a year and was never appealed by any of the Objectors, all of

  whom had notice of it.12 Accordingly, the Court should reject Objectors challenge to exculpation

  of the Independent Directors and their agents as a collateral attack on the Settlement Order which

  is indisputably a final order of this Court.13

           24.      Paragraph 10 of the Settlement Order expressly provides:

           No entity may commence or pursue a claim or cause of action of any kind
           against any Independent Director, any Independent Director’s agents, or any
           Independent Director’s advisors relating in any way to the Independent Director’s
           role as an independent director of Strand without the Court (i) first determining
           after notice that such claim or cause of action represents a colorable claim of
           willful misconduct or gross negligence against Independent Director, any
           Independent Director’s agents, or any Independent Director’s advisors and (ii)
           specifically authorizing such entity to bring such claim. The Court will have sole
           jurisdiction to adjudicate any such claim for which approval of the Court to
           commence or pursue has been granted.


  Settlement Order, ¶ 10 (emphasis added). Thus, as to the Independent Directors and their agents,

  they have already been exculpated for negligence, and the Plan Exculpation Provisions simply

  preserve the necessary protections and standard of liability already established by the Court for

  these court-appointed fiduciaries by final order which continues in effect pursuant to the plan.14


  12
     See Republic Supply Co. v. Shoaf, 815 F.2d 1046 (5th Cir. 1987) (res judicata barred a debtor from bringing a
  claim that was specifically and expressly released by a confirmed reorganization plan because the debtor failed to
  object to the release at confirmation and was now collaterally attacking the release).
  13
     See Miller v. Meinhard-Commercial Corp., 462 F.2d 358, 360 (5th Cir. 1972) (“[e]ven though an action has an
  independent purpose and contemplates some other relief, it is a collateral attack if it must in some fashion overrule a
  previous judgment.”).
  14
     See Plan, Art. IX.H (Paragraphs 9 and 10 of the Settlement Order remain in effect post-Confirmation).

                                                            13
  DOCS_SF:104855.7 36027/002

                                                                                                          Appx. 05810
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 21 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 20 of 106




           25.      Unlike in Pacific Lumber, the Independent Directors (which include the

  CEO/CRO) are not prepetition officers and directors of the Debtor. The Independent Directors

  were appointed post-petition by the Court pursuant to the Settlement Order as an urgent measure

  to address serious concerns raised by the Committee as to extensive breaches of fiduciary duty

  and lack of disinterestedness by the Debtor’s prepetition management. In recognition of the

  extraordinarily complex, litigious and volatile situation the Independent Directors were getting

  into, the Court expressly exculpated the Independent Directors (including the CEO/CRO) and

  their agents from claims for negligence in connection with their actions in the case.

           B.       Plan Exculpation Provisions

           26.      Article IX.C of the Plan addresses the exculpation of certain Exculpated Parties15

  and provides that each Exculpated Party shall be exculpated from any Cause of Action arising

  out of acts or omissions in connection with this chapter 11 case and certain related transactions,

  except for any acts or omissions that are determined by Final Order to have constituted bad faith,

  fraud, willful misconduct, criminal misconduct, or gross negligence (the “Exculpation

  Provisions”). Although the Exculpation Provisions apply to Strand and certain Employees, the

  Exculpation Provisions apply solely with respect to actions taken by Strand and such Employees



  15
     The Plan defines the “Exculpated Parties” as: (i) the Debtor and its successors and assigns, direct and indirect
  majority-owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii) Strand, (iv) the Independent
  Directors, (v) the Committee, (vi) the members of the Committee (in their official capacities), (vii) the Professionals
  retained by the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO, and (ix) the Related Persons
  of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance of doubt, none of James
  Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable
  Donor Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed entities),
  Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed entities), Highland Capital
  Management Fund Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
  subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy Investment
  Trust (or any trustee acting for the trust), or Grant Scott is included in the term “Exculpated Party.”

                                                            14
  DOCS_SF:104855.7 36027/002

                                                                                                           Appx. 05811
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 22 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 21 of 106




  from and after the date of the post-petition appointment of the Independent Directors, through

  the Effective Date of the Plan, and expressly exclude James Dondero and a number of other

  specified entities.16 The provision provides:

           Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent
           permitted by applicable law, no Exculpated Party will have or incur, and each
           Exculpated Party is hereby exculpated from, any claim, obligation, suit, judgment,
           damage, demand, debt, right, Cause of Action, remedy, loss, and liability for
           conduct occurring on or after the Petition Date in connection with or arising out of
           (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation and
           pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
           confirmation of, the Plan; (iii) the funding or consummation of the Plan
           (including the Plan Supplement) or any related agreements, instruments, or other
           documents, the solicitation of votes on the Plan, the offer, issuance, and Plan
           Distribution of any securities issued or to be issued pursuant to the Plan, including
           the Claimant Trust Interests, whether or not such Plan Distributions occur
           following the Effective Date; (iv) the implementation of the Plan; and (v) any
           negotiations, transactions, and documentation in connection with the foregoing
           clauses (i)-(v); provided, however, the foregoing will not apply to (a) any acts or
           omissions of an Exculpated Party arising out of or related to acts or omissions that
           constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
           misconduct or (b) Strand or any Employee other than with respect to actions taken
           by such Entities from the date of appointment of the Independent Directors
           through the Effective Date. This exculpation shall be in addition to, and not in
           limitation of, all other releases, indemnities, exculpations, any other applicable
           law or rules, or any other provisions of this Plan, including ARTICLE IV.C.2,
           protecting such Exculpated Parties from liability.


           27.      An exculpation provision differs from a release.17 An exculpation provision sets a

  standard of liability that absolves a person from liability for ordinary negligence, but not from

  liability for more egregious conduct. In this respect, it is consistent with the duty of care and

  duty of loyalty standards of the business judgment rule that protects business entities and

  16
     To the extent there is any conflict between the descriptions of the Exculpation Provisions herein and the Plan, the
  Plan shall control.
  17
     See In re PWS Holding Corp., 228 F.3d 224, 246 (3d Cir. 2000) (holding that an exculpation provision “is
  apparently a commonplace provision in Chapter 11 plans,” does not affect the liability of these parties, but rather
  states the standard of liability under the Code, and as it exculpated the named parties for actions during the course of
  the case did not implicate section 524(e).)

                                                            15
  DOCS_SF:104855.7 36027/002

                                                                                                           Appx. 05812
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 23 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 22 of 106




  individual fiduciaries from liability when their actions are taken within their authority and good

  faith.18

             28.    Various objections have been raised to the inclusion of the Exculpation Provisions

  in the Plan. Each of the Objectors argues that, except with regard to the Committee and its

  Professionals, the Exculpation Provisions are impermissible based upon their misunderstanding

  and overly-broad reading of the opinion of the Fifth Circuit in Pacific Lumber.19

             C.     Pacific Lumber

             29.    Because every argument relied upon by the Objectors as to the permissibility of

  the Exculpation Provisions is premised on Pacific Lumber, it is important to analyze exactly

  what the Fifth Circuit actually held based on the appeal and the briefing before it. The portion of

  the Pacific Lumber opinion addressing non-debtor exculpation and releases is less than two

  pages long and, when appropriately construed, is inapposite to this case, except insofar as it

  approved the exculpation of the creditors’ committee and its members.

             30.    In Pacific Lumber, a prepetition secured creditor joined with a competitor of one

  of the debtors to propose a chapter 11 plan (the “MRC/Marathon Plan”). The MRC/Marathon

  Plan included a provision that exculpated the plan proponents, the reorganized debtors, the

  unsecured creditors’ committee and each of their respective professionals, officers and directors

  from liability (other than for willful misconduct and gross negligence) relating to proposing,

  implementing and administering the chapter 11 plan. The bankruptcy court approved the

  18
     See Bernard S. Sharfman, Importance of the Business Judgement Rule, Harvard Law School Forum on Corporate
  Governance, posted at https://corpgov.law.harvard.edu/2017/01/19/the-importance-of-the-business-judgment-rule/
  19
     The Objectors acknowledge the Fifth Circuit expressly held that the exculpation of the unsecured creditors’
  committee and its members and professionals was appropriate. Therefore, the Exculpation Provisions as applied to
  these parties will not be discussed further herein.

                                                        16
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05813
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 24 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 23 of 106




  discharges, releases, exculpations and injunctions pursuant to sections 105, 524, 1123(a)(5) and

  1129.

           31.      The appellants were an indenture trustee and certain bondholders who had voted

  against the MRC/Marathon Plan and were the unsuccessful proponents of a competing plan

  which, incidentally, contained non-debtor third-party releases and exculpation provisions

  identical in scope to those in the MRC/Marathon Plan.20 On appeal, the Fifth Circuit either

  affirmed or dismissed on mootness grounds in respect of every issue raised on appeal, other than

  the release and exculpation provisions. While the issues on appeal had been broadly worded,21

  the only issue in respect of the release and exculpation provisions actually briefed by the

  appellants was the impropriety of the release and exculpation provisions for the benefit of the

  non-debtor plan proponents and the committee.22

           32.      The Fifth Circuit relied exclusively on section 524(e) of the Bankruptcy Code for

  its observation that non-consensual releases or exculpations of non-debtors are not allowed, even

  for actions taken during the case. Id. at 252-3. Section 524 is entitled “Effect of discharge” and

  subsection 524(e) provides that a “discharge of a debt of a debtor does not affect the liability of


  20
     See First Amended Chapter 11 Plan for Scotia Pacific Company LLC proposed by the Bank of New York Trust
  Company, N.A., as Indenture Trustee for the Timber Notes (as modified on April 28, 2008) [In re: Scotia
  Development LLC, et al., Case No. 07-20027, U.S. Bankruptcy Court for the S.D. Tex., D.I. 2774], Sections 10.1,
  10.3 and 10.4.
  21
     See The Indenture Trustee’s Statement of Issues on Appeal of the Order Confirming the MRC/Marathon Plan [In
  re: Scotia Development LLC, et al., Case No. 07-20027, U.S. Bankruptcy Court for the S.D. Tex., D.I. 3431] at p. 4,
  Issue No. 18.
  22
     See Brief of Appellants [Bank of New York Trust Co., NA v. Official Unsecured Creditors’ Committee, Case
  No.08-40746, U.S. Court of Appeals for the Fifth Circuit, August 25, 2008], at pp. 55-56 (“The Plan contains an
  expansive “Exculpation Clause” which purports to release claims of non-consenting creditors against numerous non-
  debtors, including “officers, directors, professionals, members, agents and employees” of MRC, Marathon and the
  Committee. . . . Having obtained confirmation of the Plan through the erroneous means set forth above, the Plan
  Proponents propose to use this overbroad release language to exonerate themselves.”) (emphasis added; record
  cites omitted)

                                                          17
  DOCS_SF:104855.7 36027/002

                                                                                                      Appx. 05814
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 25 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 24 of 106




  any other entity on . . . such debt.” Thus, on its face, section 524(e), only prohibits a plan from

  discharging obligations of third parties who are liable with the debtor on its debts. The Fifth

  Circuit focused on co-liability for “pre-petition debts,”23 yet applied the prohibition to causes of

  action for “any negligent conduct that occurred during the course of the bankruptcy.”24

              33.    Notably, the briefing on the issue presented to the Fifth Circuit had dealt with the

  impropriety of the exculpation of the non-debtor plan proponents and the committee, but not

  with the officers and directors of the Debtor. Thus, to the extent the Fifth Circuit included the

  debtor’s officers and directors in its discussion, that discussion constituted mere dicta.

              34.    Although the Fifth Circuit ruled that section 524(e) did not support exculpation

  for certain persons, such as the non-debtor plan proponents in that case, the Court did not treat

  section 524(e) as an absolute bar to exculpation provisions in a plan that were supportable by

  other sections of the Bankruptcy Code, by other applicable law or by legitimate policy

  considerations relating to the chapter 11 process.          In approving the exculpation as to the

  committee and its members, the court cited to the qualified immunity of committees under

  section 1103(c) of the Bankruptcy Code and to an important policy concern regarding the effect

  of denying exculpation on the chapter 11 process: “actions ‘against committee members in their

  capacity as such should be discouraged. If members of the committee can be sued by persons

  unhappy with the committee’s performance during the case or unhappy with the outcome of the

  case, it will be extremely difficult to find members to serve on an official committee.’ The



  23
       Id. at 252.
  24
       Id.

                                                      18
  DOCS_SF:104855.7 36027/002

                                                                                            Appx. 05815
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 26 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 25 of 106




  Creditors' Committee and its members are the only disinterested volunteers among the parties

  sought to be released here.” Id., at 252 (cites omitted).

           35.      The Debtor is, of course, not asking this court to override the Fifth Circuit’s

  holding in Pacific Lumber. Rather, as discussed below, the facts of this case are such that the

  rationale applied by the Fifth Circuit to permit exculpation of the committee and its members

  fully supports the Plan Exculpation Provisions. The need for exculpation has already been

  recognized by this Court in the Settlement Order. Furthermore, as the Pacific Lumber ruling was

  based solely on section 524(e), nothing in that opinion precludes approval of the Exculpation

  Provisions pursuant to other provisions of the Bankruptcy Code or other applicable law.

           D.       Exculpation of the Exculpated Parties Is Permissible and Not Prohibited by
                    Pacific Lumber.

           36.      The propriety of the Plan Exculpation Provisions should be considered as they

  apply to each respective Exculpated Party.

           37.      The Debtor. The Debtor and its successors and assigns are entitled to the

  relief embodied in the Exculpation Provision. With exceptions not applicable here, the Debtor,

  as debtor in possession, has all the rights and powers of a trustee. 11 U.S.C. § 1107(a).

  Accordingly, the Debtor’s right to qualified immunity is co-extensive with that of a trustee.

  Moreover, granting the Debtor such relief falls squarely within the “fresh start” principles

  underlying the Bankruptcy Code. See 11 U.S.C. §§ 524 and 1141. The Claimant Trust and

  Litigation Sub-Trust are successors to and assigns of the Debtor, and thus, to the extent

  applicable to the scope of the Exculpation Provisions, should be similarly protected. In the

  context of this Plan, the Claimant Trust and Litigation Sub-Trust are court-approved fiduciaries

                                                   19
  DOCS_SF:104855.7 36027/002

                                                                                       Appx. 05816
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 27 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 26 of 106




  whose sole purpose is to operate the Debtor’s business for a limited period of time to effectuate

  an orderly monetization of the Debtor’s assets and pay the claims of creditors.                             Post-

  Confirmation, the Debtor and its successors are entitled to exculpation.

           38.      The Independent Directors.              Even if the Settlement Order did not plainly

  provide the Independent Directors with exculpation, in the context of this case, the Independent

  Directors are akin to committee members and the same rationale the Fifth Circuit used in Pacific

  Lumber to uphold the exculpation of committee members applies to the Independent Directors.

  The use of independent directors has become commonplace in large complex commercial cases,

  both on the eve of bankruptcy25 and post-petition,26 especially where there are allegations of

  mismanagement, breaches of fiduciary duty or other conflicts that cast shadows on the

  relationship between the debtor in possession and its creditors, who question whether existing

  officers and directors can faithfully perform their fiduciary duties as the face of the debtor in

  possession.27 Independent directors tend to be either experienced restructuring professionals

  25
     Some examples of major bankruptcy cases in which independent directors have been appointed just prior to
  bankruptcy, usually due to accounting irregularities and other events that resulted in distrust of management by
  major creditor constituencies, include: Neiman Marcus Group, Inc. (S.D. Tex); WorldCom (S.D. N.Y.); Sears (S.D.
  N.Y.); California Pizza Kitchen (S.D. Tex.); PG&E Corp. (N.D. Cal.); Adelphia Communication Corp. (S.D. N.Y.);
  Station Casinos (D. Nev.); and Cengage Learning Centers (E.D. N.Y.)
  26
     See Regina Kelbon and Michael DeBaecke, Appointment of Independent Directors on the Eve of Bankruptcy: Why
  the Growing Trend, paper prepared for the Penn. Bar Institute 19th Annual Bankruptcy Institute, June 27, 2014, at
  pp. 17-23, available at
  https://www.blankrome.com/siteFiles/publications//B3795676DF921A7E3BED8A9F15E7FDF3.pdf (discussing use
  of independent directors both pre- and post-petition and certain cases utilizing same).
  27
     See, e.g., In re Natrol, Inc., Case No. 14-22446 (Bankr. D. Del.) Motion and Order Appointing Independent
  Directors [Docket Nos. 248 and 305] (independent directors appointed to settle motion for appointment of trustee by
  large creditor); In re 4 West Holdings, Inc., Case No. 18-30777 (Bankr. N.D. Tex) Motion and Order Appointing
  Independent Directors [Docket Nos. 311 and 383] (independent director appointed to review propriety of certain
  settlements and business and marketing plan); In re Synergy Pharmaceuticals, Inc., Case No. 18-14010 (Bankr.
  S.D.N.Y.) Motion and Stipulation and Order Appointing Independent Directors [Docket Nos. 373 and 553]
  (independent directors appointed because of pending shareholder derivative actions against prepetition board
  members); In re Zohar III, Corp., Case No. 18-10512 (Bankr. D. Del.) Order Appointing Independent Director
  [Docket No. 267] (independent director appointed as part of a mediated settlement over sale of a portfolio of
  financial services entity debtor]; In re Interlogic Outsourcing, Inc., Case No. 19-31444 (Bankr. N.D. Ind.) Motion

                                                          20
  DOCS_SF:104855.7 36027/002

                                                                                                      Appx. 05817
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 28 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 27 of 106




  (attorneys or financial advisors) or seasoned industry professionals with immaculate corporate

  records. Reliance on the use of independent directors has thus become a critical tool in proper

  corporate governance and restoring creditor confidence in management in modern day corporate

  restructurings. Failure to protect independent directors from claims of ordinary negligence will

  discourage sophisticated restructuring personnel from accepting appointment to such roles and

  will have a substantial negative effect on the efficacy of the chapter 11 process and the efficient

  realization of its purposes and goals.

           39.      The Independent Directors appointed in this case are persons of such stature, as

  they include a former bankruptcy judge, former commercial bankruptcy practitioners and a

  person with expertise in hedge fund operations. As indicated by the Fifth Circuit in Pacific

  Lumber, if estate fiduciaries who are “disinterested volunteers” can be sued for actions taken

  during the course of a case pursuant to the Bankruptcy Code and under judicial supervision,

  qualified people would not serve, and the integrity of the chapter 11 process would be

  compromised.        This policy concern is particularly acute where, as here, the Independent

  Directors undertook their duties in the midst of a highly contentious and litigious case.

           40.      In this case, the Independent Directors also are analogous to bankruptcy trustees.

  Section 1107(a) of the Bankruptcy Code provides that a debtor in possession has all of the rights

  and powers, and substantially all of the duties, of a bankruptcy trustee, and the case law makes it

  clear that the debtor in possession and its officers and directors serve in the same fiduciary

  capacity as a trustee. The Independent Directors were approved by the court to serve as post-


  and Order Appointing Independent Directors [Docket Nos. 198 and 394] (independent director appointed for general
  corporate oversight).

                                                        21
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05818
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 29 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 28 of 106




  petition fiduciaries in this case in order to resolve insistent and urgent demands for the

  appointment of a trustee to supplant the prepetition directors and senior officers. In fact, the

  Court denied the U.S. Trustee’s motion seeking appointment of a chapter 11 trustee based

  primarily on its approval of the Independent Directors to act as court-supervised fiduciaries for

  the Debtor and the Estate – the functional equivalent of a chapter 11 trustee.            It is well

  established that trustees have qualified immunity for acts taken within the scope of their

  appointment. Boullion v. McClanahan, 639 F.2d 213, 214 (5th Cir. 1981). Like trustees, the

  Independent Directors are estate fiduciaries. In re Houston Regional Sports Network, L.P., 505

  B.R. 468, 481-82 (Bankr. S.D. Tex. 2014) (directors of a non-debtor general partner owe

  fiduciary duties to the estate of a debtor limited partnership and the fiduciary duties to the estate

  are paramount.)

           41.      For the same reasons that the Fifth Circuit upheld the exculpation of committee

  members in Pacific Lumber, and pursuant to sections 105, 1106, 1107, 1123, and 1129 of the

  Bankruptcy Code and the related applicable non-bankruptcy law governing the immunity and

  exculpation of fiduciaries, none of which were actually addressed in Pacific Lumber, the

  Exculpation Provisions should be approved as to the Independent Directors and CEO/CRO.

           42.      Professionals. The Debtor’s Professionals are entitled to exculpation. See, In re

  Ondova Ltd. Co. v. Sherman, 914 F.3d 990 (5th Cir. 2019) (protecting counsel for trustee from

  suit when acting pursuant to direction of its client within the scope of its employment); Harris v.

  Wittman (In re Harris), 590 F.3d 730 (9th Cir. 2009)(same). There is no distinction in the

  Bankruptcy Code between counsel for a trustee and counsel for a debtor in possession – both are


                                                   22
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05819
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 30 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 29 of 106




  subject to court approval of their retention, both serve as counsel to estate fiduciaries and both

  are subject to their actions and compensation being reviewed and approved by the Court.28

           43.      Additionally, under applicable Texas law, attorneys are immune from civil

  liability to non-clients for actions taken in connection with representing a client in litigation. See

  Cantey Hanger, LLP v. Byrd, 467 S.W.3d 477, 481 (Tex. 2015); see also Troice v. Proskauer

  Rose, L.L.P., 816 F.3d 341 (5th Cir. 2016) (dismissing securities fraud litigation brought by third

  parties against counsel for certain companies related to Ponzi scheme perpetrator Allen

  Stanford).

           44.      Strand. It is appropriate to include Strand in the Exculpation Provisions. Strand

  is the Debtor’s general partner, and the Independent Directors are the directors of Strand. Strand

  should be protected to the same extent as the Debtor and the Independent Directors, and for the

  same reasons. See In re Houston Reg’l Sports Network, L.P., (directors of a non-debtor general

  partner owe fiduciary duties to the estate of a debtor limited partnership and the fiduciary duties

  to the estate are paramount.) In regard to Strand, the Exculpation Provisions apply solely with

  respect to actions taken by Strand from and after the date of the post-petition appointment of the

  Independent Directors, through the Effective Date of the Plan.

           45.      Employees. The Employees, as agents of the Independent Directors, are already

  covered by the Settlement Order’s exculpation provision for acts taken in furtherance of and

  28
     See Osherow v. Ernst & Young, LLP (In re Intelogic Trace, Inc.), 200 F.3d 382 (5th Cir. 2000) (order approving
  final fee application of court-appointed professional was res judicata in respect of subsequent lawsuit by trustee
  alleging malpractice and negligence where potential claims were known to trustee at the time of final fee
  hearing.). See also, Southmark Corp. v. Coopers & Lybrand (In re Southmark Corp.), 163 F.3d 925 at 931 (5th
  Cir.), cert. denied, 527 U.S. 1004 (1999) (judgment in bankruptcy court lawsuit brought by reorganized debtor
  seeking fee disgorgement against accountant for debtor for failure to disclose relationship with potential litigant was
  res judicata in respect of subsequent state court lawsuit by debtor for malpractice).

                                                           23
  DOCS_SF:104855.7 36027/002

                                                                                                          Appx. 05820
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 31 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 30 of 106




  under the direction and supervision of the Independent Directors in administering, managing and

  operating the Debtors. However, even if the Employees were not already covered by the

  Settlement Order, it would be appropriate to include the Employees in the Exculpation

  Provisions. The Exculpation Provisions apply to the Employees solely with respect to actions

  taken by the Employees from and after the date of the post-petition appointment of the

  Independent Directors, through the Effective Date of the Plan.

             E.       Approval of the Exculpation Provisions Is a Legitimate Exercise of the
                      Court’s Powers and Follows Directly from the Findings and Conclusions the
                      Court Must Make to Confirm a Plan

             46.      The Debtor is seeking approval of the Exculpation Provisions in its Plan pursuant

  to sections 105, 1106, 1107, 1123, and 1129 of the Bankruptcy Code; the qualified immunity of

  bankruptcy trustees and their agents, and the correlative qualified immunity of debtors in

  possession; the related applicable non-bankruptcy law on immunity and exculpation of

  fiduciaries; and the strong policy reasons offered by the Fifth Circuit as to committee members,

  which apply to the Independent Directors in the same way as the Fifth Circuit applied them to

  committee members. The Bankruptcy Code makes it clear that “any appropriate provision not

  inconsistent with the applicable provisions of this title” may be included in a chapter 11

  plan. 29

             47.      The Fifth Circuit’s Pacific Lumber ruling denying exculpation to certain parties

  was based on section 524(e). Some recent court decisions approving exculpation provisions

  have held, however, that in dealing with complex and litigious bankruptcy cases, section 524(e)


  29
       11 U.S.C. § 1123(b)(6).

                                                     24
  DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05821
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 32 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 31 of 106




  is not a bar to setting a standard of liability that limits liability for negligence for acts taken

  during the course of the case in furtherance of the purpose of chapter 11. For example, in

  Blixseth,30 the Ninth Circuit (which generally does not permit third-party releases in plans)

  determined that the exculpation clause at issue did not implicate section 524(e) because it related

  to post-petition actions that occurred during the bankruptcy process, and did not implicate any

  potential liability on prepetition debts of the debtor. The Court further explained that, despite

  prior Ninth Circuit decisions disproving third-party releases relating to such prepetition debts of

  the debtor, exculpation provisions with third-party releases are permissible because chapter 11

  cases are often “highly litigious” where “oxes [sic] are gored” and such releases limited in time

  and scope “allow the settling parties. . . to engage in the give-and-take of the bankruptcy

  proceeding without fear of subsequent litigation over any potentially negligent actions in those

  proceedings.” Id. at 1084. Finally, the court held, as many of its sister circuits have held, that

  under sections 105(a) and 1123 “the bankruptcy court here had the authority to approve an

  exculpation clause intended to trim subsequent litigation over acts taken during the bankruptcy

  proceedings and so render the Plan viable.” Id. Significantly, the creditor whose exculpation

  was at issue in Blixseth was not even an estate fiduciary. Id. at 1081.

             48.      Another court recently dealing with exculpation issues discussed the need for an

  appropriately-constructed exculpation of estate fiduciaries and exculpation relating to court

  approved transactions in order to preserve the basic integrity of the chapter 11 process. In In re

  Aegean Marine Petroleum Network, Inc., 599 B.R. 717 (Bankr. S.D.N.Y 2019), the bankruptcy


  30
       961 F.3d 1074 (9th Cir. 2020)

                                                     25
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05822
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 33 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 32 of 106




  court was presented with a broad exculpation clause in a plan that protected not only court-

  supervised fiduciaries, but also entities such as the acquirer, the acquirer’s professionals, the pre-

  and post-petition lenders and the indenture trustees. As here, the exculpation provision pertained

  to acts and omissions taken in connection with and during the bankruptcy case, but excluded acts

  of fraud, willful misconduct or gross negligence.

           49.      The court declined to approve the exculpation provision as written, holding that it

  was overly broad, but nevertheless provided significant guidance on what an appropriate

  exculpation provision should provide:

           I think that a proper exculpation provision is a protection not only of court-
           supervised fiduciaries, but also of court-supervised and court-approved
           transactions. If this Court has approved a transaction as being in the best
           interests of the estate and has authorized the transaction to proceed, then the
           parties to those transactions should be not be subject to claims that effectively
           seek to undermine or second-guess this Court’s determinations. In the absence of
           gross negligence or intentional wrongdoing, parties should not be liable for doing
           things that the Court authorized them to do and that the Court decided were
           reasonable things to do. Cf. Airadigm Commc'ns., Inc. v. FCC (In Re Airadigm
           Communs., Inc.), 519 F.3d 640, 655-57 (7th Cir. 2008) (approving a plan
           provision that exculpated an entity that funded a plan from liability arising out of
           or in connection with the confirmation of the Plan, except for willful
           misconduct); In re Granite Broad. Corp., 369 B.R. 120, 139 (Bankr. S.D.N.Y.
           2007) (approving exculpation provision that was limited to conduct during the
           bankruptcy case and noting that the effect of the provision is to require “that any
           claims in connection with the bankruptcy case be raised in the case and not be
           saved for future litigation.”).


  599 B.R. at 720-721 (emphasis added).           The Exculpation Provisions in the Plan here are

  consistent with the policy-based and chapter 11 process-based guidelines provided by Judge

  Wiles in Aegean Marine, in that they apply to court-supervised fiduciaries and transactions

  entered into under the auspices of the court.



                                                    26
  DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05823
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 34 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 33 of 106




           50.      Additionally, the bankruptcy court’s power to approve an exculpation provision in

  a chapter 11 plan flows naturally from the fact that it cannot confirm a chapter 11 plan unless it

  finds that the proponent of the plan has complied with the applicable provisions of the

  Bankruptcy Code and the plan has been proposed in good faith. 31 The plan is the culmination

  of the chapter 11 case. By confirming a plan and making the “good faith” finding, the court is

  determining that the plan proponent (usually, the debtor) and its officers and directors have acted

  appropriately throughout the case, consistent with their fiduciary duties and have been

  administering, managing and operating the debtor in accordance with the provisions of the

  Bankruptcy Code and applicable law.32 Once the court makes its good faith finding, it is

  appropriate to set the standard of liability of the fiduciaries (and, as in Blixseth, other parties)

  involved in the formulation of that chapter 11 plan. 33

           51.      An exculpation provision appropriately prevents future collateral attacks against

  fiduciaries of the debtor’s estate. Here, the Exculpation Provisions are appropriate because they

  provide protection to those parties who served as post-petition court-approved fiduciaries during

  the restructuring process – relief that in this litigious case, as all participants are painfully aware,

  is indispensable. The Exculpation Provisions are in consideration for services rendered, hard

  work, and perseverance in the face of threats to professional reputation and bodily harm. The

  Exculpation Provisions should be approved, and the objections, asserted for the most part by the




  31
     See 11 U.S.C. § 1129(a)(2) and (3).
  32
     See 11 U.S.C. § 1129(a).
  33
     See PWS, 228 F.3d at 246-247 (observing that creditors providing services to the debtors are entitled to a “limited
  grant of immunity . . . for actions within the scope of their duties . . . .”).

                                                           27
  DOCS_SF:104855.7 36027/002

                                                                                                          Appx. 05824
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 35 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 34 of 106




  very individual and entities that have created the need for such provisions by turning this case

  into a war zone, should be overruled.

  VI.      THE PLAN INJUNCTION IS APPROPRIATE AND IS NARROWLY TAILORED
           TO EFFECTUATE THE PLAN AND RELATED PROVISIONS OF THE
           BANKRUPTCY CODE.

           52.      The Court should approve the injunction provisions (the “Injunction” or

  “Injunction Provisions”), set forth in Article IX.F of the Plan. This is because the Injunction

  Provisions are necessary and appropriate to enable the Debtor and its successors to carry out, and

  obtain the benefits of, the provisions of the Bankruptcy Code relating to the Plan and the proper

  implementation and consummation of the Plan. Approval of the requested Injunction Provisions

  is well within this Court’s powers.

           53.      The Objectors have objected to the Injunction Provisions on several grounds. The

  Debtor has reviewed the Injunction Provisions and revised them to address certain of the

  Objectors’ concerns as follows:

                   The Injunction and Gatekeeper Provisions have been narrowed to apply only to
                    Enjoined Parties.34

                   The Independent Directors are no longer included in the second paragraph of the
                    Injunction.

                   The Reorganized Debtor and the Claimant Trust have been deleted from the
                    second paragraph of the Injunction in order to eliminate any potential confusion
                    that they were included in any capacity other than as successors to the Debtor,
                    which is now clarified in the third paragraph of the Injunction.

  34
     “Enjoined Parties” means (i) all Entities who have held, hold, or may hold Claims against or Equity Interests in
  the Debtor (whether or not proof of such Claims or Equity Interests has been filed and whether or not such Entities
  vote in favor of, against or abstain from voting on the Plan or are presumed to have accepted or deemed to have
  rejected the Plan), (ii) James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion,
  objection, or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared and
  any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the foregoing. Plan, Art.
  I.B., Def. 56 (new definition in the Plan (as amended)).

                                                           28
  DOCS_SF:104855.7 36027/002

                                                                                                         Appx. 05825
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 36 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 35 of 106




                   The Injunction is subject to parties’ rights to set off to the extent permitted post-
                    confirmation under sections 553 and 1141 of the Bankruptcy Code.

                   The Gatekeeper Provision has been amended to clarify the actions for which
                    parties must first seek the approval of the Bankruptcy Court to pursue.

                   The grant of exclusive jurisdiction over the merits previously contained in the
                    Gatekeeper Provision has been removed, and the Gatekeeper Provision has been
                    modified to provide that if the Bankruptcy Court, as gatekeeper, decides an action
                    can be brought, the Bankruptcy Court will adjudicate that action on the merits
                    only to the extent the court has jurisdiction to do so.

                   Articles IX.G and H of the Plan have been modified to clarify the duration of the
                    automatic stay and other injunctions which are either currently in effect or
                    contained in the Plan.


           54.      The Injunction Provision, as modified, merely implement and enforce the Plan’s

  discharge, release, and Exculpation Provisions and related provisions of the Bankruptcy Code

  and enjoin the Enjoined Parties from commencing or maintaining actions to interfere with the

  implementation or consummation of the Plan. The Injunction Provisions are a necessary part of

  the Plan because they protect the Plan implementation provisions required to monetize the

  Debtor’s assets and pursue the Causes of Action, all of which has been vociferously and

  continually opposed and litigated by Dondero and his numerous Related Entities, with such

  vexatious opposition likely to continue post-confirmation. Several parties – principally Dondero,

  Dugaboy and his Related Entities – have objected to the Injunction, which is not surprising

  because Dondero and his Related Entities undoubtedly intend to continue their litigation crusade

  against the Debtor and its successors after confirmation of the Plan.

           A.       Plan Injunction Provisions

           55.      Section IX.F of the Plan is entitled “Injunction” and applies post-Effective Date.

  The Injunction contains three distinct provisions:


                                                     29
  DOCS_SF:104855.7 36027/002

                                                                                            Appx. 05826
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 37 of
                                           126
 Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 36 of 106




            56.      Paragraph 1, as amended, provides:
                     Upon entry of the Confirmation Order, all holders of Claims and
                     Equity Interests and other parties in interest, along with their respective
                     Related Persons, Enjoined Parties are and shall be permanently
                     enjoined, on and after the Effective Date, from taking any actions to
                     interfere with the implementation or consummation of the Plan.


            57.      As revised, paragraphs 2 and 3 provide:

            Except as expressly provided in the Plan, the Confirmation Order, or a
            separate order of the Bankruptcy Court, all Entities who have held, hold, or
            may hold Claims against or Equity Interests in the Debtor (whether proof of such
            Claims or Equity Interests has been filed or not and whether or not such Entities
            vote in favor of, against or abstain from voting on the Plan or are presumed to
            have accepted or deemed to have rejected the Plan) and other parties in interest,
            along with their respective Related Persons, are Enjoined Parties are and shall
            be permanently enjoined, on and after the Effective Date, with respect to
            such any Claims and Equity Interests, from directly or indirectly (i)
            commencing, conducting, or continuing in any manner, directly or indirectly
            any suit, action, or other proceeding of any kind (including any proceeding in
            a judicial, arbitral, administrative or other forum) against or affecting the
            Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant
            Trust or the property of any of the Debtor, the Independent Directors, the
            Reorganized Debtor, or the Claimant Trust, (ii) enforcing, levying, attaching
            (including any prejudgment attachment), collecting, or otherwise recovering,
            enforcing, or attempting to recover or enforce, by any manner or means,
            whether directly or indirectly, any judgment, award, decree, or order against
            the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant
            Trust or the property of any of the Debtor, the Independent Directors, the
            Reorganized Debtor, or the Claimant Trust, (iii) creating, perfecting, or
            otherwise enforcing in any manner, directly or indirectly, any security
            interest, lien or encumbrance of any kind against the Debtor, the Independent
            Directors, the Reorganized Debtor, or the Claimant Trust or the property of any
            of the Debtor, the Independent Directors, the Reorganized Debtor, or the
            Claimant Trust, (iv) asserting any right of setoff, directly or indirectly, against
            any obligation due from to the Debtor Independent Directors, the Reorganized
            Debtor, or the Claimant Trust or against property or interests in property of
            any of the Debtor, Independent Directors, the Reorganized Debtor, or the
            Claimant Trust the Debtor, except to the limited extent permitted under
            Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding
            in any manner, in any place whatsoever, that does not conform to or comply
            with the provisions of the Plan.

            The injunctions set forth herein shall extend to, and apply to any act of the
            type set forth in any of clauses (i)-(v) of the immediately preceding

                                                     30
   DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05827
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 38 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 37 of 106




           paragraph against any successors of the Debtor, including, but not limited to,
           the Reorganized Debtor, the Litigation Sub-Trust, and the Claimant Trust
           and their respective property and interests in property.

  Plan, Art. IX.F.


           58.      As amended, paragraph 4 of Section IX.F contains a gatekeeper provision (the

  “Gatekeeper Provision”) which provides:

           Subject in all respects to ARTICLE XII.D, no Entity Enjoined Party may
           commence or pursue a claim or cause of action of any kind against any
           Protected Party that arose or arises from or is related to the Chapter 11
           Case, the negotiation of this the Plan, the administration of the Plan or
           property to be distributed under the Plan, the wind down of the business of
           the Debtor or Reorganized Debtor, the administration of the Claimant Trust
           or the Litigation Sub-Trust, or the transactions in furtherance of the
           foregoing without the Bankruptcy Court (i) first determining, after notice
           and a hearing, that such claim or cause of action represents a colorable claim
           of any kind, including, but not limited to, negligence, bad faith, criminal
           misconduct, willful misconduct, fraud, or gross negligence against a
           Protected Party and (ii) specifically authorizing such Entity Enjoined Party
           to bring such claim or cause of action against any such Protected Party;
           provided, however, the foregoing will not apply to a claim or cause of action
           against Strand or against any Employee other than with respect to actions
           taken, respectively, by Strand or by such Entities Employee from the date of
           appointment of the Independent Directors through the Effective Date. As set
           forth in ARTICLE XI, the The Bankruptcy Court will have sole and
           exclusive jurisdiction to determine whether a claim or cause of action is
           colorable and, only to the extent legally permissible and as provided for in
           ARTICLE XI, shall have jurisdiction to adjudicate any such claim for which
           approval of the Bankruptcy Court to commence or pursue has been granted
           the underlying colorable claim or cause of action.

  Plan, Art. IX.F.

           59.      To the extent an Enjoined Party believes it has any claims against a Protected

  Party, such Enjoined Party must first seek permission of the Bankruptcy Court to file such action

  and demonstrate that the claims it seeks to assert are colorable claims. Subject to certain carve

  outs, Protected Parties are defined collectively as:



                                                   31
  DOCS_SF:104855.7 36027/002

                                                                                      Appx. 05828
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 39 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 38 of 106




           (i) the Debtor and its successors and assigns, direct and indirect majority-owned
           subsidiaries, and the Managed Funds, (ii) the Employees, (iii) Strand, (iv) the
           Reorganized Debtor, (v) the Independent Directors, (vi) the Committee, (vii) the
           members of the Committee (in their official capacities), (viii) the Claimant Trust,
           (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee,
           (xii) the members of the Claimant Trust Oversight Committee (in their official
           capacities), (xiii) New GP LLC, (xiv) the Professionals retained by the Debtor and
           the Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi) the Related
           Persons of each of the parties listed in (iv) through (xv); . . . .


  Plan, Art. I.B. Def. 105.        If the Bankruptcy Court determines a claim is colorable, the

  Bankruptcy Court will make a separate determination as to whether it has jurisdiction to

  adjudicate such claim on its merits in accordance with the terms of the Plan and applicable law.

           B.       Objections

           60.      A number of parties, including Dondero and many of his affiliated, controlled or

  influenced entities, object to the Injunction Provisions (as identified in the chart of objections

  attached as Exhibit B). The Objectors all raise similar arguments and allege:

                   The Injunction is ambiguous and overly-broad because the meaning of the phrase
                    “implementation and consummation of the plan” is unclear.

                   The Injunction operates post-effective date and enjoins post-confirmation claims
                    against non-debtor third parties for post confirmation conduct.

                   The Injunction is a disguised non-debtor third party release.

                   The Injunction Provisions prevent holders of Claims and Equity Interests from
                    enforcing rights created by the Plan after the Effective Date.

                   The Gatekeeper Provision effectuates an impermissible extension of the
                    jurisdiction of the Bankruptcy Court.


           61.      As summarized above and discussed more fully below, the Injunction Provisions,

  as amended, have addressed certain of these arguments. The remaining objections, however,




                                                     32
  DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05829
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 40 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 39 of 106




  lack merit and are based on either a misreading of the actual Injunction Provisions or a

  misstatement of applicable law. Each objection will be addressed below.

           C.       An Injunction against Interfering with the Implementation                              and
                    Consummation of the Plan Is Both Common and Appropriate.

           62.      Certain objectors argue that the first paragraph of the Plan Injunction, which

  enjoins all holders of Claims or Equity Interests and other parties in interest, along with their

  Related Persons, from taking any action to interfere with the “implementation or consummation

  of the Plan,” is overly-broad and ambiguous because the meaning of the phrase “implementation

  and consummation of the plan” is somehow unclear. These objections are specious.

           63.      An injunction in aid of the effectuation of a confirmed plan is typically included

  in a plan and confirmation order to prevent actions to impede or frustrate the plan proponent’s

  necessary and appropriate actions after confirmation to effectuate the plan and carry out the

  court’s confirmation order. The Injunction is supported by the express provisions of sections

  1123(a)(5), 1123(b)(6), 1141(a), 1141(c), and 1142. The Injunction effectuates the purposes of

  plan confirmation and chapter 11 and preserves and protects the integrity of the chapter 11

  process and the court’s orders.

           64.      The terms “implementation” and “consummation” are neither vague nor overly-

  broad; they are both terms found in the text of chapter 11 of the Bankruptcy Code and are well

  understood – and injunctions against interfering with them are common features of plans

  confirmed throughout the country, including in this District.35 Section 1123(a)(5) expressly

  35
    See, e.g., In re Tuesday Morning Corp. (Case No. 20-31476, Bankr. N.D. Tex.) Debtor’s Second Amended Plan of
  Reorganization [D.I. 1913-1] attached to Order Confirming the Revised Second Amended Joint Plan of
  Reorganization, at pp. 90-91/137; In re CHC Group, Ltd. (Case No. 16-31854, Bankr. N.D. Tex.) Debtors’ Fourth
  Amended Joint Amended Chapter 11 Plan of Reorganization Pursuant to Chapter 11 of the United States

                                                       33
  DOCS_SF:104855.7 36027/002

                                                                                                  Appx. 05830
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 41 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 40 of 106




  mandates that “a plan shall . . . provide adequate means for the plan’s implementation”

  (emphasis added) and contains a non-exclusive list of what means that could include.                     In

  compliance with section 1123(a)(5), this Plan expressly sets out the means for its

  “implementation.” See Plan, Article IV: Implementation of Plan. See also 11 U.S.C. § 1142.

  The Injunction would enjoin any interference with these implementation steps.

           65.      The word “consummation” is also found in the Bankruptcy Code and has been

  discussed by numerous courts.               For example, section 1101(2) defines “substantial

  consummation” of a plan to be (A) the transfer of the assets to be transferred under the plan; (B)

  the assumption by the debtor or the successor to the debtor of the management of all of the

  property dealt with by the plan; and (C) commencement of distribution under the plan. Of

  course, the term “consummation,” without the qualifier “substantial,” is more expansive and

  would extend, for example, to the completion of distributions under the Plan and the disposition

  of all of the property dealt with by the Plan. See, e.g., United States Brass Corp. v. Travelers

  Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d 296, 305 (5th Cir. 2002)

  (distinguishing “substantial consummation” of a plan from final consummation of a plan, which

  occurs after the effective date when the plan distributions are concluded.)

           66.      This portion of the Injunction merely prevents holders of Claims or Equity

  Interests and other Enjoined Parties from interfering with the actions the Debtor, and its

  successors, the Reorganized Debtor, the Claimant Trust and the Litigation Sub-Trust must take



  Bankruptcy Code [D.I. 1671-1, attached to Findings of Fact and Conclusions of Law, and Order Confirming the
  Debtors’ Fourth Amended Joint Amended Chapter 11 Plan of Reorganization Pursuant to Chapter 11 of the United
  States Bankruptcy Code, Sec. 10.5.

                                                      34
  DOCS_SF:104855.7 36027/002

                                                                                                Appx. 05831
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 42 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 41 of 106




  to effectuate the terms of the Plan after the Plan is confirmed by the Court. There is nothing

  nefarious or unusual about this provision and it should be approved.

           D.       The Injunction Is Not a Disguised Non-Debtor Third-Party Release.

           67.      The Injunction does not contain a non-debtor third-party release. As set forth in

  the Plan, as amended, the Debtor has provided clarification to address the concerns of the

  Objectors who interpreted the prior provision to effectuate a non-debtor third-party release. The

  amended second and third paragraphs of the Injunction prevent the Enjoined Parties from taking

  the enumerated actions on or after the Effective Date against the Debtor or its successors, the

  Reorganized Debtor, the Claimant Trust and the Litigation Sub-Trust, or against the property of

  the Debtor, or its successors, the Reorganized Debtor, the Claimant Trust and the Litigation Sub-

  Trust, except as set forth in the Plan or in the Confirmation Order. The Debtor has eliminated

  the Independent Directors from these provisions of the Injunction. As revised, nothing in this

  section of the Injunction does anything more than prevent the Enjoined Parties from taking

  actions that do not comply with or conform to the provisions of the Plan, and limit holders of

  Claims and Equity Interests with respect to such Claims and Equity Interests to the recoveries

  provided under the Plan, all as contemplated by sections 1123(b)(6) and 1141 in respect of

  claims or interests arising either prepetition or post-petition. The ultimate goal of a chapter 11

  case is for a debtor to confirm a plan which, after confirmation, effectively channels all claims

  and interests of creditors and interest holders to the treatment provided for the pre- and post-

  petition claims and interests under the plan, and limits the liability of the debtor (including the




                                                   35
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05832
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 43 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 42 of 106




  “reorganized debtor”) and any successor that receives property of the debtor dealt with by the

  plan (such as a plan trust) to the liability imposed by that treatment.

           68.      Sections 1123 and 1129 of the Bankruptcy Code require a plan to describe how it

  will treat the claims of creditors and the interests of equity holders, both those that existed

  prepetition and those that arise during the course of a case. The purpose of the Injunction is to

  protect the Debtor and its successors under the Plan – the Reorganized Debtor, the Claimant

  Trust and the Litigation Sub-Trust –against litigation to pursue the very same prepetition and

  post-petition claims and interests that are being treated under the Plan. As described below,

  providing the protection of the Injunction to all of such entities is both legal and appropriate.

           69.      As to the Debtor, the Injunction is appropriate, because it implements the

  injunctive relief the Bankruptcy Code affords the Debtor, whether or not it gets a discharge, as a

  result of plan confirmation. If the Debtor is entitled to the discharge as contemplated by the

  Plan, then it is accorded the injunction provided by sections 1141(d) and 524(a). But even if the

  Debtor does not receive a discharge then, pursuant to section 362(c)(2)(A), the automatic stay

  will remain in effect until the case is closed, and the Injunction is in aid of that stay. Moreover,

  pursuant to section 1141(c) of the Bankruptcy Code, because all of the Debtor’s property is

  “dealt with by the plan,” all of that property will be “free and clear of all claims and interests . . .

  .,” both as to property retained by the Debtor, and property transferred to its successors.

  Accordingly, the Injunction is an appropriate means of enforcing section 1141(c).

           70.      Nothing in the Injunction effectuates a third-party release in contravention of

  section 524(e) of the Bankruptcy Code. As to the “Reorganized Debtor,” this term simply means


                                                    36
  DOCS_SF:104855.7 36027/002

                                                                                             Appx. 05833
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 44 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 43 of 106




  the Debtor on and after the Effective Date. See Plan, Art. I.B., Definition 112. The Reorganized

  Debtor, therefore, should be entitled to the same injunctive relief as the Debtor. To hold

  otherwise would be illogical.

           71.      The Claimant Trust and Litigation Sub-Trust are successors to the Debtor – both

  in structure and in assets. Neither the Claimant Trust nor the Litigation Sub-Trust come into

  existence until the Effective Date, and thus, the only liability they could have to the holders of

  Claims and Equity Interests would be the liability to treat such Claims and Equity Interests as set

  forth in the Plan. All of the property of the Claimant Trust and Litigation Sub-Trust is property

  of the Debtor and the Estate that these Trusts will receive from the Debtor and the Estate

  pursuant to the Plan on the Effective Date and is “dealt with” by the Plan. Accordingly, under

  section 1141(c), that property will be received and held by the Claimant Trust and the Litigation

  Sub-Trust “free and clear of all claims and interests of creditors and equity security holders.”

  Paragraph 2 of the Injunction is in aid of this provision and, in the words of section 105, is

  “necessary or appropriate to carry out the provisions of” the Bankruptcy Code, i.e., section

  1141(c).

           E.       The Injunction Does Not Prevent the Holders of Claims or Equity Interests
                    from Enforcing Rights Arising under the Plan or Confirmation Order.

           72.      The Injunction does not prevent holders of Claims or Equity Interests from

  enforcing, after the Effective Date, rights arising under the Plan or the Confirmation Order. The

  scope of the Injunction is specifically subject to the Plan, the Confirmation Order and any other

  order of the Court. Thus, the right of the holder of a Claim or Equity Interest to receive its plan

  distributions, as set out in the Plan, is not impacted – such persons are merely enjoined from

                                                   37
  DOCS_SF:104855.7 36027/002

                                                                                        Appx. 05834
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 45 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 44 of 106




  taking the enumerated actions to enforce their Claims or Equity Interests outside of the Plan

  process and treatment. If, for example, the Claimant Trust made distributions to certain creditors

  but not others, those who did not receive their distribution, would be free to enforce the

  provisions of the Plan contract. This is clear from the language of the Injunction, which begins

  “[e]xcept as expressly provided in the Plan, the Confirmation Order, or a separate order of the

  Bankruptcy Court. . . .” Plan, Art. IX.F.

           73.      The Injunction is not a third-party release, does not prevent enforcement of the

  provisions of the Plan itself, and is neither vague nor overly-broad. The Court should overrule

  the objections and approve the Injunction in aid of the consummation and administration of the

  Plan as appropriate and consistent with sections 362, 1123 and 1141 of the Bankruptcy Code.

  VII.     THE GATEKEEPER PROVISION IS NECESSARY AND APPROPRIATE, AND
           SUPPORTED BY APPLICABLE LAW.

           A.       The Gatekeeper Provision

           74.      Paragraph 4 of Section IX.F contains neither a release nor an injunction. Rather,

  Paragraph 4 contains a provision that requires any Enjoined Party that believes it has any claims

  against a Protected Party “that arose or arises from or is related to the Chapter 11 Case, the

  negotiation of the Plan, the administration of the Plan or property to be distributed under

  the Plan, the wind down of the business of the Debtor or Reorganized Debtor, the

  administration of the Claimant Trust or the Litigation Sub-Trust, or the transactions in

  furtherance of the foregoing” to first seek leave from the Bankruptcy Court to pursue such

  alleged claims and present evidence as to why it believes it has a colorable claim against the




                                                   38
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05835
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 46 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 45 of 106




  Protected Person. As discussed below, provisions such as this one, which have been referred to

  as “gatekeeper” or “channeling” provisions, are neither uncommon nor impermissible.

           75.      It should come as no surprise that Dondero and his cohorts are the only ones who

  object to the Gatekeeper Provision. The last thing they want is for a court that has had the

  misfortune of familiarizing itself with their antics to pass on the bona fides of any new tactics

  and lawsuits they may conjure up to stymie this case. However, as set forth below, their

  challenges to this Court’s power and jurisdiction to pre-screen if their new lawsuits are colorable

  represent wishful thinking.

           B.       The Gatekeeper Provision Is Permissible under Sections 105, 1123(b)(6), and
                    1141(a), (b) and (c) of the Bankruptcy Code.

           76.      The Gatekeeper Provision is a legitimate exercise of this Court’s powers under

  sections 105,36 1123(b)(6),37 and 1141(a), (b) and (c).38 The Bankruptcy Court serves as the

  literal guardian at the gate – determining whether a litigant has a colorable claim and may pass

  36
     Section 105 is entitled “Power of court” and provides: (a) The court may issue any order, process, or judgment
  that is necessary or appropriate to carry out the provisions of this title. No provision of this title providing for the
  raising of an issue by a party in interest shall be construed to preclude the court from, sua sponte, taking any action
  or making any determination necessary or appropriate to enforce or implement court orders or rules, or to prevent an
  abuse of process.
  37
     Section 1123(b)(6) provides: (b) Subject to subsection (a) of this section, a plan may— (6) include any other
  appropriate provision not inconsistent with the applicable provisions of this title.
  38
     Section 1141 is entitled “Effect of confirmation” and provides, in relevant part:
            (a) Except as provided in subsections (d)(2) and (d)(3) of this section, the provisions of a
            confirmed plan bind the debtor, any entity issuing securities under the plan, any entity acquiring
            property under the plan, and any creditor, equity security holder, or general partner in the debtor,
            whether or not the claim or interest of such creditor, equity security holder, or general partner is
            impaired under the plan and whether or not such creditor, equity security holder, or general partner
            has accepted the plan.
            (b) Except as otherwise provided in the plan or the order confirming the plan, the confirmation of
            a plan vests all of the property of the estate in the debtor.
            (c) Except as provided in subsections (d)(2) and (d)(3) of this section and except as otherwise
            provided in the plan or in the order confirming the plan, after confirmation of a plan, the property
            dealt with by the plan is free and clear of all claims and interests of creditors, equity security
            holders, and of general partners in the debtor.

                                                            39
  DOCS_SF:104855.7 36027/002

                                                                                                           Appx. 05836
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 47 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 46 of 106




  through the gate to the applicable clerk of court and file a lawsuit. The Debtor recognizes that a

  Gatekeeper Provision is not found in every chapter 11 plan. However, this case is not a typical

  case. Indeed, recognizing the need for, and importance of, this role under the facts of this case,

  the Court previously entered the Settlement Order (agreed to by Dondero) which itself contains a

  gatekeeper provision protecting the Independent Directors. The purpose of the Gatekeeper

  Provision in the Plan is to insulate the Protected Persons, many of whom will be either

  successors to the Debtor or the fiduciaries charged with continuing the administration of the

  Debtor’s property and causes of action post-Effective Date (which essentially involves the wind-

  down of the business, the monetization of the Debtor’s assets and the distribution of the proceeds

  of same to pay the Claims of legitimate creditors), from non-stop, vexatious litigation in multiple

  jurisdictions over every conceivable action they take to implement and consummate the Plan.

           77.      Based upon the history and record of this case – including increased activity

  during the past several weeks – this Court is well aware of the reality of that threat and risk in

  this case.     During the course of this case, many of the significant actions taken by the

  Independent Directors have been challenged, litigated and appealed. Moreover, Dondero has

  interfered with the Debtor’s business operations, resulting in the Court’s entry of a Temporary

  Restraining Order and Preliminary Injunction against him.39 A hearing on the Debtor’s Motion

  to Hold Dondero in Contempt is scheduled for February 5, 2021. The Independent Directors,

  CEO/CRO, Employees, Committee and its members, and the Professionals of the Debtor and the


  39
    Highland Capital Management, L.P. v. James D. Dondero (In re Highland Capital Management, L.P), Adv. No.
  20-03190 (Bankr. N.D. Tex), December 10, 2020 Order Granting Debtor’s Motion for Temporary Restraining
  Order against James D. Dondero [D.I. 10] and January 11, 2021 Order Granting Debtor’s Motion for Preliminary
  Injunction against James D. Dondero [D.I. 59].

                                                      40
  DOCS_SF:104855.7 36027/002

                                                                                                Appx. 05837
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 48 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 47 of 106




  Committee have been harassed and threatened by Dondero and his Related Entities. There is no

  reason to believe these litigious tactics, threats and intimidation will cease post-Confirmation and

  post-Effective Date; and their unchecked continuance will seriously impair the ability of the

  Claimant Trust and the Litigation Sub-Trust to implement and effectuate the Plan and carry out

  the orders of this Court. The Gatekeeper Provision is essential to the confirmation of this Plan

  and the efficient effectuation and consummation of the Plan post-Effective Date.

           78.      The need for the Gatekeeper Provision is illustrated by the fact that the

  Independent Directors would not have been able to obtain Directors’ & Officers’ insurance

  coverage, upon their appointment, in the absence of the Settlement Order.            Insurers were

  unwilling to underwrite coverage without a broad exclusion restricting any type of coverage for

  the Independent Directors if the Settlement Order did not contain the exculpation and gatekeeper

  provision found in Paragraph 10 of the Settlement Order. Similarly, the Claimant Trustee, the

  Litigation Trustee and the Claimant Trust Oversight Board will not be able to obtain coverage

  for the period of time after the Effective Date without a similar gatekeeper provision.

  Accordingly, the failure to approve the Gatekeeper Provision as part of the Plan will completely

  frustrate the Debtor’s ability to carry out the Plan and Confirmation Order.

           79.      Gatekeeper provisions are not some new creative attempt to circumvent

  limitations on bankruptcy court jurisdiction or restrictions on non-consensual third-party

  releases. They are utilized by many courts to provide a single clearing court to determine

  whether a claim is colorable or appropriate under the applicable facts of the main case. For

  example, in the Madoff cases, the bankruptcy court has served as the gatekeeper for determining


                                                  41
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05838
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 49 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 48 of 106




  whether claims of certain creditors against certain Madoff feeder funds are direct claims (claims

  which may be brought by the creditor) or derivative claims (claims which either can only be

  brought by the Madoff post-confirmation liquidating trust or have already been settled by the

  trust.)40 In the General Motors cases, certain issues arose post-effective date in regard to defects

  in ignition switches. Questions arose as to whether the causes of action arising from those

  defects were such that “New GM” had liability for them, notwithstanding that it had purchased

  the assets of the debtor “Old GM” free and clear. The bankruptcy court serves as a gatekeeper

  for this litigation, determining whether a lawsuit can go forward against New GM or is more

  properly dealt with as a claim against Old GM.41

           80.      Gatekeeper or channeling provisions similar to this one, and in some instances,

  more extensive than the proposed Gatekeeper Provision in this Plan, have been approved by

  other courts in this district. In In re Pilgrim's Pride Corp., 2010 Bankr. LEXIS 72 (Bankr. N.D.

  Tex. January 14, 2010), Judge Lynn, after concluding that Pacific Lumber precluded the court

  from granting certain requested releases and exculpations, determined that nothing in Pacific

  Lumber prevented the court from retaining exclusive jurisdiction over some of the suits against

  third parties which might otherwise have been covered by the third party protections. Id. at *16-

  17. Judge Lynn then expressly held that the bankruptcy court would “channel to itself any

  claims that may be asserted against Debtors’ management (including their boards of directors

  and Chief Restructuring Officer) and the professionals based upon their conduct in pursuit of


  40
     See, e.g., Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 546 B.R. 284 (Bankr. S.D.N.Y. 2016)
  (discussion of court’s gatekeeper function).
  41
     See, e.g., In re Motors Liquidation Co., 541 B.R. 104 (Bankr. S.D.N.Y. 2015) (discussing court’s gatekeeper
  function); In re Motors Liquidation Co., 568 B.R. 217 (Bankr. S.D.N.Y. 2017) (same).

                                                        42
  DOCS_SF:104855.7 36027/002

                                                                                                   Appx. 05839
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 50 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 49 of 106




  their responsibilities during the Chapter 11 Cases.” Id. at *18, 20-21. In furtherance of this, the

  confirmation order provided that the court “shall retain exclusive jurisdiction over any suit

  brought on any claim or causes of action related to the Chapter 11 Cases that exists as of the

  Effective Date against a Committee; any member of a Committee; any Committee's

  Professionals; Debtors; Reorganized Debtors; or any Protected Person for conduct pertaining to

  Debtors during the Chapter 11 Cases, and that any entity wishing to bring such suit shall do so in

  this court;” Id. (emphasis added). Thus, in Pilgrim’s Pride, the court approved a broad retention

  of exclusive jurisdiction to adjudicate the ultimate merits of certain types of suits against

  protected parties, rather than merely a gatekeeper provision.

           81.      Other courts in this district have agreed with Judge Lynn and ordered similarly.

  See, e.g., In re CHC Group, Ltd. (Case No. 16-31854, Bankr. N.D. Tex.) Debtors’ Fourth

  Amended Joint Chapter 11 Plan of Reorganization [D.I. 1671-1, attached to Findings of Fact

  and Conclusions of Law, and Order Confirming the Debtors’ Fourth Amended Joint Chapter 11

  Plan of Reorganization], Section 10.8(b) at p. 57 (court retained exclusive jurisdiction to hear

  claims against any “Protected Party,” including any claims “in connection with or arising out of .

  . . the administration of this Plan or the property to be distributed under this Plan, . . . or the

  transactions in furtherance of the foregoing, . . . .”) (emphasis added).

           82.      In regard to the Independent Directors, the proposed Gatekeeper Provision is a

  continuation of the provision set forth in Paragraph 10 of the Settlement Order, which, by its

  terms never expires and is expressly to remain in effect after the Effective Date under the Plan.

  Moreover, because of the Independent Directors’ rights of indemnification against the Debtor,


                                                   43
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05840
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 51 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 50 of 106




  the Gatekeeper Provision serves the important function of protecting assets that would otherwise

  be available for distribution to creditors from being depleted by indemnification claims resulting

  from the assertion of frivolous claims against the Independent Directors.

           83.      As to the remaining Protected Parties, the Gatekeeper Provision is a valid exercise

  of the Court’s authority under sections 105 and 1123(b)(6) to prevent the Protected Parties from

  being embroiled in frivolous litigation designed to derail implementation of the Plan.

  Importantly, if, in the exercise of its gatekeeper role, the Bankruptcy Court were to determine

  that a colorable claim exists, then it would allow the prosecution of such claim and the filing of

  the lawsuit in the court with applicable jurisdiction.42

           C.       The Gatekeeper Provision Is not an Impermissible Extension of the Post-
                    Confirmation Jurisdiction of the Bankruptcy Court.

           84.      Nor is the Gatekeeper Provision an impermissible extension of the post-

  confirmation jurisdiction of the bankruptcy court. As discussed above, the Debtor modified the

  Gatekeeper Provision to eliminate the provision that granted the Bankruptcy Court exclusive

  jurisdiction to hear any claim that the Court allows to pass through the gate. The Gatekeeper

  Provision requires a putative plaintiff to obtain Bankruptcy Court approval prior to bringing an

  action and is in aid of the Court’s enforcement of the Confirmation Order and the Plan. It is

  supported by sections 1141(a), (b) and (c), and thus, by section 105. As amended, nothing in the

  Gatekeeper Provision is determinative of the jurisdiction of the Court over any particular claim

  or cause of action. The Gatekeeper Provision only requires the court to determine if a claim is


  42
     Texas & P. R. Co. v. Gulf, C. & S. F. R. Co., 270 U.S. 266, 274 (1926) (Court always has jurisdiction to determine
  its own jurisdiction).

                                                           44
  DOCS_SF:104855.7 36027/002

                                                                                                        Appx. 05841
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 52 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 51 of 106




  colorable. This is a determination commonly made by bankruptcy courts in the analogous

  context of determining whether a creditors’ committee should be granted standing to file

  litigation on behalf of a recalcitrant debtor. See, e.g., Louisiana World Exposition v. Federal Ins.

  Co., 858 F.2d 233 (5th Cir. 1988) (court must determine that claim is colorable before

  authorizing a committee to sue in the stead of the debtor). Thus, the Bankruptcy Court has the

  jurisdiction to determine if a claim is colorable.

           85.      Section 1142(b) provides that post-confirmation, the bankruptcy court may direct

  any parties to “perform any act” necessary for the consummation of the plan). See United States

  Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d 296, 305

  (5th Cir. 2002) (holding that bankruptcy court had jurisdiction to determine whether arbitration

  could be used to liquidate claims post-effective date; while the plan had been substantially

  consummated, it had not been fully consummated, the dispute related directly to the plan, the

  outcome would affect the parties’ post confirmation rights and responsibilities and the

  proceeding would impact compliance with, or completion of the plan; specifically referencing

  section 1142(b)).

           86.      Several objectors attempt to rely on Bank of La. v. Craig's Stores of Texas, Inc.

  (In re Craig's Stores of Tex., Inc.), 266 F.3d 388, 390 (5th Cir.         2001) to argue that the

  bankruptcy court cannot exercise a gatekeeper role and adjudicate matters related to the

  administration of the case and the plan. In fact the opposite is true. In Craig’s Stores, the Fifth

  Circuit expressly recognized that post-confirmation bankruptcy jurisdiction continues to exist

  for “matters pertaining to the implementation or execution of the plan.” Id. at 390 (citing In re


                                                       45
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05842
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 53 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 52 of 106




  Fairfield Communities, Inc., 142 F.3d 1093, 1095 (8th Cir. 1998); In re Johns-Manville Corp., 7

  F.3d 32, 34 (2d Cir. 1993) (emphasis added).

           87.      Craig's Stores did not involve a gatekeeper provision necessary to enable the

  debtor to implement its plan.43 In contrast to Craig’s Stores, the Plan provision that Dondero and

  other Objectors are challenging pertains to the Court’s jurisdiction over matters specifically in

  aid of the implementation and effectuation of the Plan – acting as gatekeeper – and does not

  implicate an improper extension of bankruptcy court jurisdiction. As previously explained, the

  Gatekeeper Provision is necessary to obtain insurance coverage for the Claimant Trustee, the

  Litigation Trustee, and the members of the Claimant T rust Oversight Board – all of whom will

  play critical roles in the implementation of the Plan. Moreover, unchecked rampant litigation

  against the Protected Persons, many of whom have indemnification rights against the Debtor,

  Reorganized Debtor or Claimant Trust would predictably engulf the Reorganized Debtor and

  Claimant Trust negatively impacting their ability to effectuate and implement the Plan and

  wasting valuable resources. See, In re Farmland Industries, Inc., 567 F.3d 1010, 1020 (8th Cir.

  2010) (bankruptcy court had “related to” jurisdiction over a claim by a disgruntled bidder against

  the post-effective date liquidating trustee because the estate was actually paying legal fees of the

  non-debtor defendants under the estate’s indemnification obligations.); see also Buffets, Inc. v.




  43
    In Craig’s Stores, the issue was whether the court could hear a post-confirmation action brought by the debtor for
  damages against a bank that was administering the debtor’s post-confirmation private label credit card program
  under an agreement that had been assumed by the debtor in its chapter 11 plan. On appeal, the Fifth Circuit held
  that the bankruptcy court did not have jurisdiction to hear the dispute, reasoning that (1) the debtor’s claim
  principally dealt with post-confirmation relations between the parties, (2) no facts or law derived from the
  reorganization or the plan were necessary to the claim, and (3) the claim did not bear on the interpretation or
  execution of the debtor’s plan. Id. at 391.

                                                          46
  DOCS_SF:104855.7 36027/002

                                                                                                       Appx. 05843
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 54 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 53 of 106




  Leischow, 732 F.3d 889 (8th Cir. 2013) (related-to jurisdiction existed where bankruptcy estate

  was obligated to indemnify non-debtor defendants for attorney's fees and other amounts).

           88.      In addition, Craig’s Stores did not involve a liquidating chapter 11 plan, and this

  case does involve such a plan. There is persuasive case law, including this Court’s decision in

  TMXS Real Estate (discussed below) and circuit-level authority, holding that the scope of the

  bankruptcy court’s post-confirmation jurisdiction in the case of a liquidating chapter 11 plan is

  broader than that in the case of a chapter 11 plan that is not a liquidating plan.

           89.      In Boston Regional Med. Ctr., Inc. v. Reynolds (In re Boston Regional Med. Ctr.,

  Inc.), 410 F.3d 100 (1st Cir. 2005), the debtor, a charitable hospital, brought an adversary

  proceeding against a testator trust, seeking to compel payment from the trust of an amount

  allegedly due to the hospital as a residual beneficiary under the trust. The testator had died

  prepetition, but before the estate’s assets were distributed, and the litigation was filed after

  confirmation of the debtor’s liquidating plan of reorganization because the hospital had been

  unaware it was a beneficiary under the trust. The trustee had argued that the bankruptcy court

  had no residual jurisdiction over the debtor’s lawsuit against the trustee because the plan had

  been confirmed, but the bankruptcy court found it had “related to” jurisdiction.

           90.      The First Circuit first analyzed the long line of cases (including Craig’s Stores)

  which hold that after a debtor emerges from bankruptcy, it enters the marketplace and is no

  longer under the aegis of the bankruptcy court. Id. at 106-107. The court did not end its analysis

  there, however, but dug deeper into the significant distinctions between a liquidating plan and a

  true reorganization.         Under a liquidating plan, the debtor is not really re-entering the


                                                    47
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05844
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 55 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 54 of 106




  marketplace; rather its “sole purpose is to wind up its affairs, convert its assets to cash, and pay

  creditors a pro rata dividend.” Id. at 107. Thus, while a reorganized debtor may have litigation

  that clearly is outside the scope of its prior bankruptcy proceeding, that is generally not the case

  with a liquidating debtor. The court determined that 28 U.S.C. § 1334 had to be applied in

  conjunction with the applicable facts of the case, and jurisdiction was appropriate. Id. A

  “liquidating debtor exists for the singular purpose of executing an order of the bankruptcy court.

  Any litigation involving such a debtor thus relates much more directly to a proceeding under title

  11.” Id.

           91.      This Court has also recognized the jurisdictional distinction between liquidating

  plans and operational reorganizations. In TXMS Real Estate Invs., Inc. v. Senior Care Ctrs., LLC

  (In re Senior Care Ctrs., LLC), 2020 Bankr. LEXIS 3205 (Bankr. N.D. Tex. Nov. 12, 2020), this

  Court held it had jurisdiction to hear a post-confirmation dispute concerning the ability of a

  liquidating trust, which had been formed pursuant to the plan, to liquidate the stock of the

  reorganized debtor it received under the plan which involved the issue of whether such action

  would effectuate a “change in control” that would constitute a default under a lease that had been

  assumed by the reorganized debtor pursuant to the plan. This Court held that (i) the liquidating

  trust had been formed for the purpose of liquidating the assets transferred to it pursuant to the

  plan and distributing the proceeds of those assets to creditors; (ii) the litigation at issue was an

  attempt to limit the ability of the liquidating trust to effectuate the very purpose for which it had

  been formed and had to be resolved prior to full consummation of the plan; (iii) resolution of the

  dispute would require the review of the plan, the confirmation order and possibly other orders of


                                                   48
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05845
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 56 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 55 of 106




  the court; (iv) the litigation would impact compliance with, or completion of the plan; and (v) the

  litigation directly related to the plan’s implementation or execution. Id. at *21-23.

           92.      Just as in the TXMS Real Estate and Boston Regional cases, the Claimant Trust,

  Litigation Sub-Trust and Reorganized Debtor exist solely for the purpose of operating the

  Debtor’s business and properties to monetize its assets and pay creditors.              Any “post-

  confirmation operations” of the Reorganized Debtor will, therefore, be directed towards that

  monetization process and, furthermore, properly subject to the Court’s purview to ensure

  consummation of the Plan and creditor distributions pursuant to section 1142 of the Bankruptcy

  Code. Any prospective, but baseless, litigation over the acts taken by these entities in

  effectuating the Plan will have a significantly negative impact on the ability of the Claimant

  Trust, Litigation Sub-Trust and Reorganized Debtor to effectuate the Plan and will deplete the

  assets otherwise available for distribution to creditors. The Gatekeeper Provision simply ensures

  that any such prospective litigation is colorable before it can be filed.

           93.      The Fifth Circuit’s decision in EOP-Colonnade of Dallas Ltd. P’ship v. Faulkner

  (In re Stonebridge Techs., Inc.), 430 F.3d 260, 266-67 (5th Cir. 2005), is instructive.         In

  Stonebridge, the liquidating trustee under a confirmed chapter 11 plan sued a landlord in

  connection with the landlord’s draw on a letter of credit that had been provided as security in

  connection with a real property lease the debtor had rejected during its bankruptcy case, where

  the trustee was assigned the issuing bank’s claim against the landlord for alleged

  misrepresentation. Although the Fifth Circuit had concerns over jurisdiction of the bank’s

  assigned claim to the trustee, the court went on to opine that “[u]pon closer review, however,


                                                    49
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05846
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 57 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 56 of 106




  additional effects on the estate are evident: a claim by the Bank against [the landlord] affects the

  need for the Bank to seek reimbursement from Stonebridge’s bankruptcy estate. [The landlord’s]

  draw on the Letter of Credit triggered [the debtor’s] contractual responsibility to reimburse the

  Bank for the draw on the Letter of Credit. . . . If the Bank is successful against [the landlord] on

  its negligent misrepresentation claims, the need for reimbursement from [the bankruptcy] estate

  is alleviated.” Id. at 266-267. Accordingly, the court held that the negligent misrepresentation

  claims of the bank against the landlord fell within bankruptcy jurisdiction. The court noted other

  cases that involved litigation between third parties that have been found to have an effect on the

  administration of the bankruptcy estate, including suits by creditors against guarantors and a suit

  by creditors of a debtor against defendants that allegedly perpetrated a fraud. Id. at 267 (citing 3

  Collier on Bankruptcy ¶ 3.01 (15th ed. rev. 2005)).

           94.      Based on the reasoning of Stonebridge, other courts, including this Court, have

  held that contingent indemnification rights trigger “related to” subject-matter jurisdiction of state

  law disputes between two non-debtors in the pre-confirmation context. See, e.g., Principal Life

  Ins. Co. v. JP Morgan Chase Bank, N.A. (In re Brook Mays Music Co.), 363 B.R. 801 (Bankr.

  N.D. Tex. 2007) (contingent right of indemnity in pre-confirmation litigation between two non-

  debtors triggers bankruptcy court’s pre-confirmation “related to” jurisdiction (citing

  Stonebridge)). In In re Farmland Industries, Inc., the Eighth Circuit has similarly held that it

  had post-confirmation subject-matter jurisdiction over state law claims between non-debtors

  where the liquidating trustee was paying the legal fees incurred to defend individuals (former

  officers and directors) in the dispute.


                                                   50
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05847
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 58 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 57 of 106




             95.    In sum, in light of the proposed amendments to the Plan and under the

  circumstances here, Dondero’s objection to this Court’s jurisdiction to serve as a gatekeeper is

  not well-taken and should be overruled. The retention of the de minimis jurisdiction to perform

  the gatekeeper function is clearly supported by Fifth Circuit law.

             D.     The Gatekeeper Provision Is Consistent with the Barton Doctrine.

             96.    Support for the Gatekeeper Provision can be found in the Barton Doctrine, which

  by analogy, should be applied to many of the Protected Parties identified in the Gatekeeper

  Provision. The Barton Doctrine is based on the U.S. Supreme Court case, Barton v. Barbour,

  104 U.S. 126, 26 L. Ed. 672 (1881) dealing with receivers. As this Court has recognized, the

  Barton Doctrine:

             provides that, as a general rule, before a suit may be brought against a trustee,
             leave of the appointing court (i.e., the bankruptcy court) must be obtained.
             The Barton doctrine is not an immunity doctrine but – strange as this may sound
             – has been held to be a jurisdictional provision (in other words, a court will not
             have subject matter jurisdiction to adjudicate a suit against a trustee unless and
             until the bankruptcy court has granted leave for the lawsuit to be filed).

  Baron v. Sherman (In re Ondova Ltd. Co.), 2017 Bankr. LEXIS 325, *29 (Bankr. N.D. Tex.

  February 1, 2017); report and recommendation adopted, Baron v. Sherman (In re Ondova Co.),

  2018 U.S. Dist. LEXIS 13439 (N.D. Tex., Jan. 26, 2018), aff’d., In re Ondova Ltd., 2019 U.S.

  App. LEXIS 3493 (5th Cir. Tex., Feb. 4, 2019). The Barton Doctrine originated as a protection

  for federal receivers, but courts have applied the concept to various court-appointed and court-

  approved fiduciaries and their agents in bankruptcy cases, including trustees,44 debtors in




  44
       Id.

                                                    51
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05848
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 59 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 58 of 106




  possession,45 officers and directors of a debtor,46 the general partner of the debtor,47 employees,48

  and attorneys retained by debtors and trustees.49 The Barton Doctrine has also been applied to

  non-court appointed agents who are retained by the trustee for purposes relating to the

  administration of the estate.50 The Barton Doctrine continues to protect those who are within

  its scope post-Confirmation and post-Effective Date.51

           97.      The Fifth Circuit has expressly recognized the continuing viability of the Barton

  Doctrine, notwithstanding the jurisdictional issues raised by Stern v. Marshall.52 Since the

  Barton Doctrine is jurisdictional only as to the ability of the prospective plaintiff to file the

  lawsuit, it does not implicate the issue of expansive post-effective date bankruptcy court

  jurisdiction as to the actual underlying lawsuit. Thus, the gatekeeper court can determine if a

  45
     Helmer v. Pogue, 212 U.S. Dist. LEXIS 151262 (N.D. Ala. Oct. 22, 2012) (applying Barton Doctrine to debtor in
  possession); see also, 11 U.S.C §§ 1107(a) of the Bankruptcy Code, providing that a debtor in possession has all
  the rights and duties of a trustee and serves in the same fiduciary capacity.
  46
     See Carter v. Rodgers, 220 F.3d 1249, 1252 and n.4 (11th Cir. 2000) (debtor must obtain leave of the bankruptcy
  court before initiating an action in district court when that action is against the trustee or other bankruptcy-court-
  appointed officer for acts done in the actor’s official capacity, and finding no distinction between a “bankruptcy-
  court-appointed officer” and officers who are “approved” by the court.); Hallock v. Key Fed. Sav. Bank (In re
  Silver Oak Homes), 167 B.R. 389 (Bankr. D. Md. 1994) (president of debtor).
  47
     Gordon v. Nick, 1998 U.S. App. LEXIS 21519 (4th Cir. 1998) (managing partner of debtor).
  48
     Lawrence v. Goldberg, 573 F.3d 1265, 1270 (11th Cir. 2009) (affirming dismissal of lawsuit under the Barton
  Doctrine due to the plaintiff’s failure to seek leave in the bankruptcy court to file an action against the trustee and
  other parties assisting the trustee in carrying out his official duties).
  49
     Lowenbraun v. Canary (In re Lowenbraun), 453 F.3d 314, 321 (6th Cir. 2006) (trustees' counsel).
  50
     See, e.g., Wells Fargo Fin. Leasing, Inc. v. Jones, 2015 WL 1393257, at *3-*5 (W.D. Ky. Mar. 25, 2015) (holding
  that because defendant acted as bankruptcy trustee's agent in performing duties at the direction of and in furtherance
  of the trustee's responsibilities, claims asserted against defendant were essentially clams against trustee, and court
  lacked jurisdiction over the claims under Barton Doctrine); Ariel Preferred Retail Group, LLC v. CWCapital Asset
  Mgmt., 883 F. Supp. 2d 797, 817 (E.D. Mo. 2012) (property management company engaged by receiver).
  51
     Helmer v. Pogue at *15, citing Carter, 220 F.3d at 1252-53. See also, Beck v. Fort James Corp. (In re Crown
  Vantage, Inc.), 421 F.3d 963, 972-73 (9th Cir. 2005) (Barton Doctrine applies to trustee of a post-confirmation
  liquidating trust formed pursuant to a plan of liquidation); Muratore v. Darr, 375 F.3d 140, 147 (1st Cir. 2004)
  (doctrine serves additional purposes even after the bankruptcy case has been closed and the assets are no longer in
  the trustee's hands; suit was for malfeasance of trustee in performing his duties filed after estate was closed.)
  52
     See Villegas v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015) (holding that a litigant must still seek authority from
  the bankruptcy court that appointed the trustee before filing suit even if the bankruptcy court might not have
  jurisdiction over the suit itself.)

                                                            52
  DOCS_SF:104855.7 36027/002

                                                                                                           Appx. 05849
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 60 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 59 of 106




  proposed lawsuit asserts colorable claims, and, if it does, the gatekeeper court can then turn to

  the separate issue of whether it has jurisdiction over the merits of the lawsuit.

           98.      The Barton Doctrine requires a litigant to obtain approval of the appointing or

  approving court before commencing a suit against court-appointed or court approved officers and

  their agents – which arguably encompasses most, if not all, of the Protected Parties. The

  Gatekeeper Provision preserves the integrity of the process, and prevents valuable estate

  resources from being spent on specious litigation, without impairing the rights of legitimate

  prospective litigants with potentially valid causes of action. The Gatekeeper Provision is not

  only a prudent use of the Court’s authority under section 105 and is within the spirit of the

  protections afforded fiduciaries and their agents under the Barton Doctrine – it is also critical to

  ensuring the success of the Plan.

           99.      The Gatekeeper Provision does not effectuate a non-consensual third-party

  release. It merely requires potential litigants to first vet their alleged causes of action with a

  single court – the bankruptcy court – before they can be prosecuted. If there has ever been a case

  where a Gatekeeper Provision is appropriate it is this case. As the Court is well aware, Dondero

  appears to thrive on litigation. This Court has remarked on many occasions during this case that

  prepetition, the Debtor operated under a culture of litigation under the control of Dondero. It

  was the years of sharp practices by the Debtor and an avalanche of litigation against it that

  resulted in the Debtor commencing a chapter 11 case and the ultimate appointment of the

  Independent Directors. Faced with impending confirmation and the loss of his company forever,

  Dondero has turned the tables and the Debtor and the Protected Parties have become his target


                                                   53
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05850
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 61 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 60 of 106




  for litigation. Left unchecked, there is no doubt that Dondero will continue his litigation crusade

  after the Effective Date and attempt to thwart implementation of the Plan at every turn by

  commencing baseless lawsuits. Requiring this Court, which approved the appointment of the

  Independent Directors and has extensive familiarity with the Debtor and this case to first

  determine whether alleged claims are colorable is prudent and within this Court’s authority.

  Moreover, centralizing the gatekeeper function in one court puts that court in a unique position to

  ascertain whether there is a pattern of spurious litigation by certain entities and their related

  parties.

             E.     The Gatekeeper Provision Is a Necessary and Appropriate Shield against the
                    Actions of Dondero and his Related Entities.

             100.   The Fifth Circuit has recognized that in appropriate circumstances, a federal court

  can enjoin or issue other appropriate sanctions against vexatious litigants – persons who have a

  history of filing repetitive and spurious litigation for the purposes of harassment and

  intimidation. See All Writs Act, 28 U.S.C. §1651. In Caroll v. Abide (In re Carroll), 850 F.3d

  811 (5th Cir. 2017), the Fifth Circuit held that a bankruptcy court could properly sanction certain

  debtors as vexatious litigants when the debtors and their various family members continually

  filed litigation to prevent the bankruptcy trustee from performing his duties. When considering

  whether to enjoin future filings, the court must consider the circumstances of the case, including

  four factors:

             (1) the party's history of litigation, in particular whether he has filed vexatious,
             harassing, or duplicative lawsuits; (2) whether the party had a good faith basis for
             pursuing the litigation, or simply intended to harass; (3) the extent of the burden
             on the courts and other parties resulting from the party's filings; and (4) the
             adequacy of alternative sanctions.


                                                     54
  DOCS_SF:104855.7 36027/002

                                                                                            Appx. 05851
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 62 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 61 of 106




  Id. at 815, citing Baum v. Blue Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008) (quoting

  Cromer v. Kraft Foods N. Am., Inc., 390 F.3d 812, 818 (4th Cir. 2004)).

           101.     In some circumstances where courts feel that enjoining all future litigation by a

  vexatious litigant may be too difficult to articulate or have potential due process implications,

  courts essentially issue a gatekeeper injunction. See, e.g., Baum v. Blue Moon Ventures, LLC,

  513 F.3d at 189 (after the bankruptcy court and district court were able to piece together that the

  Baums interjected themselves in various bankruptcy proceedings by filing vexatious, abusive and

  harassing litigation, an injunction was entered preventing the Baums from filing litigation

  without the consent of the district court judge.); Safir v. United States Lines, Inc., 792 F.2d 19,

  25 (2d Cir. 1986) (Second Circuit agreed the litigant’s conduct warranted a pre-filing injunction,

  but narrowed the scope such that the litigant had to seek permission from the district court before

  filing certain types of additional actions.)

           102.     Dondero and his Related Entities are the quintessential vexatious litigants, and the

  Gatekeeper Provision is a legitimate tool for the Bankruptcy Court, properly within the

  jurisdiction of the Bankruptcy Court, and less burdensome on Dondero and his Related Entities

  than a full injunction – which the Debtor believes would be justified in seeking in this case.

  VIII. THE EXCEPTION TO DISCHARGE DOES NOT APPLY

           103.     The exception to discharge contained in 11 U.S.C. § 1141(d)(3) does not apply.

  Section 1141(d)(3) provides that:

           Confirmation of a plan does not discharge a debtor if --

                    (A) The plan provides for the liquidation of all or substantially all
                    of the property estate;


                                                      55
  DOCS_SF:104855.7 36027/002

                                                                                            Appx. 05852
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 63 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 62 of 106




                      (B) The debtor does not engage in business after consummation of
                      the plan; and

                      (C) The debtor would be denied a discharge under section 727(a)
                      of this title if the case were a case under Chapter 7 of this title.

  See 11 U.S.C. § 1141(d)(3).

             104.     Since the provisions of § 1141(d)(3) are in the conjunctive, if any one of the three

  prongs of the test is lacking, confirmation of a plan results in the discharge of debt. House Rep.

  No. 95-595, 95th Cong. 1st Sess. 418-19 (1977), reprinted in, 1978 U.S.C.C.A.N. 5963, 6374-75

  (“if all or substantially all of the distribution under the plan is of all or substantially all of the

  property of the estate or the proceeds of it, if the business, if any, of the debtor does not continue,

  and if the debtor would be denied a discharge under section 727 … then the Chapter 11

  discharge is not granted.”) (emphasis added); Financial Sec. Assur. v. T-H New Orleans Lt.

  Pshp. (In re T-H New Orleans Lt. Pshp.), 116 F.3d 790, 804 (5th Cir. 1997) (“[T]his section

  requires that all three requirements be present in order to deny the debtor a discharge.”); In re

  River Capital Corp., 155 B.R. 382, 387 (Bankr. E.D. Va. 1991) (the provisions of § 1141(d)(3)

  are in the conjunctive).

             105.     Here, only subpart C of § 1141(d)(3) clearly applies.53 With respect to the subpart

  A of § 1141(d)(3), here, the Plan clearly provides for a gradual liquidation of all or substantially

  all the estate’s assets. However, a discharge is nonetheless appropriate because an orderly wind

  down is anticipated to last for up to two years, and the Reorganized Debtor will continue to

  manage various funds during that period. Under similar circumstances, at least one court has

  suggested that the plan would fall outside the policies of § 1141(d)(3)(A). In re Enron Corp.,


  53
       As a corporate debtor, the Debtor would not receive a discharge under section 727(a) in a Chapter 7.

                                                             56
  DOCS_SF:104855.7 36027/002

                                                                                                          Appx. 05853
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 64 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 63 of 106




  2004 Bankr. LEXIS 2549, **215-17 (Bankr. S.D.N.Y. July 15, 2004) (“[T]the indeterminate

  period of retention of the assets after the Effective Date and the clear need for ongoing business

  operations to maximum value for all creditors in liquidating the assets necessitates the

  application of the section 1141 discharge to the Reorganized Debtors.”). Moreover, even if

  subpart A of § 1141(d)(3) is met, subpart B of § 1141(d)(3) – engaging in business – is

  lacking. T-H New Orleans Lt. Pshp., 116 F.3d at 804, n. 15 (holding that the reorganized entity’s

  likelihood of conducting business for two years following plan confirmation satisfies

  § 1141(d)(3)(B)); In re River Capital Corp., 155 B.R. at 387 (discharge warranted where current

  management stated its intention to continue to engage in business after consummation of the

  plan).

  IX.      THE SENIOR EMPLOYEE OBJECTION

           A.       The Senior Employee Objection Should Be Overruled

           106.     Scott Ellington, Isaac Leventon, Frank Waterhouse, and Thomas Surgent

  (collectively, the “Senior Employees”)54 filed the Senior Employee Objection. Subsequent to its

  filing, Mr. Waterhouse and Mr. Surgent executed a Senior Employee Stipulation (as discussed

  below) and will withdraw their support of the Senior Employee Objection. The only remaining

  Senior Employees objecting to the Plan are Mr. Ellington and Mr. Leventon. Mr. Ellington and

  Mr. Leventon argue, among other previously addressed objections, that the Plan is not

  confirmable because (1) the Plan violates section 1123(a)(4)’s requirement that claims in the

  same class be treated the same, and (2) the Debtor has prevented the Senior Employees from

  54
     Although Mr. Ellington and Mr. Leventon are included in the definition of Senior Employees, they were both
  terminated for cause and are no longer employees of the Debtor.

                                                       57
  DOCS_SF:104855.7 36027/002

                                                                                                 Appx. 05854
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 65 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 64 of 106




  making the Convenience Class Election.                 These objections are meritless, and the Senior

  Employee Objection should be overruled.

           B.       Background Related to Senior Employees

           107.     The Debtor’s employees, including the four Senior Employees, were eligible to

  receive compensation under two separate bonus plans: an annual bonus plan and deferred

  compensation plan. Both of these plans required the employee to remain employed as of the

  applicable vesting date to receive the bonus. On December 4, 2019, the Debtor filed a motion

  seeking authorization to pay bonuses under these plans, to which the Committee objected to the

  inclusion of the Senior Employees. At a hearing on the motion, the Debtor agreed to remove the

  Senior Employees (see 1/21/2019 Hearing Tr., Docket No. 393 at 119:21-22), and the motion

  was granted as presented at the hearing [Docket No. 380]. Accordingly, the rank and file

  employees were paid on account of their bonuses that vested in 2020, with the exception of the

  Senior Employees who have vested bonus claims.

           108.     On May 26, 2020, each of the Senior Employees filed a single proof of claim

  against the Debtor in an unliquidated amount.55 See Proof of Claim Nos. 192 (claim of Ellington

  claiming “not less than $7,604,375”); 184 (claim of Leventon claiming “not less than

  $1,342,379.68”); (collectively, the “Proofs of Claim”). The Proofs of Claim did not provide any

  calculations or breakdown of amounts to support the minimum claimed.




  55
    An amended proof of claim was filed by Mr. Ellington on July 16, 2020. Each Senior Employee asserted that a
  portion thereof, in a liquidated amount pursuant to the statutory cap of section of section 507(a)(4), is entitled to
  priority under the Bankruptcy Code. In addition, the portion of the claim related to PTO was classified in Class 6
  under the Plan.

                                                           58
  DOCS_SF:104855.7 36027/002

                                                                                                        Appx. 05855
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 66 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 65 of 106




           109.     Each Proof of Claim sets forth the following with respect to “compensation”

  owed:

           Claimant is owed compensation for his services, including, without limitation, (i)
           all salaries and wages; benefits; (ii) bonuses (including performance bonuses,
           retention bonuses, and similar awards), (iii) vacation and paid time off, and (iv)
           retirement contributions, pensions and deferred compensation. The amount of the
           Claim for such compensation includes both liquidated and unliquidated amounts.

  See Claim Nos. 192, 182, 184, 183, each at Attachment ¶3.

           110.     The official claims register maintained by KCC lists the general unsecured claim

  amount for each Senior Employee as “UNLIQUIDATED.” The claim of each Senior Employee

  not requiring separate classification under the Plan (i.e., the priority and PTO portions), was

  classified as a General Unsecured Claim in Class 8 (each, a “GUC Claim”).

           111.     On October 27, 2020, during a hearing on the Debtor’s then-existing disclosure

  statement, this Court and the Committee were highly critical of the proposed plan provisions

  concerning employee releases and strongly suggested that the plan was unlikely to be confirmed

  as drafted. As a result, the Debtor began negotiating with the Committee concerning the terms

  on which Senior Employees would be permitted to obtain a release. Ultimately, the Debtor and

  the Committee agreed that the Senior Employee would be required to execute a stipulation with

  the Debtor providing for the resolution and payment of deferred compensation at reduced rates

  and other consideration in exchange for a Plan release. Specifically, the Senior Employee

  Stipulation, if approved by this Court and signed by the Senior Employee, would allow the

  “Earned Bonus” (as defined in the Senior Employee Stipulation) portion of the Senior

  Employees’ to be treated as a separate Convenience Claim (subject to reduction as set forth in



                                                   59
  DOCS_SF:104855.7 36027/002

                                                                                        Appx. 05856
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 67 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 66 of 106




  the Senior Employee Stipulation). In exchange for this reduction, and together with the Senior

  Employee’s agreement to (a) cooperate with the Claimant Trustee and Reorganized Debtor, (b)

  refrain from taking certain actions against those parties, and (c) support and vote in favor of the

  Plan, the Senior Employee would receive a Plan release and the treatment provided with respect

  to the “Earned Bonus” in the Plan and Senior Employee Stipulation.

             112.      As part of its settlement discussions with the Senior Employees, the Debtor

  provided the Senior Employees with a chart outlining how the reduction of the “Earned Bonus”

  would work if the Senior Employees executed the Senior Employee Stipulation. This chart was

  the same chart provided to the Committee in connection with the negotiation of the Senior

  Employee Stipulation. This chart was never publicly-filed and did not contain “representations”

  or promises. It was a chart provided to the Senior Employees to illustrate how a portion of the

  Senior Employees’ total claims would be treated if they signed the Senior Employee Stipulation

  and to describe the consideration that the Senior Employee would provide in exchange for the

  release contained in the Plan. Notably, the Disclosure Statement included the same calculation

  that was set forth in the chart provided to the Senior Employees.56

             113.      In no world was the chart – provided in settlement discussions and for substantive

  purposes – a promise to pay.

  56
       See Disclosure Statement, page 71, which states:
             In addition to the obligations set forth in Article IX.D. of the Plan, as additional consideration for
             the foregoing releases, the Senior Employees will waive their rights to certain deferred
             compensation owed to them by the Debtor. As of the date hereof, the total deferred compensation
             owed to the Senior Employees was approximately $3.9 million, which will be reduced by
             approximately $2.2 million to approximately $1.7 million. That reduction is composed of a
             reduction of (i) approximately $560,000 in the aggregate in order to qualify as Convenience
             Claims, (ii) approximately $510,000 in the aggregate to reflect the Convenience Claims treatment
             of 85% (and may be lower depending on the number of Convenience Claims), and (iii) of
             approximately $1.15 million in the aggregate to reflect an additional reduction of 40%.

                                                              60
  DOCS_SF:104855.7 36027/002

                                                                                                             Appx. 05857
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 68 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 67 of 106




           114.     Despite this, the Senior Employee Objection argues that such chart “shows the

  recovery to the Senior Employees if they do not sign the Senior Employee Stipulation but make

  the Convenience Class Election, and it separately shows the reduced recovery” if they sign the

  Senior Employee Stipulation. The Senior Employees further argue that the chart evidences the

  Debtor’s intent that the Senior Employees could elect Convenience Class treatment of their

  “Earned Bonus” whether or not they executed the Senior Employee Stipulation. As set forth

  above, nothing in the chart supports that argument. The chart was simply a illustration of how

  the Senior Employee Stipulation would work if executed and the consideration that would be

  given by each Senior Employee for the release.57

           115.     Finally, the Senior Employees’ comments were solicited on all but the economic

  terms of the Senior Employee Stipulation. The Senior Employees were also encouraged to raise

  any issues they had with the Senior Employee Stipulation to the Committee and/or this Court.

  The Senior Employees’ counsel at Winston & Straw provided comments on the Senior

  Employee Stipulation, which both the Debtor and the Committee accepted.                           The Senior

  Employees themselves, however, refused to comment despite having the opportunity to do so

  and instead demanded that the Debtor retract the Senior Employee Stipulation because it did not

  reflect an agreement between the Senior Employees and the Debtor. On information and belief,




  57
    As part of the Plan negotiations, Mr. Seery engaged in multiple conversations with all or some of the Senior
  Employees. Some of these conversations were with counsel; some were not. In each case, however, the
  conversations were part of a broader settlement discussion. During these discussions, the Senior Employees asked
  questions about how the Senior Employee Stipulation would work but also made blatant threats about how they
  would react if they were not treated in the manner they deemed appropriate. Mr. Seery made no promises to the
  Senior Employees during these conversations.

                                                        61
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05858
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 69 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 68 of 106




  the Senior Employees never approached the Committee to discuss the Senior Employee

  Stipulation. The only communication with this Court has been the Senior Employee Objection.

             116.    None of the Senior Employees elected to sign the Senior Employee Stipulation.

  Subsequent to the filing of the Senior Employee Objection, Mr. Seery discussed with Mr.

  Waterhouse and Mr. Surgent the possibility of signing the Senior Employee Stipulation, and Mr.

  Waterhouse and Mr. Surgent elected to sign the Senior Employee Stipulation (with certain

  revisions). However, as Mr. Ellington and Mr. Leventon are not currently employed by the

  Debtor, they are no longer eligible to sign the Senior Employee Stipulation.

             C.      Treatment of Senior Employee Claims Under Plan

             117.    The Plan provides the following treatment to the Class 8 GUC Claims of the

  Senior Employees:

             Treatment: On or as soon as reasonably practicable after the Effective Date, each
             Holder of an Allowed Class 8 Claim, in full satisfaction, settlement, discharge and
             release of, and in exchange for, such Claim shall receive (i) its Pro Rata share of
             the Claimant Trust Interests, (ii) such other less favorable treatment as to which
             such Holder and the Claimant Trustee shall have agreed upon in writing, or (iii)
             the treatment provided to Allowed Holders of Class 7 Convenience Claims if the
             Holder of such Class 8 General Unsecured Claim is eligible and makes a valid
             Convenience Class Election.

  Plan, III.H.8.

             118.    The Plan provides that a Holder of a General Unsecured Claim may make a

  “Convenience Class Election” as follows:

             “Convenience Class Election” means the option provided to each Holder of a
             General Unsecured Claim that is a liquidated Claim as of the Confirmation Date
             on their Ballot to elect to reduce their claim to $1,000,000 and receive the
             treatment provided to Convenience Claims.58

  58
       A “Convenience Claim” is defined as:

                                                     62
  DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05859
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 70 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 69 of 106




  Plan, I.B.43 (emphasis added).

           119.     As discussed above, the Senior Employees’ claims are unliquidated and were

  disclosed as unliquidated on the official claims register maintained by KCC. As unliquidated and

  unsecured claims, the Senior Employees’ claims are, in each case, Class 8 (General Unsecured

  Claims), and, as holders of unliquidated GUC Claims, none of the Senior Employees were

  entitled to make the Convenience Class Election.

           120.     Irrespective of their claims, the Senior Employees are not entitled to a release

  under of the Plan unless they execute a Senior Employee Stipulation. See Article IX.D.

           D.       Plan Solicitation

           121.     Although each of the Senior Employee’s GUC Claim was classified in toto as

  Class 8 (General Unsecured Claims), the Senior Employees erroneously received both a Class 7

  (Convenience Class) and Class 8 (General Unsecured) Ballot. Except for Mr. Surgent, each of

  the Senior Employees voted their Class 8 (General Unsecured Claim) ballot to reject the Plan,

  and each of the Senior Employees voted their erroneously Class 7 (Convenience Class) ballot to

  reject the Plan. Mr. Surgent abstained from voting on the Plan.                    Because they have now

  executed the Senior Employee Stipulation, Mr. Waterhouse and Mr. Surgent’s votes will be cast

  to accept the Plan.




           any prepetition, liquidated, and unsecured Claim against the Debtor that as of the Confirmation
           Date is less than or equal to $1,000,000 or any General Unsecured Claim that makes the
           Convenience Class Election. For the avoidance of doubt, the Reduced Employee Claims will be
           Convenience Claims.
  Plan, I.B.41.

                                                        63
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05860
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 71 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 70 of 106




           E.       The Plan Does Not Violate Section 1123(a)(4)

           122.     Section 1123(a)(4) requires that the Plan “provide the same treatment for each

  claim or interest of a particular class, unless the holder of a particular claim or interest agrees to a

  less favorable treatment of such particular claim or interest.” 11 U.S.C. § 1123(a)(4).

           123.     The Senior Employees argue that the Plan does not treat them the same as other

  Employees in the same class because the Senior Employees are not automatically being granted a

  release under the Plan, whereas other Employees are being granted a release automatically upon

  confirmation.      However, the Senior Employees conflate treatment of their claims with the

  decision not to automatically provide them a release. The treatment of claims in either Class 7 or

  Class 8 solely consists of distributions on account of the allowed amounts of such claims, and

  there is no difference in treatment among members of either class in terms of the distribution

  scheme provided. The releases under the plan are not part of the “treatment” of Class 7 or Class

  8 claims.

           124.     Indeed, the releases granted under the Plan are part of an entirely different section

  of the Plan (Article IX). Debtors are not required to grant releases to anyone nor are they

  required to grant releases to all employees equally, especially here, where there are allegations of

  material misconduct against some, but not all, of the employees. 59 Nonetheless, the Debtor, after

  extensive negotiations with the Committee (which did not want to provide any release to the

  Senior Employees) presented the Senior Employees with a mechanism by which the Senior

  Employees could obtain a release if they agreed to the conditions of the Senior Employee

  59
    Indeed, the grant of third party releases is heavily scrutinized and could not be granted to all general unsecured
  creditors across the board as part of the Plan’s treatment of general unsecured claims. See Bank of N.Y. Trust Co. v.
  Official Unsecured Creditors’ Comm. (In re Pac. Lumber Co.), 584 F.3d 229 (5th Cir. 2009).

                                                           64
  DOCS_SF:104855.7 36027/002

                                                                                                        Appx. 05861
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 72 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 71 of 106




  Stipulation.60 But just as the Senior Employees were not required to sign the stipulation,61 the

  Debtor cannot be forced to provide a release to each Senior Employee just because it has

  provided releases to other Employees. Nor would this Court or the Committee have allowed the

  Debtor to provide releases to the Senior Employees without those Senior Employees providing

  additional consideration to the Debtor’s estate. As the Court will recall, at the October 28, 2020,

  the Court specifically told the Debtor that it would be hard-pressed to approve releases to certain

  of the Debtor’s employees if such employees did not provide consideration for the releases.62

  The Senior Employee Stipulation was crafted to address the Court’s concerns by conditioning

  the release of certain of the Debtor’s employees on the provision of other consideration.

           125.     Finally, the Senior Employees devote considerable time arguing that the proposed

  Senior Employee Stipulation suffers from numerous defects and that the terms are too harsh. But


  60
    As Mr. Ellington and Mr. Leventon are no longer employed by the Debtor, they are not eligible to sign the Senior
  Employee Stipulation. Accordingly, they are not entitled to a release regardless of the Senior Employee
  Stipulation.
  61
     While voluntary agreement is expressly excepted from section 1123(a)(4) anyway, debtors are permitted to treat
  one set of claim holders more favorably than another so long as the treatment is not on account of the claim but for
  distinct, legitimate rights or contributions from the disparately-treated group separate from the claim. Ad Hoc
  Comm. of Non-Consenting Creditors v. Peabody Energy Corp. (In re Peabody Energy Corp.), 933 F.3d 918, 925
  (8th Cir. 2019). The Ninth Circuit, for instance, upheld a plan that provided preferential treatment to one of a
  debtor’s shareholders apparently because the preferential treatment was tied to the shareholder’s service to the
  debtor as a director and officer of the debtor, not to the shareholder’s ownership interest. See In re Acequia, Inc.,
  787 F.2d 1352, 1362-63 (9th Cir. 1986) (“[The shareholder’s] position as director and officer of the Debtor is
  separate from her position as an equity security holder.”); see also Mabey v. Sw. Elec. Power Co. (In re Cajun Elec.
  Power Coop., Inc.), 150 F.3d 503, 518-19 (5th Cir. 1998) (plan proponent’s payments to certain members of power
  cooperative did not violate § 1123(a)(4) because the payments were “reimbursement for plan and litigation
  expenses,” not payments “made in satisfaction of the [members’] claims against [the debtor]”). Here, too, the
  release consideration required from the Senior Employees solely in order for the Senior Employees’ to obtain a
  release relates to their positions as senior employees rather than their position as general unsecured creditors.
  62
     See Hearing Transcript, Oct. 28, 2020, at 30:17-22:
            So, and I'll just throw in one last bit of food for thought. . . the Debtor has had a year now, close to
            a year now, to knock some of these out, you know, maybe reach some compromises with some of
            the related Highland parties and officers, to maybe participate in the plan with some sort of
            contribution, and it’s just not happening. It’s not happening. . . . So, at this point, I would be hard-
            pressed to protect any nondebtor defendants who aren't ponying up something to the whole plan
            reorganization process.

                                                          65
  DOCS_SF:104855.7 36027/002

                                                                                                        Appx. 05862
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 73 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 72 of 106




  those objections are irrelevant to confirmation. If the Senior Employees believed that the cost of

  the release was too high, they had no obligation to sign the Senior Employee Stipulation.

           F.       The Senior Employees Are Not Permitted to Make Convenience Class
                    Election

           126.     The Senior Employees next argue that the Debtor has improperly prevented the

  Senior Employees from electing Convenience Class treatment for a portion of their Claims.

  Under applicable bankruptcy law, the Plan, and the Disclosure Statement Order, the Senior

  Employees are not entitled to split their claims to create a liquidated claim for which

  Convenience Class Election would even be possible.63 Further, even if the Senior Employees

  were entitled to elect a Convenience Class Election for a portion of their Class 8 Claims for

  distribution purposes, as discussed below, their Claims are only entitled to be voted in Class 8 for

  voting and numerosity purposes.

           G.       Convenience Class Election Is Unavailable Because Senior Employee’s GUC
                    Claims Cannot Be Split Under Applicable Bankruptcy Law

           127.     The Senior Employees argue that the “Earned Bonus” portion of each GUC Claim

  is “liquidated”64 and therefore eligible for the Convenience Class Election.65 The “Earned

  63
     The Senior Employees claim the Debtor’s statements contradict the plan; however, any purported contradiction
  stems from the Senior Employees’ misstatement of the Debtor’s position. Indeed, even if the Debtor had made
  contradictory statements, it is irrelevant. The Plan says what it says and the Debtor cannot unilaterally change the
  terms of the Plan with respect to a select group of creditors. While a Class 7 Ballot was mistakenly sent to the
  Senior Employees, the Senior Employees cannot make the Convenience Class Election under the Plan because they
  each hold a single, unliquidated Class 8 Claim.
  64
     The Plan did not need to define the term “liquidated.” Generally, a debt is liquidated if the amount due and the
  date on which it was due are fixed or certain, or when they are ascertainable by reference to (1) an agreement or (2)
  to a simple mathematical formula. In re Visser, 232 B.R. 362, 364-65 (Bankr. N.D. Tex. 1999). However, even if
  the Earned Bonus portion is liquidated in that the amount is capable of being ascertained, it is not considered
  liquidated for purposes of voting where the amount owed or formula for calculation are missing from the proof of
  claim. See In re Lindell Drop Forge Co., 111 B.R. 137, 142-43 (Bankr. W.D. Mich. 1990); see also Riemer &
  Braunstein LLP v. DeGiacomo (A & E 128 North Corp.), 528 B.R. 190, 199 (1st Cir. B.A.P. 2015) (court looks to
  proof of claim forms to determine if they sufficiently demonstrate liquidated claims).
  65
     None of the Senior Employees’ Proofs of Claim contains any liquidated amount with respect to any component of

                                                          66
  DOCS_SF:104855.7 36027/002

                                                                                                        Appx. 05863
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 74 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 73 of 106




  Bonus” portion, even if liquidated, is not a standalone claim entitled to make a Convenience

  Class Election, nor can the Senior Employees split their GUC Claim after filing a single proof of

  claim. The Senior Employees do not cite any law to support their contention that claims of a

  single creditor in a given class, set forth in a single proof of claim, may be split into multiple

  claims.66 Indeed, case law holds the opposite. Courts have found that where a claimant files a

  single proof of claim, even if it covers multiple debts, he is not entitled to split his claims. In re

  Jones, 2012 Bankr. LEXIS 1076, *7 (Bankr. M.D. Ga. 2012) (noting that the creditor could have

  filed multiple proofs of claim to avoid the issue); see also In re Latham Lithographic Corp., 107

  F.2d 749 (2d Cir. 1939) (claimant cannot split claim into multiple claims for the purpose of

  creating multiple creditors who could vote in a trustee election). The Senior Employees each

  filed a single proof of claim: they cannot split their GUC Claim in order to make the

  Convenience Class Election under the Plan and applicable bankruptcy law. And the Plan is clear

  on this; no other Holder of an unliquidated or partially liquidated Class 8 claim attempted to split

  its claim or make the Convenience Class Election.


  the GUC Claim, including the “Earned Bonus.” The Senior Employees appear to make the stunning assertion that
  the Debtors’ books and records establish whether a claim is liquidated and the amount of such claim, even when the
  proof of claim lists no such amounts. There is no proof of claim on file listing a liquidated amount, no executed
  stipulation agreeing on a liquidated amount, and no order of the Court setting a liquidated amount. The Senior
  Employees’ assertion that any portion of their GUC Claims is liquidated is untenable.
  66
     The cases the Senior Employees cite only support that separate claims, each covered by a separate proof of claim,
  purchased from other creditors, are entitled to be counted as separate claims. See Figter Ltd. v. Teachers Ins.
  Annuity Ass’n (In re Figter Ltd.), 118 F.3d 635, 640-641 (9th Cir. 1997) (claimant entitled to vote multiple claims
  where it “purchased a number of separately incurred and separately approved claims (each of which carried one
  vote) from different creditors”); Concord Square Apartments v. Ottawa Properties (In re Concord Square
  Apartments), 174 B.R. 71, 74 (Bankr. S.D. Ohio 1994) (“purchaser of claims is entitled to a vote for each separate
  claim it holds”); In re Gilbert, 104 B.R. 206, 211 (Bankr. W.D. Mo. 1989) (purchased claim arose out of a separate
  transaction, evidencing a separate obligation for which a separate proof of claim was filed). Notably, in each of
  these cases a separate proof of claim had been filed for each separate claim, evidencing an entirely separate
  obligation, and owed to a different party. Here in contrast, each single Senior Employee filed a single proof of
  claim, and the “Earned Bonus” is a mere component of an overall compensation claim stemming from obligations
  under an employment contract.

                                                          67
  DOCS_SF:104855.7 36027/002

                                                                                                       Appx. 05864
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 75 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 74 of 106




           H.       Convenience Class Election Is Unavailable Because Senior Employee’s GUC
                    Claims Cannot Be Split Under Disclosure Statement Order for Voting
                    Purposes

           128.     Even if splitting claims contained in a single proof of claim were allowed under

  applicable case law (which it is not) and the Senior Employees were entitled to make the

  Convenience Claim Election with respect to a portion of their GUC Claim, this Court’s

  Disclosure Statement Order prohibits the splitting of claims within a given class for voting

  purposes:

           Claims or interests shall not be split for purposes of voting; thus, each creditor
           and equity security interest holder shall be deemed to have voted the full amount
           of its claim and interest either to accept or reject the Plan;

  Disclosure Statement Order ¶ 25.b.

           129.     Similarly, paragraph 23 provides:

           For purposes of the numerosity requirement of section 1126(c), separate claims
           held by a single creditor in a particular Class shall be aggregated as if such
           creditor held one claim against the Debtor in such Class, and the votes related to
           such claims shall be treated as a single vote to accept or reject the Plan;

  Id. ¶ 23.h.

           130.     Read together, these provisions clearly establish that there can be no claim

  splitting within a class, and no claim splitting between Class 7 and Class 8. Accordingly, even if

  claims classified in a given class set forth in a single proof of claim could be split and the Senior

  Employee were entitled to make the Convenience Class Election, the Disclosure Statement Order

  precludes the Senior Employees from splitting their claims for voting purposes.




                                                   68
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05865
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 76 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 75 of 106




           I.       Even if Convenience Claim Election Were Available, Convenience Claim
                    Election Does Not Impact Voting

           131.     Even if the Senior Employees were deemed to hold separate, liquidated claims on

  account of their “Earned Bonuses” that could be split from the remainder of their GUC Claims, a

  Convenience Class Election does not morph a Class 8 Claim into a Class 7 Claim for voting

  purposes.       Specifically, the Class 8 Ballot, approved by the Disclosure Statement Order,

  provides:

           If you check the box below and elect to have your Class 8 General Unsecured
           Claim treated as a Class 7 Convenience Claim; (i) your vote on this Ballot to
           accept or reject the Plan will still be tabulated as a vote in Class 8 with respect
           to the Plan, but your Claim (as reduced) will receive the treatment afforded to
           Class 7 Convenience Claims;

  Disclosure Statement Order, Exhibit A at 26 (emphasis added).67 Accordingly, at most, the

  Convenience Class Election only impacts the Senior Employees’ treatment for distribution

  purposes. Moreover, even if the Court finds that Mr. Leventon has a liquidated claim that was

  entitled to be classified in Class 7 and vote in that class, Mr. Ellington’s claim, which exceeds $1

  million could not vote in Class 7. Mr. Ellington would only be entitled to reduce his Class 8

  Claim and elect treatment in Class 7 but his claim would otherwise be included in Class 8 for

  voting purposes.

           132.     For each of the foregoing, independent reasons, each Senior Employee holds a

  single, unliquidated claim in Class 8. No Senior Employee is entitled to split his GUC Claim

  under applicable bankruptcy law, and such an action is further prohibited by the Disclosure

  Statement Order. Even if any GUC Claim could be split and the Convenience Class Election


  67
    The Plan itself is also clear that the Convenience Class Election only impacts treatment, and does not impact
  voting. See Plan, I.B.43; III.H.8.

                                                        69
  DOCS_SF:104855.7 36027/002

                                                                                                   Appx. 05866
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 77 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 76 of 106




  was made, the Convenience Class Election only impacts treatment but does not impact voting.

  Finally, the Senior Employees’ argument that their entitlement to make the Convenience Class

  Election stems from an erroneously mailed ballot is misplaced. As set forth above, the mailing

  of the Class 7 Ballot was an administrative error and cannot entitle the Senior Employees to

  rights that contradict the Plan and the Disclosure Statement Order.

  X.       THE HCMFA/NPA GATES OBJECTION

           133.     The Debtor manages fifteen collateralized loan obligations (“CLOs”) pursuant to

  certain agreements, which are referred to sometimes as portfolio management agreements and

  sometimes as servicer agreements (the “Management Agreements”). Each CLO is a Cayman-

  domiciled entity that owns a portfolio of loans. They are passive single purpose entities with no

  ability to self-manage. The CLOs have no employees; however, they do have Cayman-based

  boards of directors, which have limited duties under Cayman law and which do not actively

  manage the CLOs. Each CLO contracted with the Debtor as a third-party “Portfolio Manager” to

  manage the loan portfolio pursuant to the terms of the various Management Agreements. As

  discussed below, the only parties to the Management Agreements are the Debtor and the

  respective CLO.

           134.     To finance its acquisition of the loans, each CLO issued notes to third party

  investors. Those notes come in different tranches with different payment priorities. The lowest

  in priority are called “preference shares,” which receive the available residual cash flow after the

  CLO has made the required payments on the notes. Although called equity, the preference

  shares are not common equity. The CLOs themselves are purely creatures of contract, and


                                                   70
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05867
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 78 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 77 of 106




  investor rights are governed by the terms of the indentures governing the CLOs (collectively, the

  “Indentures”), the preference share paying agency agreements, and in certain cases the

  Management Agreements.68 The Indentures define the procedures for buying, managing, and

  selling the CLOs’ assets.           See generally Indenture § 12.1; Management Agreement § 2.

  Fiduciary duties under the Investment Advisers Act of 1940 (the “Advisers Act”) are owed

  solely to the CLOs and not their investors.69               Nothing in the Indentures or the Management

  Agreements gives any investor in the CLOs the right to block, interfere with, influence, control,

  or otherwise direct the asset sale process. The Management Agreements set forth the Portfolio

  Manager’s duties and obligations and the requirements for removing the Portfolio Manager if

  investors are not satisfied.

           135.     By agreement with CLOs, which are the sole counterparties to the Management

  Agreements, the Debtor will assume the Management Agreements pursuant to the Plan. The

  Debtor and the CLOs have agreed, in summary, that in full satisfaction of the Debtor’s cure

  obligations under section 365(b)(1) of the Bankruptcy Code, the CLOs will receive a total of

  $525,000, comprising $200,000 within five days of the Effective Date and $325,000 in four

  equal quarterly payments of $81,250, and that the Debtor and the CLOs will exchange mutual

  releases. The Debtor and the CLOs agreed to seek approval of this compromise by adding


  68
     The Debtor’s role is referred to as either the Servicer or Portfolio Manager. All of the Management Agreements
  and Indentures are governed by New York law, and the relevant provisions of those agreements are identical in all
  material respects across the CLOs at issue.
  69
     The Debtor’s fiduciary duties under the Advisers Act are owed to the CLO, not to its investors. Goldstein v. SEC,
  451 F.3d 873, 881-82 (D.C. Cir. 2006) (under Section 206 of the Investment Advisers Act of 1940 and other
  provisions “[t]he adviser owes fiduciary duties only to the fund, not to the fund’s investors. . . If the investors are
  owed fiduciary duty and the entity is also owed a fiduciary duty, then the adviser will inevitably face conflicts of
  interest.”). The Debtor’s duties, as Portfolio Manager, to the underlying investors in the CLO, if any, are prescribed
  by contract.

                                                           71
  DOCS_SF:104855.7 36027/002

                                                                                                          Appx. 05868
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 79 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 78 of 106




  language to the Confirmation Order. A copy of that language is attached hereto as Exhibit C and

  will be included in the Confirmation Order.

           A.       The HMCFA/NPA Objection, the CLO Holdco Objection, and NREP
                    Joinder Should Be Overruled

           136.     As the Court is well aware, Highland Capital Management Fund Advisors, L.P.

  (“HCMFA”) and NexPoint Advisors, L.P. (“NPA” and, together with HCMFA, the “Advisors”),

  are controlled by Mr. James Dondero. Mr. Dondero is also the portfolio manager of each of the

  investment funds objecting to the Debtor’s assumption of the Management Agreements (the

  “Funds”).70 The Advisors and three of the Funds have actively interfered in the Debtor’s

  management of the CLOs and sought to exercise management authority over the CLOs. This

  Court ruled on these issues in connection with the Advisors and Funds’ Motion for Order

  Imposing Temporary Restrictions on Debtor’s Ability, as Portfolio Manager, to Initiate Sales by

  Non-Debtor CLO Vehicles [Docket No. 1528] (the “CLO Motion”).

           137.     Now, the Funds and Advisors have objected to confirmation of the Plan and are

  joined only in their objection by other Dondero-controlled entities –the NexPoint RE Partners

  and CLO Holdco, Ltd. (“CLO Holdco” and, together with the Funds and the Advisors, the “CLO

  Objectors”).      Although the NPA/HCMFA Objection makes different arguments than those

  contained in the CLO Motion, the goal of the NPA/HCMFA Objection is the same. It seeks to

  use this Court to transfer control of the CLOs away from the Debtor and back to Mr. Dondero.


  70
    The Funds are Highland Fixed Income Fund, Highland Funds I and its series, Highland Funds II and its series,
  Highland Global Allocation Fund, Highland Healthcare Opportunities Fund, Highland Income Fund, Highland
  Merger Arbitrate Fund, Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially
  Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Capital, Inc.,
  NexPoint Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund.

                                                       72
  DOCS_SF:104855.7 36027/002

                                                                                                  Appx. 05869
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 80 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 79 of 106




           138.     The CLO Objectors contend that the Advisers Act prohibits assignment of the

  Management Agreements and/or that they are non-assignable personal service contracts. From

  this, the CLO Objectors argue that the Management Agreements may not be assumed by the

  Debtor under Section 365(c) because the “hypothetical test” applies in the Fifth Circuit. They

  also contend that there is inadequate assurance of future performance because of staff reductions

  and that the contracts are being modified and thus are being only partially (and so impermissibly)

  assumed. The CLO Objectors also speculate that they may be harmed by future investment

  decisions made by the Debtor because the time-frame contemplated by the Plan for disposition of

  assets may be shorter than what they believe is optimal to maximize the value of the preference

  shares. The objections should be overruled on several grounds:

                   The contract counterparties – the CLOs – consent to assumption and will release
                    the Debtor from all claims.

                   The CLO Objectors are non-contracting parties with no standing to object on
                    behalf of the CLOs and have pointed to no contractual basis for their assertion of
                    management authority over the CLOs.

                   The CLO Objectors cannot create standing by asserting they are creditors of the
                    estate. Each CLO Objector agreed to the expungement of its claims or has no
                    claims.

                   Even if the CLO Objectors were creditors, their standing to object to assumption
                    would be limited to whether it benefits the Estate, and they would still lack
                    standing to assert rights belonging to the contracting parties.

                   Even if the CLO Objectors had the right to object to assignment, that does not
                    give them the standing to object to the Debtor’s assumption of the Management
                    Agreements.

                   Even if the Management Agreements were non-assignable, the Debtor could still
                    assume the Management Agreements without consent because the actual test
                    applies in the Fifth Circuit.




                                                    73
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05870
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 81 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 80 of 106




                   Even if the hypothetical test applies, “applicable law” does not prevent
                    assignment of the Management Agreements.

                   There is no detriment to the Estate in assuming the Management Agreements, and
                    there is no mismatch in investing timelines between the Debtor and the CLOs’
                    investors.

           B.       The CLO Objectors Cannot Override the CLOs’ Consent to Assumption

           139.     The Debtor and its counterparties (the CLOs) agreed to the assumption of the

  Management Agreements. Any objections were waived. Hence the CLO Objectors’ argument is

  not that there is no consent to assume the Management Agreements; it is that the correct party

  has not consented. In other words, the CLO Objectors are arguing that the CLO Objectors (and

  therefore Mr. Dondero) have the authority and prerogative to dictate the actions of the CLOs and

  whether the CLOs should consent to assumption. This has to be the CLO Objectors’ argument

  because unless the CLO Objectors have such right, they have no standing as non-contracting

  parties to object under section 365 to the assumption of the Management Agreements.

           140.     Only parties to contracts have standing to object to assumption, even when the

  objector claims that assumption will result in a breach of that contract or violate the law. See

  Hertz Corp. v. ANC Rental Corp. (In re ANC Rental Corp.), 278 B.R. 714, 718-19 (Bankr. D.

  Del. 2002), aff’d, 280 B.R. 808 (D. Del. 2002), 57 F. App’x 912 (3d Cir. 2003). As the district

  court explained:

           The language of section 365 is clearly intended to protect the rights of those
           persons or entities who share contractual relationships with the debtors. In other
           words, in order to invoke the protections provided in section 365, an entity must
           be a party to a contract with the debtor.

                                                * * *

           Although section 365 does confer the right to refuse assignment where excused by
           applicable law, that right is nevertheless conferred only upon parties to the


                                                  74
  DOCS_SF:104855.7 36027/002

                                                                                        Appx. 05871
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 82 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 81 of 106




           contracts at issue. It creates no separate right of enforcement for other creditors
           of the estate who are not parties to the contract. Therefore, even if the appellants
           feel that the alleged violation of the law may effect them, they have not
           demonstrated that they have the legal right to enjoin such a violation.

  Hertz Corp. v. ANC Rental Corp. (In Re ANC Rental Corp.), 280 B.R. 808, 817-18 (D. Del.

  2002); see also Cargill, Inc. v. Nelson (In re LGX, LLC), 2005 Bankr. LEXIS 2072 (10th Cir.

  Oct. 31, 2005) (creditor had standing on whether court should approve settlement between

  trustee and another creditor, but no standing under § 365 on whether quitclaim license from

  trustee to that creditor violated applicable patent law because it was not party to contract); In re

  Riverside Nursing Home, 43 B.R. 682, 685 (Bankr. S.D.N.Y. 1984) (assignee of rents is not

  “party to such contract or lease” so as to confer standing under section 365); In re Irwin Yacht

  Sales, Inc., 164 B.R. 678 (Bankr. M.D. Fla. 1994) (denying standing to co-owner

  notwithstanding her economic interest since she was not party to the lease); see also ANC Rental,

  57 F. App'x at 916 (citations omitted) (“Third-party standing is of special concern in the

  bankruptcy context where, as here, one constituency before the court seeks to disturb a plan of

  reorganization based on the rights of third parties who apparently favor the plan. In this context,

  the courts have been understandably skeptical of the litigant’s motives and have often denied

  standing as to any claim that asserts only third-party rights.”)

           141.     The only parties to the Management Agreements are the Debtor and the respective

  CLOs. Consequently, the CLO Objectors are effectively asking the Court to treat them as the

  contracting parties, so that they, rather than the CLOs, may decide whether to oppose

  assumption. But an adjudication of the CLO Objectors’ rights vis-à-vis the CLOs is not before

  the Court. Regardless, this assertion of management authority over the CLOs was already



                                                   75
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05872
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 83 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 82 of 106




  rejected by Court as “almost Rule 11 frivolous.” In the CLO Motion, the movants sought to

  restrict sales of the CLOs’ assets on terms that they believed might be disadvantageous to the

  holders of preference shares, but they could not substantiate any contractual basis for the

  exercise of such management authority.71

           142.     The only acknowledgement of this Court’s ruling in the NPA/HCMFA Objection

  is offered in a footnote, in which the CLO Objectors suggest that the issues are different “in

  connection with confirmation of a plan containing proposed contract assumptions that simply are

  not contract assumptions, fairly construed.”72 In all honesty, the Debtor has no idea what the

  Objector’s statement means, but whatever it means, the underlying issue and rationale are the

  same here as in the CLO Motion. As before, the issue is who has the right to make business

  decisions for the CLOs, and in both the CLO Motion and here, the proffered justification is a

  nonspecific risk that investment decisions may be made with which the CLO Objectors disagree.

           C.       The CLO Objectors Lack Standing to Object to the Plan

                    1.         The CLO Objectors Rights Under the Management Agreements Are
                               Not Affected by the Plan




  71
     12/16/20 Tr. of Proceedings at 64:1-10.
           This is almost Rule 11 frivolous to me. You know, we're -- we didn't have a Rule 11 motion filed,
           and, you know, I guess, frankly, I'm glad that a week before the holidays begin we don't have that,
           but that's how bad I think it was, Mr. Wright [of K&L Gates] and Mr. Norris. This is a very, very
           frivolous motion. Again, no statutory basis for it. No contractual basis. You know, you didn't even
           walk me through the provisions of the contracts. I guess that would have been fruitless. But you
           haven’t even shown something equitable, some lack of reasonable business judgment.
  72
     The CLO Objectors state: “The Funds and Advisors are aware that the Court has heard and rejected a form of this
  argument in a different context. By raising the point here, we mean no disrespect to the Court or the prior ruling.
  However, we contend that the issue is appropriately joined in connection with confirmation of a plan containing
  proposed contract assumptions that simply are not contract assumptions, fairly construed. Moreover, at the time of
  the Motion that was denied, only the Funds and Advisors took a position on the issues; now, other parties, on
  information and belief, will object or have objected on a similar basis.” Obj. at 5, n. 4.

                                                          76
  DOCS_SF:104855.7 36027/002

                                                                                                      Appx. 05873
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 84 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 83 of 106




           143.     The CLO Objectors offer four bases for standing in the Objection. The first is

  that “in several of the Servicing Agreements, the CLO Objectors have the right to remove the

  Debtor or to control who the servicer under the agreements is. They have similar rights under

  the Indentures with respect to assignment or modification of the Servicing Agreements. Insofar

  as the Fifth Amended Plan purports to limit or to take those rights away from them, and to

  change their rights, the CLO Objectors have standing to object to their rights being limited or

  eliminated.” Obj. at 27. Elsewhere they state that the Management Agreements “generally

  allow the holders of preference shares to remove the portfolio manager for cause” and may

  provide for a certain percentage of holders of Preference Shares to remove a manager without

  cause. Obj. at 11.

           144.     As an initial matter, nowhere in the NREP Joinder do any of the NexPoint RE

  Partners allege or state that they have any interest in the CLOs. Without an interest in the CLOs,

  the NexPoint RE Partners cannot allege that any of their rights are affected. Further, nowhere in

  the NPA/HCMFA Objection is there any attempt to establish any basis on which the CLO

  Objectors are presently entitled to replace the Debtor as the Portfolio Manager or authorized to

  decide for the CLOs whether the CLOs should consent to the Debtor’s assumption of the

  Management Agreements. This is telling.

           145.     As set forth in the Management Agreements, the Debtor can only be removed as

  Portfolio Manager for cause by a majority of the preference shares that are not held by affiliates

  of the Debtor.       By the CLO Objectors own admission, they only hold a majority of the

  preference shares in eight of the fifteen CLOs at issue. That means that the CLO Objectors have


                                                  77
  DOCS_SF:104855.7 36027/002

                                                                                       Appx. 05874
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 85 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 84 of 106




  no right to remove the Portfolio Manager in approximately half of the Management Agreements.

  However, even with respect to the CLOs in which they hold a majority of the preference shares,

  the CLO Objectors cannot remove the Debtor unless cause exists – and cause does not exist.

  Moreover, the CLO Objectors, under the Management Agreements, are prohibited from

  replacing the Debtor because each of the CLO Objectors should be considered an affiliate of the

  Debtor for purposes of the Management Agreements and therefore be prohibited from exercising

  removal rights. Finally, on January 9, 2020, this Court entered an order (the “January Order”),

  which, in pertinent part, stated that “Mr. Dondero shall not cause any Related Entity to terminate

  any agreements with the Debtor.” [Docket No. 339] It is beyond dispute that each of the CLO

  Objectors is for all intents and purposes Mr. Dondero, and Mr. Dondero should not be allowed to

  do by proxy what he was prohibited by this Court from doing directly.

           146.     However, whether the CLO Objectors have the right to remove and replace the

  Debtor as Portfolio Manager is not a question that will be decided by the Plan nor will the CLO

  Objectors’ rights to remove the Debtor – whatever they are – be impacted by the Plan. On

  January 6, 2021, the Debtor filed that certain Debtor’s Memorandum of Law in Support of Its

  Motion for a Temporary Restraining Order and Preliminary Injunction Against Certain Entities

  Owned and/or Controlled by Mr. James Dondero, Adv. Proc. No. 20-03000-sgj, Docket No. 6]

  (the “Adversary Complaint”). In the Adversary Complaint, the Debtor seeks a declaratory

  judgment that the CLO Objectors have no right to replace the Debtor under the Management

  Agreements for the reasons set forth above, among others. The CLO Objectors should assert

  their rights, if any, at the hearing on the Adversary Complaint, not through an objection to


                                                 78
  DOCS_SF:104855.7 36027/002

                                                                                        Appx. 05875
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 86 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 85 of 106




  assumption. Consequently, the CLO Objectors’ rights, if any, under the Management Agreement

  will be determined by this Court in a separate hearing, and will not be impacted by the Plan.

                    2.         The CLO Objectors Lack Standing to Object to Assumption as
                               Creditors or Parties in Interest

           147.     Two of the CLO Objectors’ four claimed bases for standing are that they are

  creditors, or at least parties in interest, and as such have standing to object to assumption of the

  Management Agreements “especially because assumption of the Servicing Agreements and

  future performance thereunder affect the feasibility of the Plan as a whole,” and under sections

  1129(a)(1)-(3) because assumption of the Management Agreements purportedly violates the law.

  Obj. at 27. These arguments fail for numerous reasons.

           148.     First, these arguments for standing are circular. If a party lacks standing to object

  to assumption of a contract because it has no protected interest in the contract under section 365,

  it cannot argue that a plan should not be confirmed because of the assumption of such contract.

  A party cannot use an objection to a plan to create standing under section 365.

           149.     Second, the CLO Objectors are not creditors. As set forth in the Memorandum,

  each of the Advisors, the Funds, and CLO Holdco filed claims in this Case; however, each of

  those parties voluntarily agreed to have their Claims expunged or reduced to $0.00. None of the

  NexPoint RE Entities filed claims. As such, the CLO Objectors are barred from asserting that

  they have prepetition claims against the Debtor or its Estate. The CLO Objectors also cannot

  create claims by asserting that they will have claims arising from the rejection of the shared

  services agreements with the Debtor. None of the shared services agreements are being rejected.

  Each of the shared services agreements is freely terminable. In November 2020, the Debtor

                                                     79
  DOCS_SF:104855.7 36027/002

                                                                                            Appx. 05876
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 87 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 86 of 106




  provided notice that the shared services and other agreements were being terminated. Such

  agreements will terminate no later than January 31, 2021, which is prior to the anticipated

  Effective Date of the Plan. Because none of the shared services agreements are being rejected,

  none of the CLO Objectors will have a rejection damages claim.

           150.     Third, even if any of the CLO Objectors were creditors: “[E]ven creditors do not

  have standing to raise the rights of a landlord or contract party under section 365. . . While

  section 1109 allows a creditor to be heard on any issue in a bankruptcy case, it does not change

  the general principle of standing that a party may assert only its own legal interests and not the

  interests of another.”       In re ANC Rental, 278 B.R. at 718-19 (citations omitted).     As the

  bankruptcy court held in ANC Rental, the CLO Objectors cannot usurp the CLO’s standing to

  object to assumption.

           151.     Fourth, as set forth below, there is no “applicable law” prohibiting assumption

  and/or assignment for purposes of Section 365(c) and therefore no argument under section

  1129(a). Each of the Management Agreements can be assumed and could be assigned without

  the consent of any party (although the CLOs have consented to assignment). Therefore, there is

  no violation of law.

           152.     Finally, the CLO Objectors cannot boot strap into standing by arguing that the

  assumption of the Management Agreements will not benefit the estate. First, it is anticipated that

  the Debtor’s chief executive officer and chief restructuring officer will testify as to how

  assumption benefits the estate. Second, granting the relief requested by the CLO Objectors

  would be catastrophic to the Debtor’s estate. The Debtor’s inability to assume the Management


                                                   80
  DOCS_SF:104855.7 36027/002

                                                                                        Appx. 05877
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 88 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 87 of 106




  Agreements does not mean that the CLO Objectors will be magically installed as Portfolio

  Manager. It means that the Management Agreements will be rejected and that none of the CLOs

  will have a Portfolio Manager following the Confirmation Date. Any damage to the CLOs will

  presumably be part of the claims asserted by the CLOs against the Debtor in connection with that

  rejection. Those claims are currently incalculable. The Debtor also has exposure to each of the

  CLOs and any loss in value caused by having no Portfolio Manager would directly impact the

  Reorganized Debtor’s and Claimant Trust’s assets. Even assuming the CLO Objectors can

  appoint themselves Portfolio Manager in the CLOs in which they hold a majority of the

  preference shares (which is contested and which in no event would happen by the Confirmation

  Date), that still leaves approximately half of the CLOs without a manager.          It is beyond

  disingenuous for the CLO Objectors to argue that there is no benefit to the estate in assuming the

  Management Agreements while at the same time arguing that those same agreements should be

  rejected with the Debtor suffering the consequences.

                    3.         The Contractual Right to Object to Assignment of the Management
                               Agreements Does Not Create Standing to Object to Their Assumption

           153.     The fourth and final basis for standing is: “[I]n several of the Servicing

  Agreements, it is not just the CLO that must approve an assignment, but also the CLO Objectors.

  The CLO Objectors have similar rights under the Indentures. Insofar as the test under section

  365(c)(1) is a hypothetical assignment, and the CLO Objectors have the right to approve or not

  approve that assignment under applicable law and the agreements, that right should extend to

  consent under section 365(c)(1)(B) as well, as the CLOs’ consent is not possible without a

  concurring consent by the CLO Objectors.” Obj. at 28.

                                                    81
  DOCS_SF:104855.7 36027/002

                                                                                       Appx. 05878
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 89 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 88 of 106




           154.     For purposes of standing, the CLO Objectors asserted contractual right to object

  to assignment of the Management Agreements is irrelevant, for three reasons. First, there is no

  assignment here. The Debtor is assuming the Management Agreements with the consent of the

  CLOs. Second, even if it were correct that (a) the CLO Objectors have a contractual right to

  object to assignment, and (b) the hypothetical test applies, they still have no interest in the

  contract that would permit them to enforce section 365’s protections for their benefit in

  derogation of the rights of the actual contracting parties. Third, as discussed immediately below,

  the actual test applies in the Fifth Circuit, and thus the Management Agreements would be

  assumable even if they were not assignable.

           D.       Even if the CLO Objectors Had Standing and the Management Contracts
                    Were Not Assignable, the Debtor Could Assume Them Because the Actual
                    Test Applies in the Fifth Circuit

           155.     As the CLO Objectors recognize, there is a split of authority among the circuits

  regarding the appropriate test to apply to determine whether:

                              a contract that is otherwise non-assignable under applicable non-
                               bankruptcy law can be assumed by a debtor under Bankruptcy Code
                               section 365(c)(1); and

                              whether the same contract can be terminated if it contains an “ipso facto”
                               clause pursuant to Bankruptcy Code section 365(e)(2)(A).

  The Fifth Circuit has ordered lower courts to apply the so-called actual test in considering

  whether an ipso facto termination clause can be enforced under Bankruptcy Code section

  365(e)(2)(A). For the reasons set forth below, even though the Fifth Circuit has not ruled on the

  issue directly, the actual test has been applied by every bankruptcy court that has considered the

  issue in the Fifth Circuit to assumption of contracts under Bankruptcy Code section 365(c)(1).


                                                       82
  DOCS_SF:104855.7 36027/002

                                                                                             Appx. 05879
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 90 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 89 of 106




  Accordingly, the actual test should be applied in this Case to conclude that the Management

  Contracts can be assumed by the Reorganized Debtor without the consent of any party.

           156.     The Fifth Circuit’s decision in Bonneville Power Administration v. Mirant

  Corporation applied the actual test to a determination of whether a contract can be terminated as

  a result of the filing of a bankruptcy case under Bankruptcy Code section 365(e)(2). Bonneville

  Power Admin. v. Mirant Corp. (In re Mirant Corp.), 440 F.3d 238 (5th Cir. 2006). The

  reasoning in Mirant also supports application of the actual test to Bankruptcy Code section

  365(c)(1). Specifically, in Mirant, a non-debtor counterparty sought to terminate its executory

  contract with the chapter 11 debtor based on an ipso facto clause after the debtor filed for

  bankruptcy.       In support of its argument, the non-debtor counterparty relied on section

  365(e)(2)(A) and asserted that, under applicable law, the Anti-Assignment Act, 41 U.S.C. § 15

  (which generally prohibits the transfer of contracts to which the United States is a party), it was

  excused from accepting performance from or rendering performance to the trustee or an

  assignee. Critically, in reaching its conclusion that the actual test applied, the Fifth Circuit relied

  on cases analyzing section 365(c)(1).

           157.     While the CLO Objectors would like this Court to believe there is some risk that

  if faced with the direct question of whether the actual test also applies under section 365(c)(1),

  the Fifth Circuit would reach a different result, that argument strains credibility.

  Notwithstanding the technical language differences73 between the two statutes, the same test

  73
     Subsection (e)(2) provides that the invalidation of ipso facto clauses does not apply to an executory contract
  where “applicable law excuses a party, other than the debtor, to such contract or lease from accepting performance
  from or rendering performance to the trustee or to an assignee of such contract or lease, whether or not such contract
  or lease prohibits or restricts assignment of rights or delegation of duties[.]” 11 U.S.C. § 365(e)(2). This language
  is very similar—but not identical—to the language employed by subsection (c)(1), which speaks to excusing

                                                           83
  DOCS_SF:104855.7 36027/002

                                                                                                         Appx. 05880
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 91 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 90 of 106




  must apply to both the assumption of a contract under section 365(c)(1) and the termination of a

  contract under section 365(e)(2)(A). There is no logical reading of these two subsections that

  would support application of different tests. The language of section 365(e)(2)(A) is intended to

  allow the counterparty to a contract that cannot be assumed or assigned to enforce its remedy of

  termination so that it is not in limbo while the bankruptcy case proceeds. Section 365(c) cannot

  be read in isolation from the other subsections. It would make no sense for a court to hold that a

  contract cannot be assumed because the hypothetical test applies, but nonetheless cannot be

  terminated because the actual test applies. For this reason, every lower court in the Fifth Circuit

  that has considered the issue has held that the actual test applies to a debtor’s assumption of

  contracts under section 365(c). See In re Virgin Offshore USA, Inc., No. 13-79, 2013 U.S. Dist.

  LEXIS 128995, at *15 (E.D. La. Sep. 10, 2013):

           Though the Mirant court used the actual test in the context of § 365(e), which was
           not amended in the same way as § 365(c) and thus is not subject to the same
           circuit split, the Court nonetheless finds this decision to be an indicator of the way
           that the Fifth Circuit would undertake an analysis under § 365(c). Further, in In
           re O’Connor, the Fifth Circuit appears to have applied an actual test to determine
           that a partnership interest was strictly personal under Louisiana law, thus not
           assumable under § 365(c). The court did not expressly adopt the actual test
           because, regardless of the test applied, the partnership interest would have been
           unassumable under § 365(c); however, the language used in the opinion indicated
           a predilection for the actual test.

  See also In re Jacobsen, 465 B.R. 102, 105-06 (Bankr. N.D. Miss. 2011); Cajun Elec. Members

  Comm. v. Mabey (In re Cajun Elec. Power Coop., Inc.), 230 B.R. 693, 705 (Bankr. M.D. La.

  1999); In re Lil’ Things, Inc., 220 B.R. 583, 587 (Bankr. N.D. Tex. 1998); Texaco Inc. v.

  Louisiana Land & Exploration Co., 136 B.R. 658, 669 (Bankr. M.D. La.1992); In re Hartec


  performance from, or rendering performance to, “an entity other than the debtor or the debtor in possession” as
  opposed to just “the trustee or [] an assignee.” Compare id. § 365(c)(1) with § 365(e)(2).

                                                        84
  DOCS_SF:104855.7 36027/002

                                                                                                   Appx. 05881
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 92 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 91 of 106




  Enters., Inc., 117 B.R. 865, 871 (Bankr. W.D. Tex. 1990), vacated by settlement, 130 B.R. 929

  (W.D.Tex. 1991).

           158.     Moreover, other bankruptcy courts within the Fifth Circuit have expressly

  rejected the hypothetical test, concluding that:

           If the court were to adopt the [hypothetical test] and focus primarily upon
           assignability, a chapter [sic] 11 filing would have the virtual effect of rejecting
           executory contracts covered by section 365(f). As suggested by the court in
           Texaco, this analysis would extend section “365(c) beyond its fair meaning and
           intended purpose, contrary to the ultimate goal of rehabilitation of the debtor's
           enterprise.”

  Cajun Elec., 230 B.R.at 705 (Bankr. M.D. La. 1999) (quoting Texaco, 136 B.R. at 670).

           159.     The CLO Objectors prediction that the Fifth Circuit would apply a different test

  under subsection 365(c) than it does under 365(e) is based solely on the use of the word “or”

  rather than “and” in subsection 365(c). However, the language cited by the CLO Objectors in

  the statute is the same language that was considered by each of the lower courts in the Fifth

  Circuit; each of those courts nonetheless applied the actual test. The CLO Objectors reading is

  overly simplistic and imposes a literal reading that, as noted by the Cajun Electric Court above,

  is “beyond its fair meaning and intended purpose, contrary to the ultimate goal of rehabilitation

  of the debtor's enterprise.” Id. Accordingly, the argument that assumption of the Management

  Contracts must be evaluated using the hypothetical test is unavailing and contrary to this

  Circuit’s case law.




                                                     85
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05882
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 93 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 92 of 106




           E.       Even if the CLO Objectors Have Standing and the Hypothetical Test Applies,
                    the Management Agreements Are Assignable

           160.     The CLO Objectors, assuming the hypothetical test applies, contend the

  Management Agreements cannot be assigned or assumed under section 365(c)(1) without the

  consent of the contracting party because they are non-assignable personal services contracts and

  because Section 205(a)(2) of the Advisers Act proscribes assignment of such contracts without

  consent. Under these circumstances, the CLO Objectors argue that “applicable law excuses a

  party, other than the debtor, to such contract . . . from accepting performance from . . . an entity

  other than the debtor. . . .” 11 U.S.C. § 365(c)(1)(A).

           161.     This Court has previously (and correctly) rejected both of these arguments – at

  that time made by the Debtor under the control of Mr. Dondero – in In re Acis Capital

  Management, L.P., et al, Case No. 18-30264-sgj, Docket No. 549 (Bankr. N.D. Tex. Aug. 30,

  2018) (the “Acis Order”). In the Acis Order, this Court held that: (a) the portfolio management

  agreements at issue were not personal services contracts; and (b) Section 205(a)(2) of the

  Advisers Act is not “applicable law” precluding assignment under section 365. Specifically, this

  Court ruled as follows:

           The court overrules any objection that there is some applicable law that excuses
           the counterparties to the PMAs [portfolio management agreements] (i.e., the CLO
           Issuers) from accepting performance from a party other than the debtor. First,
           these are not personal services contracts. . . . [I]n order to determine whether the
           PMAs are personal service contracts, the court must assess the particular
           circumstances in the case, the nature of the services provided by Acis under the
           PMAs, and whether such services are nondelegable. Highland contends that
           because the PMAs "depend on the skill and reputation of the performing party,"
           the PMAs are personal service contracts, and thus unassignable. If this were the
           standard, the exception would swallow the rule – any prudent party contracting
           for another's services considers the other party's skill, expertise, and reputation –
           and any contract for services premised on the skill and reputation of the party
           providing services would be a personal service contract. It is not whether the party

                                                    86
  DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05883
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 94 of
                                           126
 Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 93 of 106




            providing services is skilled and reputable – it is whether such services are unique
            in nature. See Compass Van & Storage Corp., 65 B.R. at 1011. . . . Here. . .
            [p]ursuant to the Shared Services Agreement and Sub-Advisory Agreement, Acis
            LP delegated certain of its responsibilities under the PMAs to Highland.
            Accordingly, the personal qualities of Acis LP were not essential to performance
            under the PMAs. While the expertise of Acis LP was relevant to its selection as
            portfolio manager, such expertise is not unique – as demonstrated by the expertise
            and reputation of Oaktree, Brigade, and others who act as CLO portfolio
            managers. Also, importantly, the PMAs themselves provide that Acis may
            delegate the performance of its duties under the PMAs to third parties: “In
            providing services hereunder, the Portfolio Manager may employ third parties,
            including its Affiliates, to render advice (including investment advice), to provide
            services to arrange for trade execution and otherwise provide assistance to the
            Issuer, and to perform any of the Portfolio Manager’s duties under this
            Agreement; provided that the Portfolio Manager shall not be relieved of any of its
            duties hereunder regardless of the performance of any services by third parties.”
            2014-3 PMA § 3(h)(iii). And although section 14 the PMAs requires consent for
            assignment, section 14 contemplates that an Affiliate assignee “has demonstrated
            ability, whether as an entity or by its personnel, to professionally and competently
            perform duties similar to those imposed upon the Portfolio Manager pursuant to
            this Agreement.” Id. § 14(a). Further, sections 14 and 32 of the PMAs provide
            for merger, consolidation, or amalgamation of Acis with another company, where
            the resulting entity succeeds “to all or substantially all of the collateral
            management business of the Portfolio Manager.” Pursuant to the terms of the
            PMAs themselves, the duties of Acis were not “so unique that the dut[ies were]
            thereby rendered nondelegable.” . . . As such, unlike personal service contracts,
            the PMAs do not “synthesize into those consensual agreements . . . distinctive
            characteristics that commit to a special knowledge, unique skill or talent, singular
            judgment and taste.” . . . Accordingly, because the duties of Acis LP under the
            PMAs are delegable (and were delegated) and are not unique, the PMAs cannot
            be personal service contracts that fall within the narrow exception of section
            365(c)(1).

            Additionally, Section 205(a)(2) of the Investment Advisors Act of 1940 (“IAA”)
            is not a nonbankruptcy law that precludes assumption and assignment of the
            PMAs. Section 205(a)(2) of the IAA provides that a registered investment adviser
            (such as Acis) cannot enter into an investment advisory contract unless such
            contract provides “that no assignment of such contract shall be made by the
            investment adviser without the consent of the other party to the contract[.]” 15
            U.S.C. § 80b-5(a)(2).

            Thus, this provision of the IAA merely requires that the PMAs contain an anti-
            assignment provision – the IAA is not “applicable law” that prohibits assumption
            or assignment without consent of the counterparties to the PMAs. Indeed, in the
            Southern District of New York, the court held:

                     “Section 205(a)(2) of the [IAA] . . . does not . . . prohibit an

                                                    87
   DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05884
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 95 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 94 of 106




                    investment adviser's assignment of an investment advisory contract
                    without client consent. The section merely provides that the
                    contract must contain the specified provision.            Thus, the
                    assignment of a non-investment company advisory contract,
                    without obtaining client consent, could constitute a breach of the
                    advisory contract, but not a violation of Section 205(a)(2).”

  CWCapital Cobalt VR Ltd. v. CWCapital Invs. LLC, 2018 U.S. Dist. LEXIS 90174, at *12

  (S.D.N.Y. May 23, 2018). Assignment of the PMAs without consent of the counterparties simply

  constitutes breach of the PMAs, but the IAA is not “applicable law” that excuses the

  counterparties to the PMAs from accepting or rendering performance without such consent.

           162.     For the exact reasons found by this Court in the Acis Order, the CLO Objectors’

  argument that “applicable law” prevents assignment under 11 U.S.C. § 365(c) should be

  overruled. First, the Management Agreements are on all fours with the management agreements

  discussed in the Acis Order. The Management Agreements have the same delegation provisions,

  the same assignment provisions, and the same provisions on merger, consolidation, and

  amalgamation.74 The Court has already ruled on these exact agreements and found that they

  preclude a finding that the Management Agreements are personal services contracts.

  74
     See, e.g., Servicing Agreement, dated as of November 30, 2006, by and among Grayson CLO Ltd., and Highland
  Capital Management, L.P. (“Grayson Agreement”):
            In providing services hereunder the Servicer may employ third parties including its Affiliates to
            render advice including advice with respect to the servicing of the Collateral and assistance
            provided however that the Servicer shall not be relieved of any of its duties or liabilities hereunder
            regardless of the performance of any services by third parties.
  (Id., § 2(d))
            In addition any successor Servicer must be an established institution which has demonstrated an
            ability to professionally and competently perform duties similar to those imposed upon the
            Servicer hereunder
  (Id., § 12(e))
            Any corporation partnership or limited liability company into which the Servicer may be merged
            or converted or with which it may be consolidated or any corporation partnership or limited
            liability company resulting from any merger conversion or consolidation to which the Servicer
            shall be party or any corporation partnership or limited liability company succeeding to all or
            substantially all of the servicing and collateral management business of the Servicer shall be the
            successor to the Servicer without any further action by the Servicer the Co-Issuers the Trustee the

                                                        88
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05885
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 96 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 95 of 106




           163.     Second, as this Court ruled, the Advisers Act does not prohibit assignment

  without consent. It simply requires that an advisory agreement contain certain language and that

  any failure to obtain consent is a breach, not a nullification of the assignment. If the CLO

  Objectors had done their diligence, they would have realized that the Acis Order is not unique.

  The SEC has expressly stated that:

           Section 205(a)(2) does not prohibit an adviser’s assignment of an investment
           advisory contract without client consent. The section merely provides that the
           contract must contain the specified provision. Thus, the assignment of a non-
           investment company advisory contract, without obtaining client consent, could
           constitute a breach of the advisory contract, but not a violation of Section
           205(a)(2).

  American Century Companies, Inc./JP Morgan & Co. Incorporated, Staff No-Action Letter

  (12/23/1997);        see      also     Investment     Management   Staff   Issues   of     Interest,

  http://www.sec.gov/divisions/investment/issues-of-interest.shtml [June 5, 2012] (“In particular,

  the staff previously has clarified that Section 205(a)(2) does not prohibit an adviser’s assignment

  of an investment advisory contract without client consent. The section merely provides that the

  contract must contain the specified provision.”).

           164.     As such, there is no applicable law prohibiting the assignment – let alone the

  assumption – of the Management Agreements. “[F]or section 365(c)(1) to apply, the applicable

  law must specifically state that the contracting party is excused from accepting performance

  from a third party under circumstances where it is clear from the statute that the identity of the

  contracting party is crucial to the contract or public safety is at issue.” In re ANC Rental Corp.,

  277 B.R. 226, 236 (Bankr. D. Del. 2002).

            Noteholders or any other person or entity
  (Id., § 31)

                                                        89
  DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05886
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 97 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 96 of 106




           F.       The Inadequate Assurance of Future Performance Objection is Meritless

           165.     The CLO Objectors contend that the reorganized Debtor will have inadequate

  resources to perform its obligations under the Management Agreements, and so has not given

  adequate assurance of future performance.             The CLO Objectors also allege that there is a

  mismatch between the Debtor’s investment timeline and the timeline expected by the investors in

  the CLOs. Both of those arguments fail. First, assurance of future performance is a protection

  conferred by section 365 on contracting parties, which the CLO Objectors are not. They lack

  standing to invoke it when the actual contracting parties – the CLOs – are satisfied. Second,

  even if they had standing, the objection is without merit. The CLO Objectors argue (i) because

  the Debtor is terminating all of its employees, it will not be able to manage the CLOs post-

  Effective Date and (ii) the Debtor cannot hire a Sub-Servicer to manage the CLOs without

  violating the Management Agreements. As an initial matter, the Debtor is not retaining a Sub-

  Servicer to manage the CLOs, and, although the Debtor will terminate a number of employees, it

  will retain sufficient and appropriate staff to manage the CLOs post-Effective Date. However,

  even if the Debtor were terminating all employees, the Management Agreements expressly allow

  the Debtor to retain a Sub-Servicer to manage the CLOs.75

           166.     Similarly, the CLO Objectors’ contention that the Debtor’s timeline for

  monetizing the assets in the CLOs is contrary to the timeline expected by the CLOs’ investors

  also ignores the facts. As disclosed in the CLOs’ offering memoranda, the notes and preference

  shares issued by the CLOs have come due or will, with two exceptions, come due shortly.

  75
     See Grayson Agreement, § 2(d) (“In providing services hereunder the Servicer may employ third parties
  including its Affiliates to render advice including advice with respect to the servicing of the Collateral and
  assistance provided however that the Servicer shall not be relieved of any of its duties or liabilities hereunder
  regardless of the performance of any services by third parties.”) (emphasis added).

                                                         90
  DOCS_SF:104855.7 36027/002

                                                                                                    Appx. 05887
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 98 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 97 of 106




                      CLO                  Note Maturity       Preference Share Redemption
                    Aberdeen               November 2018              November 2018
                   Brentwood               February 2022              February 2022
                    Eastwood                 May 2022                   May 2022
                   Gleneagles              November 2017              November 2017
                    Grayson                November 2021              November 2021
                   Greenbriar              November 2021              November 2021
            Highland Legacy Limited          June 2011                     N/A
           Highland Loan Funding V          August 2014                August 2014
              Highland Park CDO I          November 2051              November 2051
                      Jasper                August 2017                August 2017
                  Pam Capital                May 2010                      N/A
                     PamCo                  August 2009                    N/A
                    Red River                July 2018                  July 2018
                    Rockwall                August 2021                    N/A
                   Rockwall II              August 2021                    N/A
                    Southfork              February 2017              February 2017
                    Stratford              November 2021              November 2021
                    Valhalla                 April 2038                 April 2038
                  Westchester               August 2022                August 2022


  As such, there is no mismatch between the expectations of the CLOs’ investors and the Debtor.

  With the exception of the CLO Objectors who presumably want the CLOs to stay extant forever,

  the expectations of the CLOs’ investors are set by the offering memoranda, which clearly

  disclose the expected timeline for the CLOs.

           167.     Finally, the disingenuousness of the CLO Objectors’ arguments on future

  performance cannot be overstated. The CLO Objectors are arguing that the Debtor must reject

  the Management Agreements because – in their estimation – the Reorganized Debtor will not be

  able to satisfactorily manage the CLOs. The CLO Objectors’ argument is therefore that it is




                                                 91
  DOCS_SF:104855.7 36027/002

                                                                                      Appx. 05888
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 99 of
                                          126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 98 of 106




  better for the CLOs to have no manager at all. The CLO Objectors arguments are an abject

  danger to the Estate and could create potential liability in the millions of dollars.

           G.       The “Impermissible Partial Assignment” Objection is Meritless

           168.     The CLO Objectors contend that their rights are being modified by the Debtor’s

  assumption of the Management Agreements, effectively resulting in an impermissible “partial

  assumption” of the contracts. Once again, they are not contracting parties with standing to object

  on this basis. But even if they were, the factual predicate is missing.            The Management

  Agreements are being assumed in toto. There is no modification of any contract rights of the

  CLO Objectors. And, as set forth above, the Debtor filed the Adversary Complaint in which it

  sought a declaratory judgment on the CLO Objectors’ rights to replace the Debtor as Portfolio

  Manager under the Management Agreements. Regardless of whether the Plan is confirmed, the

  CLO Objectors will have their rights under the Management Agreements as those rights are

  determined by this Court in connection with the adjudication of the Adversary Complaint.

  XI.      STATE TAXING AUTHORITY OBJECTION

           169.     Following the filing of the State Taxing Authority Objection, the Debtor reached

  out to Dallas County, City of Allen, Allen ISD, City of Richardson, and Kaufman County

  (collectively, the “State Authorities”) to see whether the State Taxing Authority Objection could

  be resolved consensually. Although the Debtor and the State Taxing Authority have not yet

  reached resolution, the Debtor is optimistic that the State Taxing Authority Objection will be

  resolved and will continue working with the State Authorities.




                                                    92
  DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05889
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 100
                                         of 126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 99 of 106




  XII.     IRS OBJECTION

           170.     The Internal Revenue Service (“IRS”) raises three objections to the Plan in the

  IRS Objection, two of which are not controversial, and the Debtor has amended the plan to

  address these points.

           171.     First, in paragraph 1 of the IRS Objection, the IRS requests that the Debtor

  provide it with interest on account of its Allowed Claim as required under 11 U.S.C.

  1129(a)(9)(C). The Plan previously provided for payment of the full amount of the Allowed

  Priority Tax Claims (which would include any applicable interest on account of such Allowed

  Claim) on the Initial Distribution Date in order to fully satisfy these tax claims and avoid the

  incurrence of any unnecessary interest. To clarify this issue and resolve this first objection, the

  Debtor has amended the Plan to provide for an additional treatment mechanism that provides that

  Allowed Claims shall be treated in accordance with section 1129(a)(9)(C) of the Bankruptcy

  Code in the event the entirety of the IRS’s Allowed Claims (inclusive of any interest pursuant to

  which such claims are entitled to) are not paid on the Initial Distribution Date, as provided in

  section II.C of the Plan.

           172.     Second, in paragraph 3 of the IRS Objection, the IRS argues that its claims should

  not be “fixed” unless and until any required tax returns are filed. The Debtor does not dispute

  this contention and believes that the proposed language that was provided to the IRS and

  reprinted below addresses this concern because it provides that the IRS’s claims shall survive the

  bankruptcy as if the cases had not yet been filed, which is standard in chapter 11 confirmation

  orders. Further, the Debtor believes that it has filed all applicable returns but, in an effort to

  resolve the IRS Objection, proposes the language below.

                                                    93
  DOCS_SF:104855.7 36027/002

                                                                                         Appx. 05890
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 101
                                         of 126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 100 of
                                        106




          173.     In paragraph 2 of the IRS Objection, the IRS asserts that it has no record of the

 Debtor having filed its Form 720 with respect to its self-insured health plan for the June 30,

 2014, June 30, 2016 and June 30, 2018 tax periods. Because of this alleged non-compliance, the

 IRS proposes certain default provisions detailed in the chart below (the “Default Provisions”).

 The Debtor asserts that the Default Provisions are not warranted because that Debtor has filed all

 applicable tax returns. Specifically, with respect to Form 720, on April 22, 2020, the Debtor

 responded to an IRS inquiry about the forms and provided an explanation about forms which

 were not required and provided the IRS with Form 720 for the 2015, 2016 and 2017 tax periods.

 Further the Default Provisions are not warranted because the IRS has adequate collection and

 enforcement remedies available through applicable law and should not be granted additional

 remedies through the Plan. Finally, the Default Provisions are vague and contain undefined

 terms which will result in confusion if enforcement is ever attempted. Certain examples of these

 problems are discussed below.

          174.     Default Provision (1) provides certain remedies to the IRS in the event of certain

 failures to pay taxes or timely file returns by the Debtor, the Reorganized Debtor or any

 successor in interest. The Debtor asserts that the Default Provisions are unnecessary since the

 Debtor has provided all applicable returns. Default Provisions (2) and (3) are not needed and are

 problematic because of their vagueness. The Debtor would agree to Default Provision (1)

 provided that it is clarified to state that nothing contained in the Plan or the Confirmation Order

 shall be deemed to be a waiver or relinquishment of any rights, claims, causes of action, rights of

 setoff or recoupment, rights to appeal tax assessments, or other legal or equitable defenses that


                                                   94
 DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05891
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 102
                                         of 126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 101 of
                                        106




 the Debtor or Reorganized Debtor have under non-bankruptcy law in connection with any claim,

 liability or cause of action of the United States.

          175.     Default Provision (2), presumably intended to provide remedies in addition to

 those provided under Default Provision (1), would allow the IRS to declare the Debtor to be in

 “default” if the certain failures were not cured within fourteen (14) days and then the “entire

 imposed liability, together with any unpaid current liabilities, shall become due and

 payable immediately upon written demand to the Debtor, Reorganized Debtor, an/or any

 successor in interest.” The term “entire imposed liability” is not defined in the proposed

 Default Provision. The ability of the IRS to unilaterally declare the Debtor to be in default and

 the imposition of a fourteen (14) day deadline is inappropriate and the IRS should rely on

 applicable law without imposing additional requirements through the confirmation process.

 Further, if this provision is intended to cut off the Debtor’s right to challenge any obligation that

 is asserted against it by the IRS, it goes beyond applicable law and would deprive the Debtor of

 valuable rights to legitimately challenge such asserted amounts, including applicable appeal

 rights. Further, to the extent that the Debtor may legitimately dispute certain tax obligations,

 acceleration of payment of other tax obligations is not appropriate and not in accordance with

 applicable law.

          176.     Default Provision (3) requires full payment of the entire imposed liability,

 together with an unpaid current liabilities within fourteen (14) days of demand and also purports

 to extend the collection statute expiration date again attempting to augment remedies available to

 the IRS. Such remedies are not warranted. Again, the IRS has adequate remedies available to it


                                                      95
 DOCS_SF:104855.7 36027/002

                                                                                          Appx. 05892
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 103
                                        of 126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 102 of
                                        106




 under applicable law and should not seek to augment them through the bankruptcy plan

 confirmation process.

          177.     Aside from the fact that the pre-determination of the parties’ applicable rights and

 defenses under applicable non-bankruptcy law does not belong in a chapter 11 plan or

 confirmation order, the IRS’s language is problematic for another reason. By grafting these

 requirements to a chapter 11 plan and or a court order, the IRS is creating additional remedies

 that it would otherwise not be entitled to under non-bankruptcy law because it could then use the

 Confirmation Order to hold the Debtor in contempt, and potentially foreclose any applicable

 defenses or other substantive rights in a later proceeding that contravene the IRS’s Court-ordered

 default language.

          178.     The Debtor has proposed (and the IRS has rejected) the standard “neutrality”

 language that protects the parties’ respective rights and defenses and places them in the “the

 administrative or judicial tribunals in which such rights or claims would have been resolved or

 adjudicated if the bankruptcy case had not been commenced” which is where they belong.

          179.     The Debtor believes that the Court should not pre-adjudicate either the Debtor’s

 or the IRS’s applicable rights and remedies with respect to any unfiled tax returns or claims

 asserted by the IRS and these issues should be preserved for adjudication in the appropriate

 forums post-confirmation. The Debtor believes that its neutrality language initially proposed is

 consistent with language approved by this Court and in other cases without pre-adjudicating the

 parties’ substantive rights. While the Debtor does not believe that any of the proposed Default

 Provisions are warranted because it has complied with applicable filing requirements, the Debtor


                                                    96
 DOCS_SF:104855.7 36027/002

                                                                                           Appx. 05893
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 104
                                        of 126
Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 103 of
                                        106




 would agree to include Default Provision (1) as modified below. The Debtor believes that the

 language proposed to the IRS for insertion to the Confirmation Order 76 preserves each party’s

 respective rights and defenses and adequately protects the IRS form enforcing any statutory

 claims or rights it may possess.

 Proposed Resolution of Objection of United States of          Default Provision - IRS. Notwithstanding any other
 America.                                                      provision or term of this Plan or Confirmation Order, the
 Default Provision - IRS. Notwithstanding any other            following Default Provision shall control as to the
 provision or term of this Plan or Confirmation Order, the     United States of America, Internal Revenue Service
 following Default Provision shall control as to the           (“IRS”) and all of its claims, including any
 United States of America, Internal Revenue Service            administrative claim (the IRS Claim):
 (“IRS”) and all of its claims, including any                       (1) Notwithstanding any other provision in the
 administrative claim (the IRS Claim):                              Plan, if the Debtor, the Reorganized Debtor, or any
      (1) Notwithstanding any other provision in the                successor in interest fails to pay when due any
      Plan, if the Debtor, the Reorganized Debtor, or any           payment required to be made on federal taxes, the
      successor in interest fails to pay when due any               IRS Claim, or other payment required to be made
      payment required to be made on federal taxes, the             to the IRS under the terms and provisions of this
      IRS Claim, or other payment required to be made               Plan, the Confirmation Order, or the Internal
      to the IRS under the terms and provisions of this             Revenue Code (26 U.S.C.), or fails to timely file
      Plan, the Confirmation Order, or the Internal                 any required federal tax return, or if any other
      Revenue Code (26 U.S.C.), or fails to timely file             event of default as set forth in the Plan occurs, the
      any required federal tax return, or if any other              IRS shall be entitled to give the Debtor, the
      event of default as set forth in the Plan occurs, the         Reorganized Debtor and/or any successor in
      IRS shall be entitled to give the Debtor, the                 interest and their counsel of record, by United
      Reorganized Debtor and/or any successor in                    States Certified Mail, written notice of the failure
      interest and their counsel of record, by United               and/or default with demand that it be cured, and if
      States Certified Mail, written notice of the failure          the failure and/or default is not cured within 14
      and/or default with demand that it be cured, and if           days of said notice and demand, then the following
      the failure and/or default is not cured within 14             shall apply to the IRS:
      days of said notice and demand, then the following                   (A) The administrative collection powers
      shall apply to the IRS:                                              and the rights of the IRS shall be reinstated
             (A) The administrative collection powers                      as they existed prior to the filing of the
             and the rights of the IRS shall be reinstated                 bankruptcy petition, including, but not
             as they existed prior to the filing of the                    limited to, the assessment of taxes, the filing
             bankruptcy petition, including, but not                       of a notice of Federal tax lien and the
             limited to, the assessment of taxes, the filing               powers of levy, seizure, and collection as
             of a notice of Federal tax lien and the                       provided under the Internal Revenue Code;
             powers of levy, seizure, and collection as                    (B) The automatic stay of 11 U.S.C. § 362
             provided under the Internal Revenue Code;                     and any injunction of this Plan or in the
             (B) The automatic stay of 11 U.S.C. § 362                     Confirmation Order shall, with regard to the
             and any injunction of this Plan or in the                     IRS only, lift or terminate without further
             Confirmation Order shall, with regard to the                  notice or hearing by the Court, and the entire
             IRS only, lift or terminate without further                   imposed liability owed to the IRS, together
             notice or hearing by the Court, and the entire                with any unpaid current liabilities, may

 76
   The Debtor discussed its concerns with IRS counsel provided it with certain neutrality language to resolve the IRS
 objection. The IRS responded that it could not agree to such language and would stand on its objection and its
 requested default language

                                                           97
 DOCS_SF:104855.7 36027/002

                                                                                                            Appx. 05894
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 105
                                        of 126
 Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 104 of
                                         106


               imposed liability owed to the IRS, together              become due and payable immediately; and
               with any unpaid current liabilities, may                 (C) The IRS shall have the right to proceed
               become due and payable immediately; and                  to collect from the Debtor, the Reorganized
               (C) The IRS shall have the right to proceed              Debtor or any successor in interest any of
               to collect from the Debtor, the Reorganized              the prepetition tax liabilities and related
               Debtor or any successor in interest any of               penalties and interest through administrative
               the prepetition tax liabilities and related              or judicial collection procedures available
               penalties and interest through administrative            under the United States Code as if no
               or judicial collection procedures available              bankruptcy petition had been filed and as if
               under the United States Code as if no                    no plan had been confirmed.
               bankruptcy petition had been filed and as if     (2) If the IRS declares the Debtor, the Reorganized
               no plan had been confirmed; and                  Debtor, or any successor in interest to be in default
       (3) The Internal Revenue Service shall not be            of the Debtor’s, the Reorganized Debtor’s and/or
       bound by any release provisions in the Plan that         any successor in interest’s obligations under the
       would release any liability of the responsible           Plan, then the entire imposed liability, together
       persons of the Debtor, the Reorganized Debtor,           with any unpaid current liabilities, shall become
       and/or any successor in interest to the IRS. The         due and payable immediately upon written
       Internal Revenue Service may take such actions as        demand to the Debtor, Reorganized Debtor,
       it deems necessary to assess any liability that may      and/or any successor in interest. Failure of the
       be due and owing by the responsible persons of the       IRS to declare a failure and/or default does not
       Debtor, the Reorganized Debtor and/or any                constitute a waiver by the United States or its
       successor in interest to the Internal Revenue            agency the IRS of the right to declare that the
       Service;                                                 Debtor, Reorganized Debtor, and/or any successor
       (4) Nothing contained in the Plan or the                 in interest is in default.
       Confirmation Order shall be deemed to be a waiver        (3) If full payment is not made within fourteen
       or relinquishment of any rights, claims, causes of       (14) days of such demand, then the Internal
       action, rights of setoff or recoupment, rights to        Revenue Service may collect any unpaid liabilities
       appeal tax assessments, or other legal or equitable      through the administrative collection provisions of
       defenses that the Debtor or Reorganized Debtor           the Internal Revenue Code. The IRS shall only be
       have under non-bankruptcy law in connection with         required to send two notices of failure and/or
       any claim, liability or cause of action of the United    default, and upon the third event of a failure
       States; and                                              and/or default the IRS shall be entitled to
       (5) The term “any payment required to be made on         proceed as set out in paragraphs (A), (B), and/or
       federal taxes,” as used herein above, is defined as:     (C) herein above without further notice to the
       any payment or deposit required by the Internal          Debtor, the Reorganized Debtor, or any
       Revenue Code to be made by the Debtor from and           successor in interest, or its counsel.           The
       after the Confirmation Date, or the Reorganized          collection statute expiration date will be
       Debtor and/or any successor in interest from and         extended from the Petition Date until
       after the Effective Date, to the date the IRS Claim      substantial default under the Plan.
       is together with interest paid in full. The term “any    (4) The Internal Revenue Service shall not be
       required tax return,” as used herein above, is           bound by any release provisions in the Plan that
       defined as: any tax return or report required by the     would release any liability of the responsible
       Internal Revenue Code to be made by the Debtor           persons of the Debtor, the Reorganized Debtor,
       from and after the Confirmation Date, or the             and/or any successor in interest to the IRS. The
       Reorganized Debtor and/or any successor in               Internal Revenue Service may take such actions as
       interest from and after the Effective Date, to the       it deems necessary to assess any liability that may
       date the IRS Claim is together with interest paid in     be due and owing by the responsible persons of the
       full.                                                    Debtor, the Reorganized Debtor and/or any
                                                                successor in interest to the Internal Revenue
                                                                Service.
                                                                (5) The term “any payment required to be made on
                                                                federal taxes,” as used herein above, is defined as:
                                                                any payment or deposit required by the Internal
                                                                Revenue Code to be made by the Debtor from and


                                                           98
  DOCS_SF:104855.7 36027/002

                                                                                                     Appx. 05895
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 106
                                         of 126
 Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 105 of
                                         106


                                                        after the Confirmation Date, or the Reorganized
                                                        Debtor and/or any successor in interest from and
                                                        after the Effective Date, to the date the IRS Claim
                                                        is together with interest paid in full. The term “any
                                                        required tax return,” as used herein above, is
                                                        defined as: any tax return or report required by the
                                                        Internal Revenue Code to be made by the Debtor
                                                        from and after the Confirmation Date, or the
                                                        Reorganized Debtor and/or any successor in
                                                        interest from and after the Effective Date, to the
                                                        date the IRS Claim is together with interest paid in
                                                        full.



                                          CONCLUSION

          For the reasons set forth herein and in the Memorandum, the Debtor respectfully requests

 that the Bankruptcy Court overrule the Objections for the reasons set forth herein and confirm

 the Plan as requested by the Debtor.




                                                 99
 DOCS_SF:104855.7 36027/002

                                                                                              Appx. 05896
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 107
                                        of 126
 Case 19-34054-sgj11 Doc 1807 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 106 of
                                         106



  Dated: January 22, 2021         PACHULSKI STANG ZIEHL & JONES LLP
                                  Jeffrey N. Pomerantz (CA Bar No.143717)
                                  (admitted pro hac vice)
                                  Ira D. Kharasch (CA Bar No. 109084)
                                  (admitted pro hac vice)
                                  Gregory V. Demo (NY Bar No. 5371992)
                                  (admitted pro hac vice)
                                  10100 Santa Monica Blvd., 13th Floor
                                  Los Angeles, CA 90067
                                  Telephone: (310) 277-6910
                                  Facsimile: (310) 201-0760
                                  E-mail:     jpomerantz@pszjlaw.com
                                              ikharasch@pszjlaw.com
                                              gdemo@pszjlaw.com

                                  -and-

                                  /s/ Zachery Z. Annable
                                  HAYWARD PLLC
                                  Melissa S. Hayward
                                  Texas Bar No. 24044908
                                  MHayward@HaywardFirm.com
                                  Zachery Z. Annable
                                  Texas Bar No. 24053075
                                  ZAnnable@HaywardFirm.com
                                  10501 N. Central Expy, Ste. 106
                                  Dallas, Texas 75231
                                  Tel: (972) 755-7100
                                  Fax: (972) 755-7110

                                  Counsel for the Debtor and Debtor-in-Possession




                                          100
  DOCS_SF:104855.7 36027/002

                                                                           Appx. 05897
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22    Entered 08/15/22 16:45:41    Page 108
                                       of 126




Case 19-34054-sgj11 Doc 1807-1 Filed 01/22/21    Entered 01/22/21 18:52:03    Page 1 of 2




                                  EXHIBIT A




                                                                         Appx. 05898
                                                        Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                                      Entered 08/15/22 16:45:41                            Page 109
                                                                                               of 126
                                                                   Case 19-34054-sgj11 Doc 1807-1 Filed 01/22/21                       Entered 01/22/21 18:52:03                      Page 2 of 2
              Plan Objections from Dondero-Related Entities: Organizational Charts

                Org Chart Key:
          Objecting Entity with No Claim or
           Fund Interests with the Estate                                                                                                                                                                                                  Highland Capital
                                                                                                                                                                                                                     0.25%                  Management,
                                                                                                                                                                                                                    Class A
            Objecting Entity with Debt or
                                                                                                                                                                                                                   LP Interest
                                                                                                                                                                                                                                                 L.P.
              Funds Owed to HCMLP

         Objecting Entity with a Terminated                                                                             James Dondero                                           Strand Advisors, Inc.
            Shared Services Agreement
                                                                                                                                                                                                                                                           0.1866%
                                                                                                                                                                                                                                                           Class A
     Interests in Funds Managed by HCMLP                                                                                                                                                                                                                  LP Interest
                                                                                                                                                             Highland Multi
                                                                                                                                                              Strat Credit                    The Dugaboy Investment Trust
                                                                                                                                                             Fund Interests                       (Primary Beneficiary)




                   CLO Holdco, Ltd. [1]                      The Get Good Trust                              HCMFA                 NexBank Capital, Inc.             NexPoint Real Estate Partners, LLC                    NexPoint Advisors, L.P.
             (Director/Donor/Donor Advisor)                 (Primary Beneficiary)                        (Owner/President)          (Owner/Chairman)                        (Owner/Manager)                                 (Owner/President)




        1.0 CLO
      Pref Shares                       Highland Fixed Income Fund                  Highland Socially Responsible Equity Fund          NexBank SSB                            NexPoint Real Estate Finance, Inc.                   NexPoint Real Estate Advisors, L.P.
       Interests
                                       Highland Funds I and its series                     Highland Total Return Fund               NexBank Title, Inc.                       NexPoint Real Estate Capital, LLC                   NexPoint Real Estate Advisors II, L.P.
    Highland Multi
   Strat Credit Fund
       Interests                      Highland Funds II and its series                   Highland/iBoxx Senior Loan ETF           NexBank Securities, Inc.                     NexPoint Residential Trust, Inc.                  NexPoint Real Estate Advisors III, L.P.
    Highland CLO
   Funding Interests                  Highland Global Allocation Fund               Highland Healthcare Opportunities Fund                                                        NexPoint Hospitality Trust                     NexPoint Real Estate Advisors IV, L.P.

        1.0 CLO                             Highland Income Fund                        Highland Merger Arbitrage Fund                                                        NexPoint Multifamily Capital Trust                 NexPoint Real Estate Advisors V, L.P.
      Pref Share
       Interests                                                                                                                         1.0 CLO
                                    Highland Opportunistic Credit Fund                  Highland Small-Cap Equity Fund                 Pref Share                                   NexPoint Capital, Inc.                       NexPoint Real Estate Advisors VI, L.P.
                                                                                                                                        Interests
                                                                                                                                                                          NexPoint Real Estate Strategies Fund                   NexPoint Real Estate Advisors VII, L.P.
                                                                                                                                         1.0 CLO
[1] CLO Holdco, Ltd., is a wholly-owned subsidiary of the Charitable Donor Advised Fund, L.P. (the “DAF”). HCMLP                       Pref Share                      NexPoint Strategic Opportunities Fund                     NexPoint Real Estate Advisors VIII, L.P.
has terminated its shared services agreement with the DAF. The DAF owes HCMLP past due fees and expenses.                               Interests
[2] Amounts owed as of November 30, 2020.


                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                       Appx. 05899
 Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22   Entered 08/15/22 16:45:41   Page 110
                                        of 126




Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21   Entered 01/22/21 18:52:03   Page 1 of 14




                                  EXHIBIT B




                                                                        Appx. 05900
                Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                             Entered 08/15/22 16:45:41                Page 111
                                                       of 126
                     Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                         Entered 01/22/21 18:52:03              Page 2 of 14




                                                                 OBJECTION SUMMARY1

            Objecting Party                               Objection                                                       Response
       U.S. Trustee                   The release is overbroad and releases non-           The Debtor Release is not overly broad and only releases claims
                                      debtors in violation of Pacific Lumber               owned (either directly or derivatively) by the Debtor and the Estate
                                                                                           on behalf of the Debtor and its successors, which include the CT and
                                                                                           LST only in their capacity as successors. No third party is
                                                                                           implicated by the Debtor Release and Pacific Lumber is
                                                                                           inapplicable. Section 1123(b)(3) expressly permits a debtor to settle
                                                                                           and release its own claims.
                                      The exculpation is overbroad and releases non-       The 1/9/20 Settlement Order has already exculpated the Independent
                                      debtors in violation of Pacific Lumber               Directors and their agents. The exculpation provisions as to each
                                                                                           Protected Party are permissible under other sections of the
                                                                                           Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                                                                                           1106, 1107, 1123, and 1129), other applicable law on the immunity
                                                                                           of estate fiduciaries and under the policy reasons set forth in the
                                                                                           Pacific Lumber case relating to committees and their members
                                                                                           because the Protected Parties in this case are more akin to committee
                                                                                           members and trustees.
       Internal Revenue Service       Plan does not state that the Debtor will pay IRS     The Plan provides that Allowed Priority Claims would be paid on
                                      priority tax claims on the Effective Date.           the Initial Distribution Date. In response to this objection, the Plan
                                                                                           has been amended to provide for treatment of priority claims in
                                                                                           accordance with 1129(a)(9)(C)
                                      The plan does not provide for statutory interest     Plan has been amended to provide for treatment of priority claims in
                                      on the IRS claims under Section 511                  accordance with 1129(a)(9)(C)
                                      The IRS asserts that the Debtor failed to file tax   The Debtor has provided all applicable tax forms and the proposed
                                      Form 720 returns related to its self-insured         Default Provisions are unwarranted. The Debtor would agree,
                                      health plan for 2014, 2016, and 2017 and             however, to modified Default Provisions.
                                      requests that the Plan be amended to include
                                      certain “Default Provisions” that, among other       The IRS’ proposed Default Provisions graft the IRS’ potential non-
                                      things, allow the IRS to declare defaults,           bankruptcy and arguably additional rights and remedies into the
                                      demand that the “entire imposed liability”           Plan, including the IRS’ unilateral rights to declare defaults, impose
                                      become due and payable, and the ability to           successor liability, and to require payments of “entire imposed
                                      collect unpaid liabilities upon 14 days’ notice of   liabilities” upon 14 days’ notice of demand. The Debtor does not
                                      demand for payment                                   think it is appropriate for the Plan or Confirmation Order to dictate
                                                                                           these rights and they should be determined under applicable non
                                                                                           bankruptcy law.

1
    The following are summaries only. Parties should read the entirety of the Debtor’s Reply.


DOCS_LA:335197.6 36027/002

                                                                                                                                                     Appx. 05901
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                            Entered 08/15/22 16:45:41                 Page 112
                                                    of 126
                  Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                        Entered 01/22/21 18:52:03              Page 3 of 14



         Objecting Party                             Objection                                                        Response
    Dallas County, City of      Plan does not appropriately apply for treatment        The Debtor is currently negotiating language with these taxing
    Allen, Allen ISD, City of   of postpetition and effective date interest on tax     authorities to resolve the issues raised in their objection through
    Richardson, and Kaufman     claims, Plan does not provide for continued            insertion of language in the Confirmation Order in order to
    County                      security interest and Plan does not provide that       consensually resolve this objection.
                                failure to pay tax claims is a default under the
                                plan
    Jack Yang and Brad Borud    Subordinated Claims are defined overly broad as        The Plan has been amended to clarify that it does not provide for
                                not just claims subordinated under § 510 but           categorical subordination of claims relating to partnership interests
    (joined by Deadman,         also claims arising from Class A/B/C Limited           to address this objection
    Travers, Kauffman [D.I.     Partnership interests in a way that impermissibly
    1674; 1679])                broadens § 510(b)
    Patrick Daugherty           The Disputed Claims Reserve allows the Debtor          The Plan does not provide for disparate treatment of claims. The
                                to estimate claims for distribution, which             Plan provides for a mechanism for the Debtor or Mr. Daugherty (or
                                provides for impermissible disparate treatment         any creditor) to file a motion to estimate any Disputed Claim for
                                under § 1123(a)(4)                                     purposes of establishing the amount of the Disputed Claims Reserve
                                                                                       pending the allowance or disallowance of his claim. Neither
                                                                                       Daugherty or any other creditor is entitled to a reserve for the full
                                                                                       amount of a disputed claim. This procedure does not constitute
                                                                                       disparate treatment of claims under section 1123(a)(4)
    Dugaboy Investment Trust    Art. III.J allows for subordination under § 510        Section III.J of the Plan has been amended to clarify that
    and Get Good Investment     without the requirement for a hearing, which is        subordination will occur after notice and a hearing and any order by
    Trust                       impermissible                                          the Bankruptcy Court.
                                The Plan is not complete as it doesn't list final      Dugaboy’s reference to documents still under negotiation with the
                                documents governing the claimant                       Committee was a vestige from a prior draft. Three Plan
                                trust/litigation trust/reorg debtor, retained causes   Supplements have been filed that contain those documents. An
                                of action, executory contracts                         additional Plan Supplement is being filed concurrently herewith.
                                Plan violates 1129(a)(7) because it doesn't            The Liquidation Analysis provides that creditors will receive
                                provide the value that would be received in a          distributions under the Plan that are not less than the value they
                                chapter 7 liquidation because: (i) Reorg Debtor        would receive under a hypothetical distribution under chapter 7.
                                has no affirmative obligation to report to             This objection does not contest the conclusions set forth in the
                                holders of beneficial interests in the Claimant        Liquidation Analysis.
                                Trust, (ii) Claimant Trustee is only liable for
                                fraud, willful misconduct, or gross negligence         The Plan, consistent with other plans including ones confirmed in
                                and not breach of fiduciary duty; and (iii) a          this court, properly allows the Claimant Trustee and Reorganized
                                chapter 7 trustee would need to get court              Debtor to sell assets post-confirmation without the need for court
                                authority to sell assets and no such requirement       approval. The standard of liability is also appropriate and consistent
                                exists for Claimant Trustee                            with confirmed chapter 11 plans. Moreover, a chapter 7 trustee
                                                                                       would enjoy qualified immunity for its actions.
                                [


DOCS_LA:335197.6 36027/002                             2
                                                                                                                                                  Appx. 05902
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                        Entered 08/15/22 16:45:41                Page 113
                                                    of 126
                  Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                    Entered 01/22/21 18:52:03              Page 4 of 14



          Objecting Party                         Objection                                                       Response
                             Exculpation provisions are overbroad as (i) they      The 1/9/20 Settlement Order has already exculpated the Independent
                             do not relate to a specific time period (just apply   Directors and their agents. The exculpation provisions as to each
                             from Petition Date through implementation),           Protected Party are permissible under other sections of the
                             especially when read in connection with the           Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                             exculpation provision in the Claimant Trust           1106, 1107, 1123, and 1129), other applicable law on the immunity
                             Agreement, (ii) cover non-Debtors, and (iii)          of estate fiduciaries and under the policy reasons set forth in the
                             violates Pacific Lumber                               Pacific Lumber case relating to committees and their members
                                                                                   because the Protected Parties in this case are more akin to committee
                                                                                   members and trustees. The CTA includes standard language limiting
                                                                                   liability and is not an improper exculpation.
                             Release provision (i) is overbroad and releases       The Debtor Release is not overly broad and only releases claims
                             claims not related to the BK; (ii) waives future      owned (either directly or derivatively) by the Debtor and the Estate
                             claims of the Claimant Trust                          on behalf of the Debtor and its successors, which include the CT and
                                                                                   the LST only as successors to the Debtor, not any claims the CT or
                                                                                   LST might subsequently have of their own. No third party is
                                                                                   implicated by the Debtor Release and Pacific Lumber is
                                                                                   inapplicable. Section 1123(b)(3) expressly permits a debtor to settle
                                                                                   and release its own claims.
                             The injunction provisions in Article IX.F are         The Injunction Provisions have been modified to address these
                             overbroad and arguably violates Pacific Lumber        concerns. The Injunction Provision, as modified, merely implements
                             as an improper release and In re Zale and Thru,       the Plan’s discharge, release, and Exculpation Provisions by
                             which prevents a non-debtor injunction if it          enjoining the Enjoined Parties from commencing or maintaining any
                             effectively discharges a no debtor                    actions to interfere with the implementation or consummation of the
                                                                                   Plan. Implementation and consummation are words used in the
                                                                                   Code and have meanings known by practitioners and the Court. The
                                                                                   injunction is only applicable to the Debtor and its successors, the
                                                                                   Reorganized Debtor, the Claimant Trust and the Litigation Sub-
                                                                                   Trust, or against the property of the Debtor, and its successors, the
                                                                                   Reorganized Debtor, the Claimant Trust and the Litigation Sub-Trust
                                                                                   – none of whom are non-debtor third parties as the debtor has
                                                                                   eliminated the Independent Directors from these provisions.
                             The release provided to released parties does not     Section 1123(b)(3) expressly permits a debtor to settle and release its
                             meet the standards for a release as there is no       own claims. The consideration provided by the Released Parties will
                             meaningful contribution to the BK and is not          be presented. The Released Parties are only being released by the
                             necessary to protect non-debtor entities that are     Debtor and its successors.
                             essentially the debtor




DOCS_LA:335197.6 36027/002                         3
                                                                                                                                             Appx. 05903
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                        Entered 08/15/22 16:45:41                Page 114
                                                    of 126
                  Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                    Entered 01/22/21 18:52:03             Page 5 of 14



          Objecting Party                         Objection                                                        Response
                             The "channeling injunction" and retention of          The Gatekeeper Provision is a legitimate exercise of the Court’s
                             jurisdiction is improper because it expands the       jurisdiction, does not (as modified) implicate the Court’s post-
                             BK court's jurisdiction to actions not arising        effective date jurisdiction as the Court will initially, only be
                             under, related to, or arising in the BK. This is      determining if a claim is colorable. Furthermore, as a liquidating
                             especially so since there is no post-effective date   plan, the court has – under applicable law – jurisdiction because all
                             Reorganized Debtor                                    acts taken by the trust are related to implementing and effectuating
                                                                                   the Plan. Furthermore, the Gatekeeper Provision is supported by the
                                                                                   Barton Doctrine (which requires that claims against court-appointed
                                                                                   and court-approved fiduciaries be sanctioned by the approving or
                                                                                   appointing court) and by the All Writs Act, which permits courts to
                                                                                   place limits on the ability of vexatious litigants to continue to file
                                                                                   litigation.
                             The injunction prevents parties from enforcing        Art. IX.F starts with "Except as expressly provided in the Plan, the
                             the rights created by the plan post-effective date    Confirmation Order, or a separate order of the Bankruptcy Court. . . .
                                                                                   " It does not prevent enforcement of rights created under the Plan
                             The "channeling injunction" is not a proper           The Gatekeeper Provision has nothing to do with Section 524(j).
                             channeling injunction under Section 524(j) and        Although the Debtor will be engaging in a long term liquidation
                             even if it were, 524(j) only applies to debtors       given the nature of its assets, during that same time period the
                             that are eligible for a discharge under 1141 and      Debtor will be engaging in business to maximize such liquidation,
                             HCMLP is not eligible for a discharge because it      including by continuing to manage non-debtor funds
                             is a liquidation plan.
    James Dondero            The exculpation provision in IX.D is overbroad        The 1/9/20 Settlement Order has already exculpated the Independent
                             as it relates to non-debtors under Pacific Lumber     Directors and their agents. The exculpation provisions as to each
                                                                                   Protected Party are permissible under other sections of the
                                                                                   Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                                                                                   1106, 1107, 1123, and 1129), other applicable law on the immunity
                                                                                   of estate fiduciaries and under the policy reasons set forth in the
                                                                                   Pacific Lumber case relating to committees and their members
                                                                                   because the Protected Parties in this case are more akin to committee
                                                                                   members and trustees.
                             The "channeling injunction" in Article IX.F           The Gatekeeper Provision is a legitimate exercise of the Court’s
                             includes post-confirmation conduct and non-           jurisdiction, does not (as modified) implicate the Court’s post-
                             debtors and is effectively a third party release      effective date jurisdiction as the court will initially, only be
                             prohibited under Dropbox.                             determining if a claim is colorable. Furthermore, as a liquidating
                                                                                   plan, the Court has – under applicable law – jurisdiction because all
                                                                                   acts taken by the trust are related to implementing and effectuating
                                                                                   the Plan. Furthermore, the Gatekeeper Provision is supported by the
                                                                                   Barton Doctrine (which requires that claims against court-appointed



DOCS_LA:335197.6 36027/002                         4
                                                                                                                                            Appx. 05904
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                       Entered 08/15/22 16:45:41                 Page 115
                                                    of 126
                  Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                   Entered 01/22/21 18:52:03              Page 6 of 14



          Objecting Party                         Objection                                                       Response
                                                                                  and court-approved fiduciaries be sanctioned by the approving or
                                                                                  appointing court) and by the All Writs Act, which permits courts to
                                                                                  place limits on the ability of vexatious litigants to continue to file
                                                                                  litigation. There is no “release” in the Gatekeeper Provision as it
                                                                                  does not prevent claims from being brought – it merely requires that
                                                                                  the Bankruptcy Court determine the claim is colorable before it can
                                                                                  be brought.
                               The "channeling injunction" limits jurisdiction    The Gatekeeper Provision has been modified to eliminate the
                               to the Bankruptcy Court and ignores other courts   exclusive jurisdiction of the Bankruptcy Court to hear permitted
                               with exclusive jurisdiction and specialized        claims on the merits unless it determines it has jurisdiction to do so
                               jurisdiction                                       after determining if a claim is colorable.
                               The "channeling injunction" is impermissibly       The Gatekeeper Provision is not vague and, to the extent FRBP
                               vague under FRBP 3016(c)                           3016(c) is applicable, expressly complies with the rule in that the
                                                                                  Gatekeeper Provision describes in specific and conspicuous
                                                                                  language (bold, italic, or underlined text) all acts to be enjoined and
                                                                                  identifies the entities that would be subject to the injunction
                               The Plan does not provide appropriate              This is the same objection filed by other Dondero Entities to prevent
                               mechanisms for oversight of post-confirmation      the post-confirmation monetization of assets. The Plan, consistent
                               sales and would allow impermissible sales          with other plans including ones confirmed in this Court, properly
                               similar to that which occurred during the BK       allows the Claimant Trustee and Reorganized Debtor to sell assets
                                                                                  post-confirmation without the need for court approval. The standard
                                                                                  of liability is also appropriate and consistent with confirmed chapter
                                                                                  11 plans.
                               The jurisdictional provisions are overbroad and    The Gatekeeper Provision has been modified to eliminate the
                               would require all claims to be heard in the BK     exclusive jurisdiction of the Bankruptcy Court to hear permitted
                               without regard to whether they arise in            claims on the merits unless it determines it has jurisdiction to do so
                               connection with implementation of the plan or      after determining if a claim is colorable. The Bankruptcy Court has
                               otherwise                                          jurisdiction to determine if a claim is colorable
                               The elimination of vacant classes on the           The elimination of the only vacant class (Class 5 (Retained
                               effective date would impermissibly limited later   Employees)) is for voting tabulation purposes only. This provision
                               re-allocation of claims                            permissibly provides for the treatment of any claims that may arise
                                                                                  or become Allowed as a Class 5 Claim post-confirmation.
                               Art. III.J allows for subordination under § 510    Section III.J of the Plan has been amended to clarify that
                               without the requirement for a hearing, which is    subordination will occur after notice and a hearing and any order by
                               impermissible                                      the Bankruptcy Court.
    NexPoint Real Estate       Art. III.J allows for subordination under § 510    Section III.J of the Plan has been amended to clarify that
    Partners LLC, f/k/a HCRE   without the requirement for a hearing, which is    subordination will occur after notice and a hearing and any order by
    Partners, LLC              impermissible                                      the Bankruptcy Court.



DOCS_LA:335197.6 36027/002                          5
                                                                                                                                             Appx. 05905
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                           Entered 08/15/22 16:45:41                Page 116
                                                    of 126
                  Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                       Entered 01/22/21 18:52:03              Page 7 of 14



          Objecting Party                              Objection                                                    Response
                                  Plan allows Distribution Agent to setoff amounts    Creditors have the right to challenge set off in an appropriate
                                  owed to the Debtor against amounts owed to a        manner. The Plan has been amended to clarify this language.
                                  creditor in violation of s. 553 and impermissibly
                                  shifts burden of proving setoff was improper to
                                  the creditor
                                  The "channeling injunction" improperly              The Gatekeeper Provisions do not implicate section 524(e). There is
                                  insulates non-debtors under s. 524(e).              no insulation of any non-debtor. The Gatekeeper Provision simply
                                                                                      requires the Bankruptcy Court to determine if a claim is colorable
                                                                                      before it can be brought.
                                  The exculpation and release provision release       The 1/9/20 Settlement Order has already exculpated the Independent
                                  claims not related to the BK but also the           Directors and their agents. The exculpation provisions as to each
                                  administration and implementation of the plan       Protected Party are permissible under other sections of the
                                                                                      Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                                                                                      1106, 1107, 1123, and 1129), other applicable law on the immunity
                                                                                      of estate fiduciaries and under the policy reasons set forth in the
                                                                                      Pacific Lumber case relating to committees and their members
                                                                                      because the Protected Parties in this case are more akin to committee
                                                                                      members and trustees.
                                  Period of time covered by the release and           The 1/9/20 Settlement Order has already exculpated the Independent
                                  exculpation provisions impermissibly extends        Directors and their agents. The exculpation provisions as to each
                                  post-effective date. Cf. Pacific Lumber             Protected Party are permissible under other sections of the
                                                                                      Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                                                                                      1106, 1107, 1123, and 1129), other applicable law on the immunity
                                                                                      of estate fiduciaries and under the policy reasons set forth in the
                                                                                      Pacific Lumber case relating to committees and their members
                                                                                      because the Protected Parties in this case are more akin to committee
                                                                                      members and trustees.
    NexPoint Advisors,            Investment Advisers Act is "applicable law" that    As this Court has ruled in Acis, and as SEC No Action Letters
    Highland Capital              prohibits assumption/assignment of the Portfolio    advise, the Investment Advisers Act does not prohibit assignment.
    Management Fund               Management Agreements (“PMAs”) under                The “actual test” applies and thus even if the PMAs were
    Advisors, and related funds   365(c)                                              nonassignable, they would still be assumable.

    (joined by CLO Holdco)
                                  PMAs are "personal services contracts" and          As this Court ruled in Acis, the PMAs are not nonassignable
    (joined by NexPoint RE        cannot be assigned under 365(c)                     personal services contracts. Further, the counterparties have
    Entities [D.I. 1677]                                                              consented, and under the “actual test” the PMAs would be
                                                                                      assumable even if nonassignable.




DOCS_LA:335197.6 36027/002                             6
                                                                                                                                                Appx. 05906
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                       Entered 08/15/22 16:45:41                 Page 117
                                                    of 126
                  Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                   Entered 01/22/21 18:52:03              Page 8 of 14



          Objecting Party                        Objection                                                       Response
                             Fifth Circuit applies the hypothetical test under    Fifth Circuit has applied the actual test under §365(e) and lower
                             Section 365(c), not the actual test                  courts within the Fifth Circuit have applied the actual test to §365(c).
                             Even if "actual" test applies, the Reorg Debtor is   The objectors lack standing to object. As this Court held in Acis,
                             not the Debtor because of slimmed down staff         services under the PMAs are delegable and the Debtor is entitled to
                             and use of subservicers                              use a servicer. However, the Reorganized Debtor will have
                                                                                  sufficient employees and resources to manage the CLOs post-
                                                                                  Confirmation Date. This is an adequate assurance issue, and the
                                                                                  contract counterparties have consented.
                             There is no consent to assumption under 365(c)       CLO issuers are the counterparties and they consent. The objectors
                                                                                  have no contract right to object to assumption.

                             The objectors have standing because they have        The Funds, Advisors and CLO Holdco are not creditors and will not
                             claims against the estate or will have large         be creditors. They agreed to expungement of their claims or
                             rejection claims under shared services               reduction to zero. There will be no rejection damages because the
                             agreements.                                          contracts are freely terminable upon notice and are being terminated,
                                                                                  not rejected. Even if objectors were creditors, that would give them
                                                                                  standing only as to whether assumption benefits the estate, not their
                                                                                  particular interests.
                             The objectors have standing because the plan         The objectors have no standing as creditors, they have no standing to
                             violates 1129 because it provides for assumption     object to assumption of contracts to which they are not parties and to
                             of contracts in violation of law.                    which the counterparties have consented, and assumption of the
                                                                                  PMAs does not violate any law.
                             The objectors have standing because the plan         The Plan does not limit their removal rights.
                             seeks to limit their right to remove the manager
                             Debtor should take direction from the majority       The objectors have no contractual right to control the management of
                             of the preference shareholders in the CLOs           the CLOs.
                             The injunction and release provisions are            The Debtor Release is not overly broad and only releases claims
                             overbroad because they do not appropriately          owned (either directly or derivatively) by the Debtor and the Estate
                             define their scope and prevent the movants from      on behalf of the Debtor and its successors, which include the CT
                             suing for future malfeasance                         and LST only in their capacity as successors. No third party is
                                                                                  implicated by the Debtor Release and Pacific Lumber is
                                                                                  inapplicable. Section 1123(b)(3) expressly permits a debtor to settle
                                                                                  and release its own claims. The Injunction, as amended, is clear in
                                                                                  scope and application, and only applies to acts to implementation
                                                                                  and consummation of the Plan and attempts to collect the claims and
                                                                                  interests dealt with by the Plan.
                             The injunction prevents the objectors and the        The Injunction, as amended, is clear in scope and application, and
                             CLOs from seeking relief against the                 only applies to acts to implementation and consummation of the Plan


DOCS_LA:335197.6 36027/002                         7
                                                                                                                                             Appx. 05907
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                      Entered 08/15/22 16:45:41                Page 118
                                                    of 126
                  Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                  Entered 01/22/21 18:52:03              Page 9 of 14



          Objecting Party                       Objection                                                       Response
                             debtor/reorg debtor from any present or future      and attempts to collect the claims and interests dealt with by the
                             actionable wrongs under the servicing               Plan.
                             agreements and advisers act
                             Injunction prevents set off or other damages        The Injunction, as amended, is clear in scope and application, and
                             under the servicing agreements and to seek legal    only applies to acts to implementation and consummation of the Plan
                             redress                                             and attempts to collect the claims and interests dealt with by the
                                                                                 Plan.
                             "Channeling Injunction" is defective with           The Gatekeeper Provision has been modified to eliminate the
                             respect to post-confirmation actions and is         exclusive jurisdiction of the Bankruptcy Court to hear permitted
                             overly broad                                        claims on the merits unless it determines it has jurisdiction to do so
                                                                                 after determining if a claim is colorable. The Bankruptcy Court has
                                                                                 jurisdiction to determine if a claim is colorable.
                             Plan does not disclose who will be operating the    The Plan Supplement discloses the identity of the Claimant Trustee,
                             reorganized debtor and claimant trust or their      Litigation Trustee and Oversight Committee members. The Debtor
                             comp as required under s 1123(a)(7) or insider      discloses in the Confirmation Brief the compensation of insiders
                             compensation under 1129(a)(5)                       pursuant 1129(a)(5) under the Plan who will serve post-confirmation
                                                                                 in their Confirmation Brief
                             The plan is not feasible because the treatment of   The Plan does not impact any party’s rights under the CLO
                             the CLO management agreements is illegal and        management agreements, and applicable law does not prohibit the
                             violates s. 365                                     Debtor’s assumption of the CLO management agreements.
                             The plan does not provide assurance of future       The objectors lack standing to object. As this Court held in Acis,
                             performance with respect to the assumption of       services under the PMAs are delegable and the Debtor is entitled to
                             the CLO management agreement as required by         use a servicer. However, the Reorganized Debtor will have
                             365(b)                                              sufficient employees and resources to manage the CLOs post-
                                                                                 Confirmation Date. This is an adequate assurance issue, and the
                                                                                 contract counterparties have consented.
                             Release and injunction provisions are overbroad     Neither the Release nor the Injunction Provisions release non-debtor
                             under Pacific Lumber because they release third     third parties.
                             parties
                             Exculpation provisions are overbroad under          The 1/9/20 Settlement Order has already exculpated the Independent
                             Thru                                                Directors and their agents. The exculpation provisions as to each
                                                                                 Protected Party are permissible under other sections of the
                                                                                 Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                                                                                 1106, 1107, 1123, and 1129), other applicable law on the immunity
                                                                                 of estate fiduciaries and under the policy reasons set forth in the
                                                                                 Pacific Lumber case relating to committees and their members
                                                                                 because the Protected Parties in this case are more akin to committee
                                                                                 members and trustees.



DOCS_LA:335197.6 36027/002                         8
                                                                                                                                           Appx. 05908
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                         Entered 08/15/22 16:45:41                Page 119
                                                    of 126
                    Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                   Entered 01/22/21 18:52:03               Page 10 of
                                                             14


          Objecting Party                         Objection                                                       Response
                              The plan divests movants from their set off           Creditors have the right to challenge set off in an appropriate
                              rights                                                manner. The Plan has been amended to clarify this language.
                              The plan provides that contracts can be assumed       The Plan has been amended to address this objection.
                              until the Effective Date in violation of 365(d)(2)

                              Debtor is not entitled to a discharge under 1141      Although the Debtor will be engaging in a long term liquidation
                              because it's a liquidating plan                       given the nature of its assets, during that same time period the
                                                                                    Debtor will be engaging in business to maximize such liquidation,
                                                                                    including by continuing to manage non-debtor funds
                              The plan violates the absolute priority rule          This assertion is false. Equity Interests will not receive any property
                              because equity gets to keep assets while senior       on account of the their interests pursuant to the Plan unless and until
                              creditors may not be paid in full                     the claims of creditors are full paid, inclusive of interests, as
                                                                                    provided in the Plan.
    CLO Holdco Ltd.           CLO Holdco has standing to object because of          As set forth above, CLO Holdco has no standing to assert the rights
                              its interests in the CLOs                             of the contracting parties to the PMAs. It is also not a creditor,
                                                                                    having reduced its claim to zero and having no rejection claim.
                                                                                    Even if it was a creditor it would not have standing to object to
                                                                                    assumption on the basis of rights held by contracting parties.
                              Joined NPA/HCMFA objection                            NPA/HCMFA objection responses are set forth above.
                              Plan provides for impermissible “partial              For the reasons set forth above, CLO Holdco has no standing to
                              assumption” because it cherry picks provisions        assert objections to assumption held by the contracting parties, who
                              of the CLO management agreements that are             consent to assumption. Further, the Plan does not deprive preference
                              going to be assumed by preventing removal of          shareholders of removal rights.
                              the CLO manager by the preference shares
                              Injunction and exculpation prohibits creditors        The Injunction, as amended, is clear in scope and application, and
                              from interfering with implementation or               only applies to acts to implementation and consummation of the Plan
                              consummation of the plan and would prevent the        and attempts to collect the claims and interests dealt with by the
                              movants from removing the Debtor as the CLO           Plan.
                              manager
                              The plan impermissibly modifies the movants'          The Plan does not modify CLO Holdco’s rights under the PMAs
                              rights under the CLO management agreements
                              without their consent
                              Exculpation and indemnification provisions are        The Plan does not contain an” indemnification provision.” The
                              third party releases in violation of applicable law   1/9/20 Settlement Order has already exculpated the Independent
                              under Pacific Lumber                                  Directors and their agents. The exculpation provisions as to each
                                                                                    Protected Party are permissible under other sections of the
                                                                                    Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                                                                                    1106, 1107, 1123, and 1129), other applicable law on the immunity



DOCS_LA:335197.6 36027/002                          9
                                                                                                                                              Appx. 05909
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                          Entered 08/15/22 16:45:41                Page 120
                                                    of 126
                    Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                    Entered 01/22/21 18:52:03               Page 11 of
                                                             14


          Objecting Party                          Objection                                                       Response
                                                                                     of estate fiduciaries and under the policy reasons set forth in the
                                                                                     Pacific Lumber case relating to committees and their members
                                                                                     because the Protected Parties in this case are more akin to committee
                                                                                     members and trustees.
    NexBank Capital, Inc.,      Art. III.J allows for subordination under § 510      The Debtor amended Plan section III.J of the Plan to provide for
    NexBank Securities, Inc.,   without the requirement for a hearing, which is      “notice and a hearing” with respect to any subordination proceeding
    NexBank Title, Inc., and    impermissible                                        and corresponding changes to the definition of “Subordinated
    NexBank                                                                          Claim” and the treatment of any claims that may, potentially, be
                                                                                     subordinated after notice and a hearing and any order by the
                                                                                     Bankruptcy Court.
                                Plan allows Distribution Agent to setoff amounts     Creditors have the right to challenge set off in an appropriate
                                owed to the Debtor against amounts owed to a         manner. The Plan has been amended to clarify this language.
                                creditor in violation of s. 553 and impermissibly
                                shifts burden of proving setoff was improper to
                                the creditor
                                The exculpation and release provision release
                                claims not related to the BK but also the
                                administration and implementation of the plan
                                The exculpation and release provisions violate       The 1/9/20 Settlement Order has already exculpated the Independent
                                Pacific Lumber                                       Directors and their agents. The exculpation provisions as to each
                                                                                     Protected Party are permissible under other sections of the
                                                                                     Bankruptcy Code not relied on in Pacific Lumber (sections 105,
                                                                                     1106, 1107, 1123, and 1129), other applicable law on the immunity
                                                                                     of estate fiduciaries and under the policy reasons set forth in the
                                                                                     Pacific Lumber case relating to committees and their members
                                                                                     because the Protected Parties in this case are more akin to committee
                                                                                     members and trustees. The Release is only a release of claims
                                                                                     owned by the Debtor and its estate and does not implicate Pacific
                                                                                     Lumber which had nothing to do with debtor released which are
                                                                                     permitted under section 1123(b)(3).
    Senior Employees            The Plan violates § 1123(a)(4) because it treats     The treatment of claims in either Class 7 or Class 8 solely consists of
                                the Senior Employees differently than similarly      distributions on account of the allowed amounts of such claims, and
                                situated employees by requiring the Senior           there is no difference in treatment among members of either class in
                                Employees to sign a Senior Employee                  terms of the distribution scheme provided. The potential Debtor
                                Stipulation and reduce a portion of their claim to   release of its own claims against employees or ex-employees under
                                obtain a release.                                    the Plan does not constitute “treatment” of Class 7 or Class 8 claims.




DOCS_LA:335197.6 36027/002                           10
                                                                                                                                               Appx. 05910
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                      Entered 08/15/22 16:45:41                Page 121
                                                    of 126
                    Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21                Entered 01/22/21 18:52:03               Page 12 of
                                                             14


          Objecting Party                        Objection                                                      Response
                              The Senior Employee Stipulation was not            Whether or not the Senior Employees voluntary elect to sign the
                              approved by the Senior Employees and contains      Senior Employee Stipulation does not constitute a valid basis to
                              material problems.                                 object to Plan confirmation. The voluntary decision to execute the
                                                                                 Senior Employee Stipulation was at the option of the employee.
                                                                                 Moreover, the Debtor has settled this objection with respect to Mr.
                                                                                 Surgent and Mr. Waterhouse.
                              The Debtor has improperly prevented the Senior     Under applicable bankruptcy law, the Plan and the Disclosure
                              Employees from making the Convenience Class        Statement Order, the Senior Employees are not entitled to split their
                              Election because, as reflected in the chart        claims to create a liquidated claim for which Convenience Class
                              prepared by the Debtor, the Senior Employees       Election would even be possible.
                              have liquidated claims which are not in dispute.
                                                                                 Each Senior Employee filed a single proof of claim and the Senior
                                                                                 Employees have not cited any authority supporting the proposition
                                                                                 that a claimant may split claims listed in a single proof of claim; to
                                                                                 the contrary, courts have stated that claim splitting is impermissible
                                                                                 when covered by a single proof of claim. Further, the Plan and
                                                                                 Disclosure Statement Order prohibit claim splitting for voting
                                                                                 purposes. Finally, as explicitly set forth on the ballots approved by
                                                                                 the Disclosure Statement Order, even if a Senior Employee could
                                                                                 split his claims in order to elect Convenience Class treatment, the
                                                                                 Convenience Class Election only impacts treatment, and explicitly
                                                                                 does not impact voting.
                              The Plan provides that a Class 8 Creditor can      As set forth directly above, each Senior Employee would have to
                              make the Convenience Class Election for a          split his claim in order to also retain the remainder of his Class 8
                              liquidated claim. Since a portion of each Senior   claim. This is impermissible under applicable case law and the Plan.
                              Employee’s claim is liquidated, the Senior
                              Employees have a right to make the                 The Debtor’s statements have been consistent with the Plan. In any
                              Convenience Class Election under the Plan.         event, the Plan governs. The Senior Employee’s receipt of two
                                                                                 ballots was an administrative error and cannot override the express
                              The Debtor has contradicted the Plan in how in     terms of the Plan and Disclosure Statement Order.
                              its conversations with the Senior Employees.
                              Each Senior Employee received two ballots (one     As to the PTO Claims, those were separately classified by the Plan.
                              Class 7 and one Class 8) and this confusion        The Senior Employees seek to split claims within the same class. It
                              justifies the Senior Employees review of the       is splitting claims within the same class that is prohibited by
                              Plan.                                              applicable case law and the Plan and Disclosure Statement Order.

                              The fact that the Plan splits employee claims
                              into PTO claims and other claims is evidence
                              that the Plan allows Claim splitting. The


DOCS_LA:335197.6 36027/002                        11
                                                                                                                                          Appx. 05911
             Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22                     Entered 08/15/22 16:45:41               Page 122
                                                    of 126
                    Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21               Entered 01/22/21 18:52:03              Page 13 of
                                                             14


          Objecting Party                         Objection                                                  Response
                              exhibit is a representation that the Senior
                              Employee claims have the right to a split claim
                              because it discusses a Convenience Class claim.




                              The Plan identifies no basis for disparate and    Debtors are not required to grant releases to anyone nor are their
                              unfair treatment of the Senior Employees.         required to grant releases to all employees equally, especially here,
                                                                                where there are allegations of material misconduct against some, but
                                                                                not all, of the employees.




                              The Plan appears to impermissibly grant the       Section III.J of the Plan has been amended to provide for “notice and
                              Debtor, the Reorganized Debtor, and the           a hearing” with respect to any subordination proceeding and
                              Claimant Trustee the unfettered power to          corresponding changes to the definition of “Subordinated Claim”
                              “reclassify” any claim as a Subordinated Claim.   and the treatment of any claims that may, potentially, be
                                                                                subordinated after notice and a hearing and any order by the
                                                                                Bankruptcy Court.
                              The Plan allows the Debtor to make changes to     To the contrary, Article XII of the Plan explicitly requires that
                              the Plan without Court approval, including        modifications to the Plan be in compliance with section 1127.
                              changes to the plan supplement documents.




DOCS_LA:335197.6 36027/002                         12
                                                                                                                                         Appx. 05912
      Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22         Entered 08/15/22 16:45:41     Page 123
                                             of 126
                    Case 19-34054-sgj11 Doc 1807-2 Filed 01/22/21   Entered 01/22/21 18:52:03   Page 14 of
                                                             14




DOCS_LA:335197.6 36027/002                   13
                                                                                                       Appx. 05913
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22    Entered 08/15/22 16:45:41    Page 124
                                       of 126




Case 19-34054-sgj11 Doc 1807-3 Filed 01/22/21    Entered 01/22/21 18:52:03    Page 1 of 3




                                  EXHIBIT C




                                                                         Appx. 05914
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 125
                                         of 126
Case 19-34054-sgj11 Doc 1807-3 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 2 of 3




         On the Effective Date, the Debtor will assume the agreements set forth on Appendix [_]
 hereto (collectively, the “Issuer Executory Contracts”) pursuant to section 365 of the Bankruptcy
 Code and Article V of the Plan. In full and complete satisfaction of its obligation to cure
 outstanding defaults under section 365(b)(1) of the Bankruptcy Code, the Debtor or, as
 applicable, any successor manager under the Issuer Executory Contracts (collectively, the
 “Portfolio Manager”) will pay to the Issuers1 a cumulative amount of $525,000 (the “Cure
 Amount”) as follows:

                  $200,000 in cash on the date that is five business days from the Effective Date,
                   with such payment paid directly to Schulte Roth & Zabel LLP (“SRZ”) in the
                   amount of $85,714.29, Jones Walker LLP (“JW”) in the amount of $72,380.95,
                   and Maples Group (“Maples” and collectively with SRZ and JW, the “Issuers’
                   Counsel”) in the amount of $41,904.76 as reimbursement for the attorney’s fees
                   and other legal expenses incurred by the Issuers in connection with the Debtor’s
                   bankruptcy case; and

                  $325,000 in four equal quarterly payments of $81,250.00 (each, a “Payment”),
                   which amounts shall be paid to SRZ in the amount of $34,821.43, JW in the
                   amount of $29,404.76, and Maples in the amount of $17,023.81 as additional
                   reimbursement for the attorney’s fees and other legal expenses incurred by the
                   Issuers in connection with the Debtor’s bankruptcy case (i) from any management
                   fees actually paid to the Portfolio Manager under the Issuer Executory Contracts
                   (the “Management Fees”), and (ii) on the date(s) Management Fees are required
                   to be paid under the Issuer Executory Contracts (the “Payment Dates”), and such
                   obligation shall be considered an irrevocable direction from the Debtor and this
                   Court to the relevant CLO Trustee to pay, on each Payment Date, the Payment to
                   Issuers’ Counsel, allocated in the proportion set forth in such agreement;
                   provided, however, that (x) if the Management Fees are insufficient to make any
                   Payment in full on a Payment Date, such shortfall, in addition to any other
                   amounts due hereunder, shall be paid out of the Management Fees owed on the
                   following Payment Date, and (y) nothing herein shall limit either Debtor’s
                   liability to pay the amounts set forth herein, nor the recourse of the Issuers or
                   Issuers’ Counsel to the Debtor, in the event of any failure to make any Payment.

         Effective as of the Effective Date, and to the maximum extent permitted by law, each
 Issuer on behalf of itself and each of its current and former advisors, trustees, directors, officers,
 managers, members, partners, employees, beneficiaries, shareholders, agents, participants,
 subsidiaries, parents, successors, designees, and assigns hereby forever, finally, fully,
 unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and
 covenants never to sue, (i) the Debtor and (ii) the Professionals retained by the Debtor and the
 Committee in the Chapter 11 Case, the Independent Directors, the CEO/CRO, and with respect
 to the Persons listed in this subsection (ii), such Person’s Related Persons (collectively, the
 1
   The “Issuers” are: Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1,
 Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding
 LP, Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO Ltd., Westchester CLO, Ltd.,
 Aberdeen Loan Funding, Ltd., Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd.,
 Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla CLO, Ltd.

 {HD114362.3}
 DOCS_NY:41878.9

                                                                                               Appx. 05915
Case 19-34054-sgj11 Doc 3445-36 Filed 08/15/22 Entered 08/15/22 16:45:41 Page 126
                                         of 126
Case 19-34054-sgj11 Doc 1807-3 Filed 01/22/21 Entered 01/22/21 18:52:03 Page 3 of 3




 “Debtor Released Parties”), for and from any and all claims, debts, liabilities, demands,
 obligations, promises, acts, agreements, liens, losses, costs and expenses (including, without
 limitation, attorney’s fees and related costs), damages, injuries, suits, actions, and causes of
 action of whatever kind or nature, whether known or unknown, suspected or unsuspected,
 matured or unmatured, liquidated or unliquidated, contingent or fixed, at law or in equity,
 statutory or otherwise, including, without limitation, any claims, defenses, and affirmative
 defenses, whether known or unknown, including, without limitation, those which were or could
 have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively,
 the “Issuer Released Claims”).

         Effective as of the Effective Date, and to the maximum extent permitted by law, the
 Debtor hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,
 remises, and exonerates, and covenants never to sue (i) each Issuer and (ii) Wendy Ebanks, (iii)
 Yun Zheng, (iv) Laura Chisholm, (v) Mora Goddard, (vi) Stacy Bodden, (vii) Suzan Merren
 (viii) Scott Dakers, (ix) Samit Ghosh, (x) Inderjit Singh, (xi) Ellen Christian, (xii) Andrew Dean,
 (xiii) Betsy Mortel, (xiv) David Hogan, (xv) Cleveland Stewart, (xvi) Rachael Rankin, (xvii)
 Otelia Scott, (xviii) Martin Couch, (xx) Ferona Bartley-Davis, (xxi) Charlotte Cloete, (xxii)
 Christina McLean, (xxiii) Karen Ellerbe, (xxiv) Gennie Kay Bigord, (xxv) Evert Brunekreef,
 (xxvii) Evan Charles Burtton (collectively, the “Issuer Released Parties”), for and from any and
 all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses, costs
 and expenses (including, without limitation, attorney’s fees and related costs), damages, injuries,
 suits, actions, and causes of action of whatever kind or nature, whether known or unknown,
 suspected or unsuspected, matured or unmatured, liquidated or unliquidated, contingent or fixed,
 at law or in equity, statutory or otherwise, including, without limitation, any claims, defenses,
 and affirmative defenses, whether known or unknown, which were or could have been asserted
 in, in connection with, or with respect to the Bankruptcy Case (collectively, the “Debtor
 Released Claims”); provided, however, that notwithstanding anything herein to the contrary, the
 release contained herein will apply to the Issuer Released Parties set forth in subsection (ii)
 above only with respect to Debtor Released Claims arising from or relating to the Issuer
 Executory Contracts.

        Notwithstanding anything in this Order to the contrary, the releases set forth in
 paragraphs [__] hereof will not apply with respect to the duties, rights, or obligations of the
 Debtor or any Issuer hereunder.




 {HD114362.3}                                      2
 DOCS_NY:41878.9

                                                                                          Appx. 05916
